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                        EXHIBIT A
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  1                          UNITED STATED DISTRICT COURT
  2                      WESTERN DISTRICT OF LOUISIANA
  3                                   MONROE DIVISION
  4
  5     MAYA DETIEGE, DAYNE SHERMAN              CIVIL ACTION NO:
  6                              PLAINTIFFS                      3:23-cv-175
  7     VERSUS                                   JUDGE DONALD E. WALTER
  8     KATRINA JACKSON, IN HER                  MAGISTRATE JUDGE
        OFFICIAL AND INDIVIDUAL                  MCCLUSKY
  9     CAPACITIES
 10                                  DEFENDANT
 11     * * * * * * * * * * * * * * * * * * * * * * * * * *
 12
 13
 14
 15                 The deposition of KATRINA JACKSON, taken in
 16           connection with the captioned cause, pursuant
 17           to the following stipulations before Marcia B.
 18           Mitchell, Certified Court Reporter, at the
 19           office of Hammonds, Sills, Adkins, Guice, Noah
 20           & Perkins LLP, 1500 North 19th Street, Suite
 21           301, Monroe, Louisiana 71201, on the 18th day
 22           of September 2024, beginning at 9:04 a.m.
 23
 24
 25

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      1 APPEARANCES:
      2 FOR THE PLAINTIFFS, MAYA DETIEGE AND DAYNE SHERMAN:
                                                                        1                   INDEX
      3   MS. KATIE SCHWARTZMANN                                        2 EXAMINATION
           DIRECTOR AND PROFESSOR OF THE PRACTICE FIRST
      4   AMENDMENT CLINIC                                              3 BY MR. CROW . . . . . . . . . . . . . . . . .   9
          TULANE LAW SCHOOL
      5   6329 FRERET STREET
                                                                        4
          NEW ORLEANS, LOUISIANA 70118-6248                             5 OBJECTIONS:
      6   kschwartzmann@tulane.edu
      7                                                                 6 BY MR. HAYES
          MR. RICHARD A. CROW
                                                                        7         214, 267, 268, 310, 351, 365, 366, 369, 379
      8   TULANE LAW SCHOOL
          6329 FRERET STREET                                            8
      9   NEW ORLEANS, LOUISIANA 70118-6248
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     12   HAMMONDS, SILLS, ADKINS, GUICE, NOAH & PERKINS,
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          thayes4@hamsil.com
     15
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     25                                                                25 EXHIBIT 16 TWEET - JUNE 3, 2020 . . . . . .                235
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      2       It is hereby stipulated by and among counsel              2 EXHIBITS (CONTINUED)
      3   for plaintiff and counsel for defense that the                3 EXHIBIT 17 TWEET - JUNE 25, 2020 . . . . .                 238
      4   deposition of                                                 4 EXHIBIT 18 GRAPHIC . . . . . . . . . . . .          239
      5               KATRINA JACKSON                                   5 EXHIBIT 19 TWEET - APRIL 27, 2021 . . . . .                 240
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      7   Reporter, by counsel for the plaintiffs for all               7 EXHIBIT 21 TWEET - DECEMBER 10, 2021 . . .                        246
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      9   of the appropriate statutes of the Code of Civil              9 EXHIBIT 23 TWEET - MARCH 11, 2022 . . . . .                  252
     10   Procedure of the State of Louisiana.                         10 EXHIBIT 24 TWEET - MARCH 14, 2022 . . . . .                  253
     11       The parties hereto waive all formalities in              11 EXHIBIT 25 TWEET - MARCH 18, 2023 . . . . .                  255
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     15   questions and answers to typewriting.                        15 SCREENSHOT FROM TWITTER - APRIL 29, 2021 . .                             294
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      1           INDEX (CONTINUED)                         1        COURT REPORTER:
      2 EXHIBITS (CONTINUED)                                2           Okay.
      3 EXHIBIT 38 ARTICLE . . . . . . . . . . . . 375      3        MR. HAYES:
      4 EXHIBIT 39 TWEET - JUNE 24, 2022 . . . . . 380      4           Thomas Hayes the IV. I represent the
      5 EXHIBIT 40 TWEET - GRAPHIC JUNE 24, 2022        381 5        Senator Jackson.
      6 EXHIBIT 41 TWEET - JUNE 26, 2022 . . . . . 383      6        WITNESS:
      7 EXHIBIT 42 TWEET WITH REPLIES . . . . . . . 390     7           And Senator Katrina Jackson.
      8 EXHIBIT 43 TWEET - JUNE 24, 2022 . . . . . 391      8        COURT REPORTER:
      9                                                     9           Okay.
     10                                                    10        WITNESS:
     11                                                    11           I guess I'm representing the –- I don't
     12                                                    12        know who I'm representing.
     13                                                    13        MR. HAYES:
     14                                                    14           You're not representing.
     15                                                    15        WITNESS:
     16                                                    16           This is personal.
     17                                                    17        MR. HAYES:
     18                                                    18           You're not wrong. You're the client.
     19                                                    19        WITNESS:
     20                                                    20           Me the client.
     21                                                    21        COURT REPORTER:
     22                                                    22           Okay.
     23                                                    23        MR. HAYES:
     24                                                    24           Get your questions asked.
     25                                                    25        COURT REPORTER:
                                                   Page 6                                                Page 8

      1       COURT REPORTER:                              1            Ms. Jackson, would you raise your right
      2          Good morning, today's date is September   2        hand, please?
      3       the 18th, 2024. The time is approximately    3        WITNESS:
      4       9:04 a.m. We are here for the deposition     4            Yes, yes.
      5       of Katrina Jackson. If the attorneys         5        COURT REPORTER:
      6       present in the room would please state your  6            Do you solemnly swear or affirm that
      7       name and who you represent and then I will   7        the testimony you give here today will be
      8       swear the witness.                           8        the truth, the whole truth, and nothing but
      9       MS. SCHWARTZMANN:                            9        the truth so help you God?
     10          My name is Katie Schwartzmann, I         10        WITNESS:
     11       represent the plaintiffs in this matter.    11            I do.
     12       MR. CROW:                                   12        COURT REPORTER:
     13          My name is Richard Alexander Crow and I 13             Okay. Thank you. Go ahead.
     14       also represent the plaintiffs in this       14               KATRINA JACKSON,
     15       matter.                                     15 after having been duly sworn, was examined and did
     16       MR. PETTIGREW                               16 testify as follows:
     17          Hi, my name is Landon Pettigrew and I    17        MR. CROW:
     18       also represent the plaintiffs in this       18            All right. First, if we just wanted to
     19       matter.                                     19        talk about objections. Are we going to be
     20       MS. HAMRICK:                                20        preserving all objections for trial except
     21          Virginia Hamrick. I represent the        21        as those to form?
     22       plaintiffs.                                 22        MR. HAYES:
     23       MS. CLEVELAND:                              23            Agreed. Uh-huh.
     24          Anna Cleveland. I represent the          24        MR. CROW:
     25       plaintiffs.                                 25            All right. Then, I guess we can get
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      1         started.                                         1   Q   Okay.
      2   EXAMINATION BY MR. CROW:                               2   A   So very familiar with depositions.
      3   Q Good morning, Senator. I need to start with          3   Q   Okay. Have you been the subject of a
      4     the most basic question. Can you please state        4     deposition?
      5     your name for the record?                            5   A Not that I can recall. But I'm 47 years old,
      6   A Sure. Katrina Jackson. You said my name,             6     so –- and I'm serious, I don't think I have but
      7     that's it, right? Uh-huh.                            7     --
      8   Q Yes, ma'am. All right. Senator, because              8   Q Okay. Did you review any documents in
      9     you're a lawyer you already know this, but I         9     preparation for this deposition today?
     10     have to ask some basic information to lay the       10   A Just my discovery answers.
     11     groundwork for this deposition.                     11   Q Did you –- do you have those documents with
     12   A Yes.                                                12     you?
     13   Q So first, this court reporter is trying to take     13   A I do.
     14     down everything you and I say. That means that      14   Q All right, excellent. So, first, I want to
     15     I need your answers to be audible. If you           15     start –- I want to start with your background.
     16     shake your head or say, "hmm," they may not get     16     So what is your current job?
     17     what you're saying.                                 17   A My current job, I'm an attorney. That's what
     18   A Uh-huh.                                             18     pays the bills, right? And I own my own law
     19   Q Is that fine?                                       19     firm. And I'm also a senator for District 34.
     20   A I understand.                                       20   Q And how long have you been practicing law?
     21   Q You are under oath to tell the whole truth in       21   A Since 2005.
     22     response to my questions. That means you have       22   Q What type of law do you practice?
     23     to tell the whole truth just as you would as if     23   A I do criminal defense. I also do some personal
     24     you were in a courtroom before a judge and          24     injury. A little bit of medical malpractice.
     25     jury. Do you understand that?                       25     And then, just the general stuff. We're in a
                                                      Page 10                                                    Page 12

      1   A  So help me God, I understand.                       1     small community, so like successions, wills,
      2   Q  Are you under the influence of alcohol?             2     power of attorneys. But my main practice has
      3   A  No.                                                 3     become –- not by choice, I love it, but
      4   Q  Are you under the influence of any drugs?           4     criminal defense. I think about sixty percent
      5   A  Advil Cold & Sinus. That's not influential.         5     (60%) of my practice is criminal defense.
      6   Q  Okay.                                               6   Q Okay. And are you a member of the bar in
      7   A  That's what I took this morning, so you told me     7     Louisiana?
      8     to tell the whole truth.                             8   A I am.
      9   Q All right. Thank you. Is there anything that         9   Q Are you barred in any other state?
     10     would prevent you from giving your full             10   A No.
     11     attention to my questions today?                    11   Q Have you ever held elected office?
     12   A No.                                                 12   A Yes.
     13   Q And is there any reason you can not give full       13   Q What offices have you been elected to?
     14     and accurate answers to my questions today?         14   A I've been a Louisiana State Representative and
     15   A No.                                                 15     now I'm currently a Louisiana Senator.
     16   Q Also, if we need to take a break at anytime,        16   Q And just to clarify. You were a representative
     17     just please let us know and we'll take a break.     17     first and then a senator?
     18     And if we do take a break, I will ask who you       18   A Yes. If I remember, I was elected to be a
     19     spoke to and what you reviewed during that          19     representative -- I know we were sworn in 2012.
     20     break. Is that okay?                                20   Q What made you decide to run for public office?
     21   A Oh, most definitely.                                21   A I was staffing the legislature. We were in the
     22   Q Have you ever given a deposition before?            22     middle of what was the Jindal era. I don't
     23   A No. Not that I can recall. I've been in law         23     know how to say other than that, Governor
     24     for so long but I have –- I have sit in a lot       24     Jindal, you know. And I just remember knowing
     25     of them in as internal.                             25     that we were going to hit a deficit. Because
                                                      Page 11                                                    Page 13

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      1    it was the first time I determined as I was in      1   House, did you serve on any committees?
      2    prayer one night in my house and I felt that by     2 A And you're going to take me back. The first
      3    the holy spirit to run. I got up and went back      3   year I was on Health and Welfare. I remember
      4    to bed because I didn't want to do it. And          4   that because my entire eight (8) years in the
      5    after that, through spiritual counseling,           5   House I was on Health and Welfare, so that's a
      6    whatever –- not ever mention it to anyone,          6   easy committee. My entire time in the House,
      7    three times pastors were calling me. It was -–      7   halfway through that first year I was put on
      8    it was a weird thing. And one –- right after        8   Senate –- not Senate. I'm sorry. House
      9    it happened I was in the car –- and I'm very        9   Appropriations and Joint Budget as an interim
     10    transparent about this. This is public. I was      10   member, which means I served when session was
     11    in the car with one of my friends who's a          11   not going on. What else did I serve on that
     12    minister and all of sudden she said, "I'm going    12   first year? I don't remember serving on
     13    to have to let you go back to Monroe. God's        13   criminal jus- -- I'm –- look, the House records
     14    calling you to run for office and he –- you're     14   is going to be best. I can tell you what I
     15    ignoring him." Then, I –- one night at 2:00 in     15   remember, but that's not exhaustive --
     16    the morning –- I get up sometimes like that.       16 Q Okay.
     17    Not now, I'm too old. And –- you know, in your     17 A –- because it's been years. So it was Finance.
     18    younger years you get up in the middle of the      18   It was –- I mean, not Finance. In the House it
     19    night. And I got up and prayed and I called        19   was Joint Budget, interim. Appropriations,
     20    one of my prayer partners and I said, look,        20   interim. Health and Welfare, all eight years.
     21    this is going to be devastating on the state, I    21   At some point, I became Chair of Judiciary in
     22    can't even hardly sleep. When these votes are      22   my second term, so I remember that quite well.
     23    taken, we're going to -- you know, I just –-       23   When you're chair you somewhat get a lighter
     24    every economists, it's very clear that we're       24   schedule. I'm going through the list in my
     25    going into a deficit because the new               25   head of all the committees. But I definitely
                                                    Page 14                                                Page 16

      1   legislature -– I don't know whether they         1       remember those and the House record would
      2   understood it or not, but they had been sold on  2       reflect anything else. I remember, I think, I
      3   that there was going to be like a windfall of    3       served on some subcommittees as well.
      4   money if we give businesses a lot of tax         4     Q Okay. Can you explain –- can you explain to me
      5   credits and everything. And economists was       5       the role of a committee in the House?
      6   saying there's no way our economy can catch up   6     A A committee vets bills. So basically if it's a
      7   and our state revenue can catch up that fast.    7       –- if it's a bill in the House –- you said in
      8   So, just in prayer about my job. I was           8       the House, right?
      9   Executive Director of the Black Caucus at the    9     Q Yes, ma'am.
     10   time. Legislative Black Caucus. And I called    10     A That originates in the House, we vet the bills
     11   my prayer partner that night and she said, "God 11       if they don't get favorable passage then they
     12   has already told you to run and you're ignoring 12       don't go to the floor. Now, there are
     13   him." So that was the second confirmation.      13       mechanisms that can take them to the floor like
     14   And then the third confirmation was, I was on   14       a discharge of a committee and put it in a
     15   the phone with one of my pastor friends I had   15       committee of the whole. Or you can refer it to
     16   just met, a peer, and he said, "I just really   16       another committee and with a majority vote of
     17   believe this seed is graded for you." So, I     17       the House, that committee –- that bill can have
     18   came in on the obedience of God, but it wasn't  18       another committee hearing somewhere else or it
     19   like an instant obedience. Let me be very       19       can come into the committee of the whole. But
     20   clear.                                          20       the committee of the whole is generally
     21 Q Thank you. And so, you said you were first      21       reserved for -– let me know if you need me to
     22   sworn into the House in 2012, correct?          22       slow down. I forgot to tell you I talk fast.
     23 A If I remember now. The best record is whatever 23        A committee of the whole is generally reserved
     24   the state says, but I believe it was 2012.      24       for appropriation bills. If the bill doesn't
     25 Q When you were a State Representative in the     25       come out of committee, it is very few times.
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      1     Because, you know, in old days, right? You       1   A   He was trying to put every member on one
      2     respected the will of the committee. We've       2     committee of their choice.
      3     seen more maneuvers with term limits and, you    3   Q Okay.
      4     know, legislators passing in and out. It is a    4   A So I would have thought that maybe I requested
      5     very rare occurrence that it does –- makes it    5     one of them also. I remember requesting
      6     to the floor, but sometimes it does.             6     appropriations because my former boss told me
      7     Especially in last-minute negotiations where,    7     to always request appropriations.
      8     you know, different parties are negotiating      8   Q Okay.
      9     different things, different reps are             9   A And I didn't get that committee originally.
     10     negotiating different things and we may have to 10     That was through negotiations like six (6)
     11     bring a bill out as a negotiation that died,    11     months later.
     12     you know, at the beginning of session. So       12   Q Okay. Is there any other reason why you
     13     basically that's the role of committees.        13     requested the Appropriations Committee?
     14   Q Okay.                                           14   A Because I'm from Northeast Louisiana. Number
     15   A Oh, and also, I apologize. We take testimony    15     one, everyone wants to be on appropriations or
     16     from the public. We –- whether it's live        16     capital outlay. Well, what is it? Is it
     17     testimony, whether it's testimony by emails or  17     Capital Outlay Committee? I guess. I can't
     18     letters, all of that testimony from the public  18     remember in the House, I'm in the Senate. But
     19     is submitted in the committees.                 19     everyone wants to be on that committee, right?
     20   Q Okay. And does a legislator –- or actually let  20     One of the money committees or either
     21     me back –- let me rephrase that. In the House,  21     transportation. It really bears on you being
     22     do you get to choose the committees which       22     the first to see the budget and what happens
     23     you're on?                                      23     with the budget. Also, your ability to fight
     24   A You can request your preference committees, but 24     for your district and bring money home when you
     25     ultimately they're selected by the House        25     serve rural parishes. At the time I was
                                                    Page 18                                                Page 20

      1     speaker.                                         1     serving Ouachita which we're sitting in now,
      2   Q Okay. Did you request any of the committees      2     and Morehouse, it would have been it. And just
      3     that you mentioned?                              3     being –- working for state representative, you
      4   A I'm sure I did because at the time that was      4     know, since I was 20; 19 to 20. I can't
      5     Speaker Kleckley. With me having no real         5     remember when I started. You knew that was an
      6     background in the House there was no, you know, 6      important committee.
      7     I didn't have a lot of political foes at the     7   Q How many people serve on a committee in the
      8     time so it wouldn't have been any reason for     8     House?
      9     the speaker to not put me -- I think it was      9   A It varies. And usually it's in-house rules,
     10     Speaker Kleckley, to not put me on some         10     but because of the number of –- if I remember
     11     committees. I was in a minority party at the    11     they had just renovated that committee because
     12     time like I've always been in the House and the 12     we do joint budget. The speakers may add by
     13     Senate. So, I probably requested something and 13      rule or delete so –- I don't know in the House
     14     maybe got one. I just can't remember.           14     now. In the House –- and the sizes of
     15     Generally, we send in that request by phone.    15     committees vary.
     16   Q Uh-huh.                                         16   Q Okay. And you mentioned that you were in your
     17   A Sometimes it's by email. That far back, I       17     second term, the chair of the Judiciary
     18     wouldn't have the request.                      18     Committee?
     19   Q Okay. So you wouldn't be able to recall that?   19   A Yes.
     20   A I just recall that we all had to submit, at the 20   Q Are there any other that are leadership roles
     21     time, our top committees and then our secondary 21     within committee besides the chair?
     22     committees. And if I remember in meeting with 22     A In the House, I don't even remember if I –- I
     23     Speaker Kleckley. I remember meetings more      23     don't think I had a vice chair the first year.
     24     than I remember communications by email, right? 24     I might have the first term. I just don't
     25   Q Uh-huh.                                         25     remember. I was also the chairman of the black
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      1     caucus while I served in the House I –-             1     confer with the committee and say we may need
      2     probably early on in the first two (2) years.       2     to, you know, vote the two-minute, the three-
      3     And like I said, the legislative history would      3     minute rule, the five-minute rule on testimony.
      4     be best because it's been awhile. Recollection      4     So that's what I mean by managing the
      5     of it would be the legislative history. I           5     committee.
      6     served at -- I believe, in the House and in the     6   Q Okay. And what does the –- what does the vice
      7     Senate I've served in the leadership of the         7     chair do?
      8     women's caucus. And I've never served in            8   A The vice chair assists in that, yes.
      9     leadership, if I'm not mistaken –- and I could      9   Q Okay. Do they have any other different duties?
     10     be wrong, the best recollection is always going    10   A Not that I know of. And they sit in the chair
     11     to be the history of the committees and the        11     if the chairman is not present. Uh-huh.
     12     history of the caucuses. I think –- I don't        12   Q Okay. So just to make sure that I –- just to
     13     believe I've served as a democratic in             13     clarify. So the chairman kind of manages the
     14     democratic or rural caucus leadership.             14     meetings --
     15   Q Okay. Let me actually rephrase that question.      15   A Uh-huh.
     16   A Uh-huh.                                            16   Q –- and they schedule the agenda and they also
     17   Q I'm not asking, at this point, what leadership     17     manage the testimony that's going to be heard?
     18     roles you've had.                                  18   A Right. And I don't want you to think that
     19   A Uh-huh.                                            19     chairman have plenary power. The rules are
     20   Q But just in the Judiciary you are the chair,       20     very clear in the House that if someone request
     21     was there a vice chair or any --                   21     the bills be scheduled in writing, you request
     22   A Yes.                                               22     it. Also, the Speaker of the House is the
     23   Q –- other position?                                 23     ultimate person who manages the entirety of the
     24   A Jay Morris from Monroe was my vice chair. I        24     House. So for most chairman if the speaker
     25     remember that because you just remember when       25     asks a bill to be added, even if it's not on
                                                     Page 22                                                   Page 24

      1     somebody from home serves in leadership with     1        your agenda, you add it. So it's not like a
      2     you. It's very rare.                             2        chairman of a committee has plenary power on
      3   Q Okay. And were there any other positions of      3        what's heard in the committee. That would be
      4     leadership within the committees?                4        false, right? We have to honor the member's
      5   A No.                                              5        requests. You know, kind of the discretion is
      6   Q Okay.                                            6        -- is if a bill, a subject matter bill was
      7   A Not that I know of, no. Huh-uh.                  7        coming and you've decided to handle all
      8   Q Okay. So, with being the chairman of a           8        economic development bills today, even though
      9     committee, what are the –- like what are the     9        that wouldn't be judiciary, but using that as
     10     duties of the chairman or a chair person?       10        an example, then the chairman will tell you,
     11   A The duties are kind of written out. I won't     11        right now this agenda is reserved for economic
     12     remember them all because the House rules are   12        development bills, we can put you on the next
     13     different from the Senate rules and I hadn't    13        agenda. So maybe sometimes because there's so
     14     been in the House in about five (5) years. But  14        -- constituents from all over the state -- well
     15     basically to manage the meetings, to schedule   15        obvious, but mainly constituents. Let's say
     16     the agenda of what's going to be heard in       16        constituents for acts that deal with
     17     committees as well as to manage testimony with, 17        disability. Bills that deal with disability.
     18     you know, consent of your committee members. 18           To be courtesy to them, the chairmans of
     19     Meaning that if you know you're going to the    19        committees generally will say, this is the day
     20     floor before 2:00 p –- at 2:00 p.m., I'm just   20        we're going to take all bills related to
     21     giving you an example.                          21        persons with disabilities. I remember that
     22   Q Uh-huh.                                         22        very intensely because in the House we had just
     23   A And there are number of people willing –-       23        experienced budget cuts and we were in a
     24     wanting to testify on a number of bills, then   24        deficit and parents were bringing children who
     25     you want to give everyone a chance. So you may 25         they had to feed through tubes and committee.
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      1   And that's why I remember that because we had    1     general rule at the time. In my first term I
      2   become very, very narrow in appropriations on    2     don't recall having a vice chairmanship, but I
      3   making sure that we didn't schedule bills all    3     could have. Maybe stray, I just don't recall.
      4   over the place; when you can. Sometimes a bill   4   Q Okay. And so you mentioned that the committee
      5   is just not right for hearing because it hasn't  5     drafts and vets legislation, then moves on to
      6   had its readings and you have to bring them      6     the whole House?
      7   back. In Judiciary, it's mostly the district     7   A Right.
      8   attorneys, the sheriffs, and the constituents,   8   Q And then the whole House would consider and
      9   like, those who advocate for those incarcerated  9     vote?
     10   and things of that nature. And you're saying,   10   A Yes.
     11   I want to get them here all on the same day to  11   Q So –- and you mentioned that if a bill was
     12   be courteous so people are not driving back and 12     killed in committee, there are some mechanisms
     13   forth across the state every time they schedule 13     to bring it to a House vote and kind of
     14   a bill. That's in utopia, right? That doesn't   14     circumvent the committee, but they aren't --
     15   always happen, but that's if a committee goes   15   A Uh-huh.
     16   in utopia. If you know anything about the       16   Q –- often used. Is that --
     17   legislature, if you're topal, you exist one     17   A No.
     18   day. That's your day of reward.                 18   Q –- what you said?
     19 Q Okay. So it sounds like the chair role has      19   A They're not often –- and people will attempt to
     20   some power. Can you explain how the scheduling 20      use them, but the bodies, as a whole, generally
     21   and taking –- and taking testimony duties       21     will, you know, it has to be a serious matter
     22   impact the legislation?                         22     for the body to take it up. It's not a
     23 A It's basically –- let me say this. As chairman  23     standard practice for you to get a majority
     24   for me, I always let it go through the process. 24     vote. Does a member kind of have to advocate
     25   I may have a strong opinion as a chairman,      25     for the district and that bill was important to
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      1   someone else may have a strong opinion. Some     1     their district and it didn't come out, you'll
      2   new members may follow the lead of the           2     see a member go to the floor and attempt it,
      3   chairman. I believe before term limits when I    3     but it's not usually granted at all.
      4   staff that a chairman had a lot more, you know,  4   Q Okay.
      5   influence over their committee. Post-term        5   A Uh-huh.
      6   limits, we're seeing an era where chairman       6   Q So you would say that the standard practice
      7   don't have as much influence over their          7     would be that the committee vote is what's
      8   committee. I've only served –- I've –- I was a   8     going to determine what the rest of the
      9   staffer but I've served post-term limits. Do     9     legislature gets to vote on?
     10   chairmans still have some influence over some   10   A Yes. Uh-huh.
     11   members of their committee, yes, but, you know, 11   Q If a legislator is on a particular committee,
     12   it's not like it was, you know, pre-term        12     does that mean that that legislator has an
     13   limits. And so the chairman's, you know,        13     expertise on the subject matter of that
     14   discretion is respected, but it's not, you      14     committee maybe compared to other legislators?
     15   know, given as much weight as it was pre-term   15   A Sometimes and sometimes, no. You know, just
     16   limit.                                          16     that's how it goes. I didn't serve on
     17 Q And so, you mentioned that you held –- you were 17     education at all in the House and I'm a former
     18   the chair –- the chair person of the judiciary  18     teacher and now I serve on education in the
     19   in the House. Did you hold any other            19     Senate. It doesn't –- sometimes, like, you'll
     20   leadership positions on your other committees   20     –- you know, a legislator may request a
     21   that you recall?                                21     committee that they have expertise on. A
     22 A Not that I can recall. Usually, when you're     22     former sheriff is probably going to request
     23   the chair –- and that was in my second term,    23     criminal justice. It depends on your politics
     24   you're not going to have, like, a vice chair of 24     whether you get it or not.
     25   another committee. That's just –- that was the  25   Q Okay. Now, even if they don't come in with
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      1   that expertise --                                1     Q  Okay. Can you describe to me what the
      2 A Uh-huh.                                          2       difference is in the roles of the House and the
      3 Q –- to the committee, are the committee members 3         Senate and the State Legislature?
      4   considered within the legislator to have –-      4     A We consider –- it's a funny saying. We
      5   legislature to have substance of knowledge on    5       consider the House the people's House because
      6   the subject matter?                              6       you only have –- if I remember, and like I
      7 A The committee members to the extent of           7       said, redistricting the rules of how many
      8   testimony, what we respect is this, we get to    8       senators each -– well, how many constituents
      9   know each other. So we know your background, 9           each member have is best reserved for looking
     10   right? And we know sometimes -– you may not 10           at their districts. You have a much smaller
     11   get to know everyone, but some committee        11       district. Much, much –- about forty-plus
     12   members you know their background because       12       people to serve. Forty thousand-plus in the
     13   you've heard them testify about it. So you may  13       House. The senators may have anywhere from
     14   go to them sometimes and say, what do you think 14       ninety something thousand to a hundred and
     15   of this, because of their background that       15       twenty or above, but the record is going to be
     16   you've heard them either testify to or you've   16       best reflected on running each person's
     17   gained personal knowledge of. What we consider 17        district. That's the major difference in the
     18   with committee members if –- is they're the     18       territory you cover and the amount of
     19   people that hear the public's testimony. And    19       constituents you answer to. You know, that's
     20   so they have a better understanding of how it's 20       the difference.
     21   going to impact the general public because      21     Q Uh-huh. Aside from those that arise from the
     22   they've heard the public's testimony. I think   22       larger constituency --
     23   that's the greatest difference given to members 23     A Uh-huh.
     24   that sit on a committee, what did the public    24     Q -- are there different responsibilities between
     25   say? And then, because of email communications 25        the House and the Senate?
                                                     Page 30                                                 Page 32

      1     and things like that, you kind of now know -–    1 A No. You're still going to vet bills in your
      2     unless it's an email –- it's a –- it's a bill    2   committee. Now, you have a lot more
      3     that you receive no email from your              3   responsibility in your Senate district because
      4     constituents or the general public on, you'll    4   you are just answering to a lot more people
      5     know what the public says because you're going   5   regarding legislation. And you have more
      6     to get the emails.                               6   responsibility on budget issues because whereas
      7   Q Okay. And so, would you say because of that      7   you have a smaller district, you now have to
      8     the committee members are influential members    8   fulfill the budgetary requests of more
      9     on their subject of their committee?             9   municipalities. Unless you're in a larger area
     10   A No. A lot of bills make it out of committee     10   like New Orleans or Baton Rouge, when you get
     11     and not make it off the floor. Honestly, no.    11   up to these areas, you know, we have several
     12     Like, I don't know how to say it other than     12   municipalities and several parishes in our
     13     that. A lot of bills make it out of committee   13   district.
     14     and they don't make it off the floor. That's    14 Q And why did you decide to run for Senate again?
     15     why bills die daily on the floor. People are    15 A My senator was term limited. The seat came
     16     generally going to vote their district.         16   open.
     17   Q Okay. So –- and remind me. How long did you 17 Q Okay. And was there any –- was there any other
     18     serve in the House of Representatives?          18   reason?
     19   A Eight years.                                    19 A My senator was term limit and the seat came
     20   Q Eight years. And then while you were still a    20   open.
     21     representative after that eight years, you then 21 Q Okay. And do you remember when you were first
     22     decided to run for State Senate?                22   elected to State Senate?
     23   A My senator was term limited. I had one term I 23 A Now, let me see. I can remember the House
     24     could run in the House and I just decided to    24   because it was my start of my career. The –-
     25     run. The seat came open.                        25   whatever the legislative record is, but I know
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      1     I'm in –- I think I'm in my sixth year. Uh-      1     Q  Is there anything else?
      2     huh.                                             2     A  I'm sure it is but not that, you know. Look,
      3   Q Okay. So that would have been around two –-      3       there's no form to what you do as a senator.
      4     2018 in that case?                               4       Everyone's district is different. Your needs
      5   A If election happened in 2018, yes. Uh-huh.       5       of your district are different, so you just
      6     Well, the election for 2018 would have been      6       kind of make it work for your constituency.
      7     2017. So –- I hate to reference COVID, but       7     Q As a senator, do you think it's important to be
      8     what I do remember is I was first sworn in to    8       active in communicating with your constituents?
      9     District 34 in January and COVID hit that March 9      A Everyone chooses different forms of
     10     or April. Well, we was shut down. That's the    10       communication with their district. I am very
     11     best way I remember when I came to the Senate. 11        active in emails in my office. Sometimes we
     12   Q Okay. And so, now, we talked about kind of the 12        may slip up, you know, on something if we get
     13     responsibilities generally. Do you –- what      13       busy during session, but we try to respond to
     14     responsibilities do you see as yours as Senator 14       all emails. Generally, my office staff works
     15     of District 34?                                 15       -– I just changed the schedule yesterday
     16   A To serve the people of District 34. Uh-huh.     16       because I have a staffer that's driving in
     17     And also –- that's -- basically that's what it  17       about forty (40) minutes and we generally are
     18     encompass. You serve the people of your         18       open from 8:00 to 5:00. We're now open from
     19     district first. You serve others next. And      19       8:30 to five o'clock with a lunch from 12:00 to
     20     you do the best job you can for the people of   20       1:00. We are –- during the fall I let them
     21     the district.                                   21       leave at 4:30 because it gets dark, right,
     22   Q When you say serve others next, that's people   22       during the fall and winter and you want to give
     23     –- that's to state outside of your district?    23       people a chance get home whether they're in
     24     Is that what you're referring to?               24       district or not. I've always been sensitive
     25   A It –- let me say –- let me put it in these      25       and I do it with my law office to the need of
                                                    Page 34                                                    Page 36

      1   terms. Sometimes you may get an email that's         1     people who pick up their children, to go to the
      2   outside of your district of persons that need        2     grocery store and not feel like they getting
      3   help. I generally refer them back to their           3     home at dark every day. So that's the only
      4   senator out of respect for that senator. If -–       4     time we schedule shifts. But to answer your
      5   I think my –- I have a rule that if you hadn't       5     question, I think the importance comes from
      6   heard from your senator in twenty-four (24) to       6     within the office. Most things are directed to
      7   forty-eight (48) hours, if you contact us back       7     your office and so we try to make sure that we
      8   I will contact your senator to try to get you        8     are there and communicating. That's one thing
      9   help. At that point if they don't help you and       9     that has always been a pet peeve of mine, when
     10   it's something I can help you on, I will help       10     a senator doesn't have anyone in their office
     11   you. Now, there are exceptions. Kids, you           11     or a rep doesn't have anyone in their office
     12   know, having issues, being mistreated, you          12     because you kind of feel like the constituents
     13   generally send that straight to the member.         13     are not served.
     14   And for me -- everyone has different rules into     14   Q As a state senator, are you required to take an
     15   the department. If you think someone is             15     oath of office?
     16   imminent danger or threat, you report it            16   A Yes. Uh-huh.
     17   immediately, you know, even if it's outside of      17   Q What does that oath entail?
     18   your district.                                      18   A The best record of that oath I know is to serve
     19 Q Are there any other responsibilities as your        19     your constituents but to uphold the
     20   role as a senator?                                  20     constitution and laws of this state. I think
     21 A I mean, we have a lot of roles. We do speaking      21     the laws of the United States, but if you want
     22   engagements. We do things for schools. We           22     a copy of that oath the Senate has it.
     23   sponsor certain things. Although that's not         23   Q And so we talked about what the role of the
     24   your ultimate responsibility, it becomes a part     24     committee was in the House. In the Senate,
     25   of the job. Things like that, yeah.                 25     what is the role of the committee --
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      1    A  The same role.                                 1              on. Something may get graded during the year.
      2    Q  –- in that body?                               2              You know, like last term the state –- a select
      3          Okay. So, are there any differences from    3              committee on state police was formed because
      4      the role in the House?                          4              of, you know, the Ronald Green matter and some
      5    A Same role.                                      5              other matters that were going on. So, that's
      6    Q Are there any other –- you mentioned in the     6              –- and then the year before I served –- the
      7      House that there is the chair and the vice      7              term before that, I served on insurance. I did
      8      chair of each committee. Are there any other    8              not have a committee role –- a leadership role.
      9      leadership positions in the Senate besides      9              I was interim on Finance and the Budget
     10      those two?                                     10              Committee, the Joint Budget Committee. I
     11    A Those are generally the leadership committees 11               served -– I told you about education. I was
     12      of the –- leadership positions of the          12              vice chair. And there was one other committee
     13      committees.                                    13              but it's –- it flees me. Let's just say I
     14    Q Okay. And in the Senate, what committees have 14               didn't get the committees I wanted the first
     15      you served on?                                 15              time.
     16    A I'll start with this term because that's       16            Q Okay. So, just to make –- just to clarify to
     17      easier. Well, I serve on education. I've       17              make sure that I've got this down correctly.
     18      served on education both times. Last term I    18              So as far as standing committees --
     19      was vice chair, but now I serve as a member    19            A Uh-huh.
     20      without a leadership role. I serve as vice     20            Q -– that you've been a part of in the Senate.
     21      chair of Health and Welfare this term. Did not 21              We've got the Education Committee. The Health
     22      serve on Health and Welfare last term. I serve 22              and Welfare Committee. The Finance and Joint
     23      on Finance and Joint Budget this term. I also  23              Budget Committee --
     24      serve as the chair of the Select Committee on  24            A Uh-huh.
     25      Women and Children this term. And I may be on 25             Q -- and the Insurance Committee?
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       1       some subcommittees. Because that's a –- that's         1   A  And there's one more, but I just can't go back
       2       a non-standing committee, that's a Select              2     two or three years to think about it. I think
       3       Committee. I also –- we just got through               3     there's one more but the best recollection is
       4       discussing it. I am still showing as a member          4     going to be the Senate record.
       5       on the Select Committee on state police and            5   Q Okay. And this Senate record would tell us
       6       from time to time I may be put on a task force.        6     what committees --
       7       You are appointed to outside, like -– how they         7   A Right.
       8       put it? Organizations or –- not boards but,            8   Q –- you've been on?
       9       you know, networks. Like I serve, I think, on          9   A Uh-huh.
      10       the Louisiana Emergency Network, I serve as the       10   Q Where could we find that?
      11       Senate Committee this term. The Senate member         11   A You can ask the Secretary of the Senate. Also,
      12       nonvoting member for Louisiana High School            12     you can go on our website if it's still posted.
      13       Athletic Association. God we have –- we have a        13     Like my current committees is at the www.legis,
      14       myriad of responsibilities that don't deal with       14     L-E-G-S –- L-E-G-I-S, .la.gov. If it's not
      15       committees. And that's both in the House and          15     still posted from last term, you could ask the
      16       the Senate. There is more spread in the House,        16     secretary of the Senate. And I can --
      17       so you may serve on certain committees. I             17     basically if I can send that to you, I'm sure I
      18       serve as a member of the –- and Lord I may get        18     can get it. I have a record in my office.
      19       this wrong, but it's the –- the committee that        19   Q Okay. So, let's start with the Education
      20       deals with –- not a committee. It's the –-            20     Committee. You said that you were the vice
      21       it's in the Department of Education or Board of       21     chair in your first term but --
      22       Regions to deal with HPCU's. Yeah. But I may          22   A Uh-huh.
      23       miss something because, you know, our committee       23   Q –- now you're a member?
      24       switch. Our selection outside of our standing         24   A Right.
      25       committees may switch depending on what's going       25   Q And you said you've been on the Education
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       1     Committee the entire time you've been in the         1   Q   And what does that committee consider?
       2     Senate?                                              2   A   It vets everything with the budget. Everything
       3   A No. Yes. Yes. The entire time. Uh-huh.               3     that may impact the budget. And also if a –-
       4   Q Okay. And what does the Education Committee in       4     if any bill from any committee has a physical
       5     the Senate do?                                       5     note, which means has more of an impact of A
       6   A It vets education bills. Education related           6     hundred Thousand Dollars ($100,000.00) or more
       7     bills. Whatever is scheduled for that                7     to the state. We don't vet it for subject
       8     committee.                                           8     matter, but it comes to us to consider it for
       9   Q Okay. Is there anything else that they work          9     budgetary matters if it passes its subject
      10     on?                                                 10     matter committee.
      11   A Sometimes there's passports, but it's –- it's       11   Q So if a bill from another committee has over a
      12     pretty much all education related.                  12     One Hundred Thousand Dollar impact --
      13   Q Okay. So, they really only consider Education       13   A Right.
      14     --                                                  14   Q –- to the budget, you guys get to see it? Can
      15   A Matters, uh-huh.                                    15     you --
      16   Q –- Committee? Okay.                                 16   A We get to see it not for substantive, but to
      17         All right. And now with the Health and          17     make sure we can pay for it as a state.
      18     Welfare Committee. Can you tell me –- did you       18   Q Okay. And can you describe how that process
      19     say you've been on that one both terms, as          19     looks?
      20     well?                                               20   A When a bill leaves committee, a subject matter
      21   A No. I just was put back on Health and Welfare       21     committee and it comes to the floor, let's say
      22     this term.                                          22     it –- it's voted out. If it's not voted out,
      23   Q Okay. So this most recent term?                     23     we don't get it at all. If it's voted out,
      24   A Uh-huh.                                             24     it's dual-referred. We call it the dual-
      25   Q And what does that committee do?                    25     referral. The secretary dual refers it to our
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       1   A   It vets all healthcare matters and that is a       1     committee.
       2     myriad of things, healthcare, mental health,         2   Q And then you decide -- you look at it --
       3     everything. Hospitals, the medical board, all        3   A We --
       4     licensure board, legislation regarding               4   Q –- to see if the state can pay for it?
       5     healthcare. Nursing board, all of that. A            5   A Right. And the chairman constantly reminds you
       6     number of things. We also, like any other            6     that it's just not –- it's not going to be
       7     committee, if there's a rule promulgation by         7     vetted as subject matter or substantive because
       8     the department, that comes to us, too. We may        8     that committee has already done its job.
       9     not take it up. We're not mandated to take it        9   Q Okay. And the last committee that you said as
      10     up. But, you know, if someone objects or we         10     you remember of a standing committee was the
      11     want a review hearing on it, yeah.                  11     Insurance Committee--
      12   Q And is there any other legislation that             12   A Last term.
      13     committee considers?                                13   Q –- correct?
      14   A Healthcare legislation.                             14   A Uh-huh.
      15   Q You also said you're a member of the Finance        15   Q Okay. You're no longer a member --
      16     and Joint Budget --                                 16   A No.
      17   A Right.                                              17   Q –- of that committee?
      18   Q –- Committee? When were you on that committee?      18   A I'm trying to remember. Education right now.
      19   A I was an interim member the first term, which       19     I thought I had a fourth committee. Education.
      20     means I served only in the interim when we were     20     Healthcare. Finance and Joint Budget. Uh-huh.
      21     not in session. Right now I am a full-time          21   Q Okay. And so with the Insurance Committee, you
      22     member of that committee.                           22     were in that in the first term. What does that
      23   Q So you were an interim member then, now you're      23     committee consider?
      24     a full-time member?                                 24   A All insurance related bills.
      25   A Yes.                                                25   Q Okay. Can you elaborate on that?
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      1   A  Like, definitely anything that comes from the   1   my heavy day, which meaning with being on
      2     Department of Insurance. Deductibles. Any        2   education and Health and Welfare I am in the
      3     insurance that's healthcare insurance, as well   3   same committee room all day. I kind of start
      4     as car insurance, home insurance, property       4   at 9:00 -– I start earlier but I go to
      5     insurance. Anything dealing with insurance.      5   committee between 9:00 and 9:30. I'm usually
      6   Q And do they consider any other types of          6   in the hanker room until it's time to go to the
      7     legislation besides insurance?                   7   floor. So I won't take the chair as much
      8   A Insurance, yeah. And it keeps us busy in the     8   because I'm usually leaving out of education
      9     state of Louisiana.                              9   and going to Health and Welfare or vice versa.
     10   Q Okay. Now you mentioned that there are          10   And by then, I'm probably in the back listening
     11     leadership positions within the Senate          11   –- because we have a room in the back where
     12     Committee. How does one obtain a leadership     12   members can listen. I generally don't have a
     13     position?                                       13   lunch break, so –- yeah.
     14   A It's the same as the House. You put your top    14 Q Okay. So, with your role –- is there anything
     15     committees. You –- sometimes you may ask for a 15    else you do in that role besides take the chair
     16     leadership position, sometimes you may not,     16   if the chairman's unavailable?
     17     but it's the same thing. Ultimately, it's up    17 A And I often don't do that anymore because I
     18     to the president of the Senate to place you on  18   have two committees that day.
     19     committees.                                     19 Q Okay. And now you also mentioned that you were
     20   Q So the president –- let me –- actually let me   20   a former vice chair of the Education Committee.
     21     rephrase that. So, when you request a           21   What were your responsibilities in that role?
     22     committee, you also, in that same process       22 A Senator Fields and I conferred more on the
     23     request whether you want a leadership position? 23   agenda. So, we confer more on the agenda.
     24   A Yes.                                            24   He's independent, but he's a –- he's a –- like
     25   Q And you mentioned –- just to make –- just to    25   all of them, they're gentlemen, but with him
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      1     clarify. You hold a leadership position –- you   1     being in Congress he's a –- he's a gentleman of
      2     used to hold the leadership position in the      2     the Senate. He's going to at least tell you
      3     Education Committee?                             3     his vice chair what's schedule and you'll know
      4   A Right.                                           4     before you get to the meeting.
      5   Q You currently hold one in the Health and         5   Q And he was the chairman?
      6     Welfare Committee?                               6   A Yes.
      7   A Right.                                           7   Q So in the Education Committee compared to the
      8   Q Do you hold any other leadership positions with 8      Health and Welfare Committee, you had a little
      9     any committee?                                   9     bit more of a role as the vice chair?
     10   A The chair. I think I told you I'm chair of the  10   A Right.
     11     Select Committee on Women and Children; so      11   Q Okay.
     12     right now. And some of the Select Committees 12      A And look, it's not an issue with the chairman.
     13     haven't been reappointed.                       13     The truth is, is that when you serve full time
     14   Q Okay. So, as the -– as the vice chair of        14     on finance and joint budget and then you have
     15     Health and Welfare, what are your               15     two committees that day, the chairman, McMath
     16     responsibilities in that role?                  16     is well capable. If he needs my help, he calls
     17   A Actually, with that committee I hadn't dealt    17     me. He's just well capable and the senator was
     18     with much of scheduling bills or anything.      18     well capable, but I had a little bit more time
     19     This chairman is a little bit more independent. 19     my first term because I was an interim member,
     20     We get along well, but he's just a little bit   20     which means I didn't touch finance or joint
     21     more independent. Most chairman, you know,      21     budget in my first term until we were out of
     22     it's their discretion on whether they call      22     session. With this, you're constantly looking
     23     their vice chairman on scheduling bills and     23     at budget bills and looking at bills that may
     24     stuff. If the chairman is not in the chair, I   24     impact the budget. And when you see something
     25     generally take the chair. But because that is   25     referred to committee, you're trying to figure
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      1     out what it -– what it is and how it's going to     1     know, if it's a senior, you just basic give
      2     fit in the budget. So you're –- committee is        2     deference when people come to the –- to the
      3     not the only time you're reviewing bills, you       3     State Capitol to see you.
      4     just -– you would have to go in code. So with       4   Q Okay. And you mentioned you were also a member
      5     that many committees -- and I want to say I go      5     of the Finance and Joint Budget Committee. Are
      6     somewhere else during the day, too. I just          6     the mem -- the duties of the member in that
      7     can't remember because we're out of session.        7     committee --
      8     With that many committees, you are reviewing        8   A The same.
      9     bills until you come into committee. Also,          9   Q –- the same?
     10     because I have such a large district I'm –- I      10         Is there any difference in them?
     11     constantly have constituents in the capital,       11   A A lot more duties –- it's the same duties, it
     12     which I do like to meet with them in there –-      12     takes a lot more time.
     13     if they are in the Capitol. So, your               13   Q Okay. And with the Insurance Committee. Would
     14     schedule's a little bit tighter.                   14     that also be --
     15   Q Okay. You also mentioned that you're just a        15   A Yes.
     16     member of a handful of other committees.           16   Q –- similar duties?
     17   A Uh-huh.                                            17   A The same thing. Uh-huh.
     18   Q I want to start with the Education Committee       18   Q Okay. Are there any committees, within the
     19     now that you're a member there.                    19     Senate, whether you are on them or not, that --
     20   A Right.                                             20   A Uh-huh.
     21   Q What is your scope of authority as a member on     21   Q –- you believe are particularly important?
     22     that committee?                                    22   A All of them are.
     23   A As any other committee member. You get             23   Q Is there one that you think maybe has outsized
     24     testimony and you vote on the bill.                24     importance?
     25   Q Okay. Is there anything else that members are      25   A I don't -– I wouldn't say outsized importance.
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      1     required to do?                                  1   You always know that your bills are going to
      2   A Not that you're required to do, but if you're    2   hit finance if they're over Hundred Thousand
      3     going to be good at what you do for your         3   Dollars. If we can't pay for it, it may be a
      4     constituents, you're going to meet with the      4   good idea that's something we can't afford. So
      5     different interest groups that they requested.   5   we always look to that committee if your bill
      6     You're going to take calls on those bills.       6   is over a Hundred Thousand, you know you're
      7     You're going to take emails on those bills.      7   going to dual-referral.
      8     You're going to step out the meeting because     8 Q Uh-huh. You said, "look to that committee."
      9     education is a -- you know, like any other       9   What did you mean by that?
     10     committee, is important. You have children      10 A To see whether that you can afford it, right?
     11     coming in who want to talk to you, you're going 11   The legislation. And sometimes honestly you
     12     to give deference to them. You're going to get  12   know it's needed, so you push it and hope the
     13     up and go see what that child wants because it  13   funding comes and we will put bills and finance
     14     impacts them whether it's a college student or  14   on the stack. On the stack means, we know we
     15     a K through 12 student.                         15   need to try to get the bill out, right?
     16   Q Okay. You mentioned you give deference when 16       However –- or give it a fair hearing. But you
     17     people come in --                               17   can't give bills a fair hearing before you know
     18   A Right.                                          18   what's really going on with the budget when
     19   Q –- to talk to you. Can you explain why that's   19   they have a fiscal note of A Hundred Thousand
     20     important?                                      20   or more. So what the chairman does is put them
     21   A Because these are your constituents. If         21   on a stack and we hear them after we know
     22     someone comes –- this drive from Monroe is      22   what's going to be in the budget. It's kind of
     23     three-and-a-half hours, right? You know, at     23   unfair to a member to hear their bill and
     24     best for most people. And people have taken     24   reject it because our sole role on nonfinancial
     25     off work. If they're retired, they've -- you    25   bills in the –- in the –- in finance is to see
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      1     whether we can afford that bill. We can't –-         1   in the committee regardless if you didn't ask
      2     we're just -– we're not there to vote on the         2   for it or not. And a subject matter will come
      3     substantive matter of the bill. So, generally,       3   up that almost breaks your heart, so your heart
      4     finance, you put them on the stack until you         4   is tugged on with every committee, right? You
      5     know the overall outlook of the budget.              5   may think, this is going to be more important
      6   Q Okay. So, as a member on the Finance                 6   to my district, but then you get in committee
      7     Committee, sometimes other committees will           7   and it's all important.
      8     consult with you prior to them voting on their       8 Q Would you say that you have areas of
      9     bill?                                                9   legislative work that you have a particular
     10   A No.                                                 10   expertise in?
     11   Q Okay.                                               11 A No. No. I was good at judiciary in the House
     12   A Generally not. Because they –- the general          12   because I am an attorney, right? And I'm
     13     rule is, you do your job as a committee. If it      13   always in the mix of the judiciary. Budget, my
     14     has to come to Finance, we put it on the stack      14   history in the budget comes from when, you
     15     if it comes out of your committee until we know     15   know, you're a student now, right? When I was
     16     the overall look of the budget. It would be         16   19 and 20 -- I think, 20, when I wanted to be
     17     premature for a substantive committee on their      17   nothing but an attorney, would plop down the
     18     bill, on their subject matter to defer to us or     18   budget and say find my projects and I would be
     19     talk to us about it because we don't know what      19   stuck in the conference room for a week and I
     20     the budget looks like. But everybody, you           20   couldn't get free to do law work until I found
     21     know, is talking to members about their bills,      21   his projects. So that is my experience in that
     22     right? Hey, I got a bill coming to your             22   committee.
     23     committee. And generally you tell them, I love      23       In Health and Welfare, I ended up being on
     24     your bill but, you know, if you're on Finance       24   it for eight (8) years in the House so you
     25     it's going to go down to whether we have the        25   become more, you know, acquainted with their
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       1   money. So, committees couldn't flow if they           1     subject matter. Education, I'm a former
       2   waited on Finance Committee. That's why bills         2     teacher, you know, an educator. But when
       3   go on the stack when they come out of committee       3     you've staffed for the House and the Senate, I
       4   –- off the floor –- out of committee.                 4     generally had to produce for the Legislative
       5 Q Are there any committees that for you                 5     Black Caucus as executive director, with the
       6   personally are particularly, like, near and           6     help of our law students through the Clinic at
       7   dear to your heart?                                   7     Southern that were our students when session
       8 A Finance Committee because I have to bring money       8     started. We had to –- you know, they had to
       9   home. I mean, that's –- I have seven (7)              9     rebuild and brief them and we had to put out
      10   parishes. I have probably over fifteen (15)          10     brief for every committee. And I did that for
      11   municipalities are townships in those parishes.      11     five (5) years.
      12   I represent one of the most indigent parts of        12   Q Okay. And I want to shift a little bit to your
      13   the state, The Delta. So of course, you know,        13     –- to your role as --
      14   when you're going to a gym with no air and you       14   A Uh-huh.
      15   know you can't give them money for air               15   Q –- a lawmaker. You talk a lot publicly about
      16   generally because the infrastructure of schools      16     your faith, correct?
      17   are paid by the locals, you try to give them         17   A Yes.
      18   everything, you know, you can so they can free       18   Q How do your religious beliefs inform or affect
      19   up money. I have parishes that have –- two (2)       19     your role as a lawmaker?
      20   parishes that have no recreation centers. We         20   A Greatly. I told my constituents that when I
      21   just funded those. And so, yeah, that                21     ran in 2012. It's not a secret. Your
      22   committee is near and dear to my heart because       22     constituents get to vote for who they want to
      23   it's bringing home to people what they don't         23     represent them based on their values. Some
      24   have, right? But every committee I serve on is       24     districts may feel like those who are pro-
      25   near and dear to my heart. You're going to get       25     second amendment, without any limits, and they
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      1      vote on you because of that. I don't see your          1      have jobs like I do. So, I am just about to
      2      beliefs as anything different than your belief         2      get started with meetings. Because we
      3      on other subject matters. I believe you are            3      generally –- a Select Committee, unless the
      4      up-front to your constituents on who you are           4      rules are suspended, does not hold a meeting
      5      and if they share your same views, they vote           5      during session. So there was nothing -– and
      6      you in.                                                6      it's always something pressing on women and
      7    Q What is your political party?                          7      children, right? And so we'll probably
      8    A I'm a democrat.                                        8      schedule the first meeting for October. I will
      9    Q Would you say that you worked –- you tried to          9      generally go over an overview of the
     10      work across the political aisle?                      10      departments that have an impact, women and
     11    A Yeah. Of course. I mean, you –- I've never            11      children, at that first meeting is my plan. I
     12      understood how party drives everything you do         12      will also ask members is there anything else
     13      or the majority of what you do. I have a 60 -–        13      that needs to be scheduled. If it goes with
     14      then, 60/40 District. I don't even know –- I          14      that general overview, I'll schedule it if it's
     15      think it's 60 something percent now. I                15      something pressing. That's the thing about the
     16      couldn't ignore people because they weren't a         16      Select Committee on Women and Children from
     17      part of my party. Then, you know, you –- yeah,        17      being a member that I've noticed. If we find
     18      you represent the majority of your district but       18      that a jurisdiction is ignoring the cries of
     19      then you don't represent others. So, party            19      women or children, like, I'll give you an
     20      kind of has its place, but not a major place          20      example. We never knew her name but the 15-
     21      for me.                                               21      year-old who had reported to three
     22    Q Why do you think it's important to work across        22      jurisdictions that she was being molested by
     23      the political aisle?                                  23      her step-father. Regardless of our schedules
     24    A I think that everyone has something to add to         24      at that point if that happens, you will get a
     25      the conversation. All members are elected to          25      committee hearing notice and the women of that
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       1     represent their constituents and so you work           1   committee. Because we have women and sometimes
       2     with them and you're not the smartest in the           2   one man and I don't know who serving -– I think
       3     room. If you're the smartest person in the             3   it's all women right now. We will go -– we
       4     room, you –- I was always told you were in the         4   will spring into action. At one time there
       5     wrong room. You may know something about a             5   were, you know, a high number of fentanyl
       6     subject matter and someone else knows something        6   deaths of children. We had had two in a row or
       7     more about it. So working across party lines           7   something and we springed into action. Because
       8     gives you all views.                                   8   we want to know what's going on that a child
       9   Q In addition to your role on committee, do you          9   arrives at the hospital with drugs in his
      10     hold any other leadership roles within the            10   system and he's –- he or she is placed back in
      11     Senate?                                               11   the home. My –- maybe on –- not on one
      12   A Not that I'm aware of. They hadn't told me.           12   incident but when it becomes so egregious that
      13   Q Okay. Okay. And I want to talk just a –- just         13   we feel like the cries of women and children in
      14     briefly about some of the Select Committees you       14   this state are being ignored, those committee
      15     said you were on. You said that you were the          15   meetings become unscheduled. And sometimes you
      16     chair of the Select Committee on Women and            16   may have very heavy committee meetings and
      17     Children?                                             17   sometimes you want. This first meeting is
      18   A Yes.                                                  18   going to be more of an overview unless we find
      19   Q Can you talk about your work on that committee?       19   some pressing matters that need to be
      20   A I -– I've been on the committee on Women and          20   addressed.
      21     Children my last term. And we have not had a          21 Q So that committee you said though, it may be
      22     meeting because we were in a six-month long           22   more frequently than other Select Committees
      23     session. I've been very sensitive to members          23   has a very pressing --
      24     to allow them to get back home and get to their       24 A Sometimes.
      25     work. Most members, if they're not retired,           25 Q –- matter that you have to jump into?
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       1   A   Yes. Uh-huh. And women's health, you know,           1   A  –- we don't perform so-say a fact-finding of a
       2     we've created the committee –- I mean, under           2     Select Committee. We may -- if there is a task
       3     the department we've created under the                 3     force created, we may bring forth a report.
       4     Department of Health the committee for women –-        4   Q Okay. And how are Select Committees formed?
       5     I mean not the committee, the department, you          5   A Select Committees are formed by the president.
       6     know, section for women's health.                      6   Q Does the president also appoint the members?
       7   Q Okay. And you also mentioned that you're a             7   A Yes.
       8     member on the –- on a Select Committee for             8   Q You also mentioned that you serve in either a
       9     state police oversight?                                9     leadership –- you mentioned that you serve on a
      10   A Right. But I –- I'm still waiting to see if           10     committee, I believe, about the Louisiana High
      11     that committee has been reappointed because           11     School Athletic Association?
      12     it's the same committee members on the list           12   A I serve as the Senate member of the Louisiana
      13     from last year.                                       13     High School Athletic Association having no
      14   Q Let me actually back up a little bit.                 14     vote.
      15   A Uh-huh.                                               15   Q Okay. Can you explain that to me?
      16   Q What is the difference -– or excuse me, what is       16   A Different state –- and they are not a state
      17     a Select Committee?                                   17     entity. But different state boards and state
      18   A A Select Committee is a –- is a certain subject       18     entities and some non-state entities have a
      19     matter, like, Health and Welfare deals with           19     member of the Senate and a member of the House
      20     women. Of course, women issues come up in             20     appointed by the president of the Senate and as
      21     education, right? Their access to an                  21     the Speaker of the House.
      22     education, the sexual harassment thing goes -–        22   Q And you said you don't have a voting role --
      23     of women, goes to a certain committee about           23   A No.
      24     education, right? And what happened with all          24   Q –- in that?
      25     of the stuff at the colleges and universities,        25        What are your duties as that member?
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       1     Title IX and all of that. But knowing that             1   A  I can attend members –- meetings as it's –- as
       2     some women and children issues that are in             2     any other member. I can ask questions.
       3     every committee need to be looked at                   3   Q Okay. Is there anything else that you do in
       4     holistically so testimony can be taken in a            4     that role?
       5     interim, that's what that committee is for.            5   A Generally, no.
       6     We, the Select Committee, can not bring forth          6   Q You also mentioned that you serve on some task
       7     legislation. You can bring it as a member, but         7     forces.
       8     legislation does not run through our committee.        8   A Uh-huh.
       9     We don't meet during session. So we can not -–         9   Q What task forces do you serve on?
      10     we can not vote on legislation or rules or            10   A I would have to get you a list of those. Those
      11     anything like that.                                   11     sometimes are plentiful. They haven't really
      12   Q So you mentioned that they can't -– they can't        12     start meeting yet from this session. Task
      13     bring forth legislation out of the Select             13     forces are generally created by legislation for
      14     Committee. Are there any other difference?            14     a certain period of time. Task forces are not
      15   A We can do recommendations and one member may          15     something that you're going to see go on
      16     bring it or all of us may author it if we feel        16     forever unless it's just an issue that can not
      17     strong about it like the Title IX issue.              17     be resolved and we're still taking testimony.
      18   Q Uh-huh.                                               18     So, task force may form, like, I can tell you
      19   A Yeah.                                                 19     one that is not really not a task force but it
      20   Q So it's your duty as a member of this –- of           20     is. Right now I'm heading up –- because I've
      21     these committees to take testimony and perform        21     always -- a task force to look at giving people
      22     some kind of fact-finding on the particular           22     a hand up and not a handout; that's what I
      23     issues --                                             23     consider it as. I created it and it didn't go
      24   A We don't --                                           24     as far under the Jindal adminstra -- I mean,
      25   Q –- at hand?                                           25     under the Jindal or Edwards administration and
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      1     I've asked Landry. I've -- you know, it was      1   Q   Oh, so it can be either?
      2     still in law because I put in statute because    2   A   I believe so. But it's most likely by –- what
      3     it's just that important. I –- my belief is      3     I've seen is by legislation. Because the
      4     that, you know, people think that others are     4     president –- no. Let me back up. The
      5     just on benefits because they want to be. When   5     president can create a Select Committee. Task
      6     I first were hiring in my law firm, one young    6     force are generally by a legislation or by a
      7     lady had one or two kids and I remember back in 7      department.
      8     2011, 2012, right? And –- so this is how these   8   Q Okay. And you mentioned this hand-up
      9     task force form just being straightforward.      9     committee. Are there any other –- or excuse
     10     And she was so happy to get her first job in a  10     me, task --
     11     office and then she had to reject it because    11   A It's not called --
     12     she was going to be cut off of all benefits and 12   Q –- force.
     13     couldn't take care of her children. That        13   A –- that but, you know, that's how I look at.
     14     sparked me to start doing research that first   14   Q That's –-
     15     year and I said, you know, this is an issue.    15   A Uh-huh.
     16     And then when I start talking to other members 16    Q -- okay. So besides that task force, are there
     17     of other business owners they had experienced   17     any others you can think of that you're a
     18     it. So it's a long-haul on that one.            18     member of?
     19          We will start meeting soon and looking at  19   A Not at this moment, but I can get a list to
     20     how we can ask for federal waivers. I've met    20     you.
     21     with former Congressman Abraham who was then 21      Q Okay. And did you say that you were the leader
     22     the Secretary of Department of Health. He's     22     of that committee –- of that task force?
     23     now the Surgeon General. So I think he –- he    23   A I authored the legislation so I'll chair it,
     24     doesn't know who will be assigned to that but   24     yes. And everything that you author, you don't
     25     he thinks he will. The Senate staff is in the   25     chair. That one specifically is chaired by the
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      1     process of, you know, seeing who will be         1     senator for District 34.
      2     assigned. And that one is near and dear to my    2   Q Okay.
      3     heart to figure out whether we need federal      3   A Uh-huh.
      4     waivers. And what I'm hoping it looks like but   4   Q And talking –- one more question about task
      5     you know it changes with input of others. We     5     forces. What would you say that the task force
      6     listed a number of departments to determine how 6      is responsible for?
      7     we can get federal waivers. What can we do to    7   A Some of them don't meet and they just become
      8     matriculate people off of benefits. Because      8     ineffective because, you know, created by
      9     there's a desire to be independent, but the way  9     legislation. Sometimes they bring out
     10     the system is set up, to me, this is my         10     legislative ideas. They may investigate
     11     opinion, it is set up to be perpetual in nature 11     matters within a department. And some may
     12     and people never come off even if you don't     12     prepare a report. It just depends. It's a
     13     think it is. Because if you take a mother with  13     myriad of things that can happen.
     14     two kids off of benefits –- off of benefits     14   Q Investigate in what way?
     15     when she gets a job making Twelve Dollars       15   A Like if there have been inefficiencies in a
     16     ($12.00) an hour, she can't support her and her 16     department, you may bring out recommendations
     17     kids. So how can we kind of make a tiered       17     for legislation or policies that the department
     18     approach to those benefits until people get to  18     can –- if it's in that area, can adopt. Or -–
     19     a liveable wage.                                19     and it's all suggestive. Because this is the
     20   Q Okay. And so you mentioned the task forces are 20      thing, a bill can't become law –- a bill can't
     21     created by legislation?                         21     be heard in that committee and a bill can't
     22   A Mostly, yes.                                    22     become law unless it goes to one of the
     23   Q Okay.                                           23     standing committees during session.
     24   A Or the -- or the –- or the president can create 24   Q But sometimes the task force will bring a bill
     25     one.                                            25     to a committee?
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      1   A  Not the –- you have the entirety of the task   1     A  I right now serve as advisor to the chairman.
      2     force if you get a majority vote, but a member  2       Senate advisor to the chairman.
      3     has to offer that bill. The task force can't    3     Q What are your roles in that? What are your
      4     bring a bill. The task force can only suggest   4       duties, excuse me, in that role?
      5     that this change in law is needed. If a member  5     A To effectuate policies and advocacy for those
      6     doesn't pick it up, that's dead on the vine.    6       who are under served. Not just African
      7   Q Okay. What is your role on the Louisiana        7       Americans, but any underserved community.
      8     Emergency Network?                              8     Q Okay. And that's underserved communities
      9   A I think that's the right one. And I'll          9       across the city?
     10     probably start attending meetings in August or 10     A Yes. Uh-huh. It's made up of members from all
     11     in October. I'm –- I think I'm a non-voting    11       parts of the state.
     12     member of that board. I was appointed by the   12     Q Okay. Would you say that caucus and -– excuse
     13     chairman. I think that board requested me as a 13       me. Let me rephrase that. Would you say that
     14     member. Because I've –- and then I want to     14       the caucus operates as –- or actually, let me
     15     make sure that's the right board because it's  15       back up even further.
     16     too synonymous and we just switched, you know, 16     A Uh-huh.
     17     where we're appointed because it's a new term  17     Q The Black Legislative Caucus, what does that
     18     you know? But it will be just to help them     18       caucus do? What's the goal of that body?
     19     establish whatever they need to establish, to  19     A What I just stated. To serve the underserved
     20     understand better what's needed. Especially,   20       people of the state and to bring more awareness
     21     you know, for those in the 9-1-1 network and   21       to the needs of those who are underserved to
     22     all of that.                                   22       bring more awareness to voter suppression
     23   Q And as a -– so as a non-voting member of that 23        issues. And it changes. You know, when we had
     24     --                                             24       issues with police brutality in this state,
     25   A I think I'm non-voting. I have to check that   25       that's something we shifted to. It's fluent,
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      1     one.                                                1   you know, but the main purpose is to help those
      2   Q Okay. So what would your role be if you're not      2   who are underserved.
      3     a voting member?                                    3 Q Would you say that the caucus operates in the
      4   A I would go to meetings. I would hear from the       4   legislature as an influential voting block?
      5     experts. Hear their needs and –- because I          5 A Under the old legislature. Look, I'm not
      6     believe it's important to make sure emergency       6   making any bones about it. The legislature is
      7     services are available. And I think that's the      7   two-thirds republican now. We don't have a
      8     name of it. Because we have a plethora of           8   black caucus member at the time who was
      9     boards that Senate members are appointed to.        9   republican. I think former Senator Guillory
     10     Like, Louisiana Schools in Math and Science, I     10   was our last one. Influential in that we hold
     11     was a member of that four years ago. So, that      11   some votes, you know, but we are not a majority
     12     board was a non-voting membership, I believe.      12   on any committee. We're not a majority on the
     13     It might have been voting. I have to check.        13   floor. We are in the minority. Do people look
     14     But you just basically are a member of the         14   to us on issues related to African Americans,
     15     Senate who sits on that committee or that board    15   yes, you know, sometimes. Our most important
     16     and bring things back to the Senate.               16   legislation has never been passed, you know.
     17   Q And are you a member of the Black Legislative      17   And all of it is important, but when we look at
     18     Caucus?                                            18   minimum wage, you're seeing a number of voting
     19   A Of course.                                         19   suppression -– what we believe to be voter
     20   Q And were you on that as a Representative and a     20   suppression laws. We have not been able to
     21     Senator?                                           21   block them. We are influential in our in own
     22   A Yes. I think I paid my dues every year I've        22   right. Our members –- our Senate counterparts
     23     been in the House and the Senate.                  23   respect us, but you'll see that at the floor
     24   Q Do you have leadership roles within that           24   constantly.
     25     caucus?                                            25 Q Does the caucus often vote together on issues?
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      1    A   Sometimes.                                           1     entirety of the state and agriculture is a
      2    Q   Can you give an example?                             2     major part of my district. And I will say this
      3    A   If you –- an example. If we're funding urban         3     and I'm going answer every question.
      4      areas, you'll see us vote together, right?             4     Legislatively I'm not a pinpoint type of
      5      Because most minority areas, those are the             5     legislature –- legislator. My loyalty is to
      6      urban areas, right? We vote our individual             6     God and my district and when I can work with
      7      districts on probably more heightened issues.          7     others to get things done, I will. I try to
      8      HPCU Funding is something you're going to see          8     remain sensitive to everyone's issues, but my
      9      us vote in a block on. Funding for people who          9     district is a very diverse district. More
     10      are underserved, you're going to see us vote in       10     diverse than most minority districts in the
     11      a block on. But the caucus understands that           11     state. The needs in my districts are more --
     12      your vote is your district vote.                      12     you know, and some others are more diverse than
     13    Q You mentioned that the black legislative caucus       13     most members in the state.
     14      is a smaller group within the legislature, but        14   Q And the Agriculture Committee, do you hold or
     15      you --                                                15     have you held a --
     16    A Uh-huh.                                               16   A No.
     17    Q -– did you say that other legislators will            17   Q –- leadership position?
     18      sometimes on issues of your expertise look to         18         And is there any –- can you talk about what
     19      that caucus?                                          19     kind of --
     20    A Not expertise. I'm black, I mean, right? I            20   A Not that I can remember.
     21      mean, that's obvious. And so they may ask me          21         MR. HAYES:
     22      how does this impact the black community,             22            Let him finish the question.
     23      right?                                                23         MR. CROW:
     24          MR. HAYES:                                        24            Oh.
     25             You're black?                                  25         WITNESS:
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       1        WITNESS:                                            1            No, I just had to add that.
       2            I'm black. And I attend in the HPCUs,           2        MR. HAYES:
       3        so if they want to know what the HPCU               3            I know.
       4        experience looks like I'm –- I do a lot             4        WITNESS:
       5        with Southern still, Grambling. But I also          5            –- because I'm trying to go through my
       6        do a lot with ULM because I'm graduate of           6        head.
       7        ULM. But if they've never stepped on                7        MR. CROW:
       8        Southern and Grambling's campus, they're            8            It's all right.
       9        going to say what's going on with AG                9        WITNESS:
      10        Center. Because I'm also on the                    10            Uh-huh.
      11        Agriculture. I knew I would think about it         11   BY MR. CROW:
      12        soon. And so, you know, it just depends.           12   Q And the Agriculture Committee, does it -– what
      13   BY MR. CROW:                                            13     kind of bills does it consider?
      14   Q I want to just jump back now that you've              14   A Agriculture bills. Bills related to AG
      15     remembered that last --                               15     schools. Bills related to the agriculture
      16   A Right.                                                16     industry.
      17   Q –- committee. Do you -– how long have you been        17   Q Okay. It also overlaps with schools though,
      18     on the Agriculture Committee?                         18     with agriculture schools you said?
      19   A Probably almost my entire time in the House and       19   A Right.
      20     Senate. Definitely my entire time in the              20   Q Can you explain that?
      21     Senate. AG is very important in my district.          21   A Well, like, if the agriculture schools are
      22     Most, you know, a lot of African Americans            22     starting a new program that has to state-
      23     don't have a lot of agriculture in their              23     approved, that will come forth. They generally
      24     district, I do. Morehouse Parish has the              24     give us a presentation each year. If the
      25     highest amount of farmland probably in the            25     agriculture schools are working with the
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      1     Department of Agriculture on an issue, our         1     about in previous questions, that's district.
      2     bill, it comes up. It all overlaps. AG is the      2     It impacts my district and another member's
      3     number one industry in the state.                  3     districts that's added. And I'm hoping that
      4   Q Okay. And you mentioned agriculture schools.       4     has a statewide impact because it's only a
      5     Can you clarify? Are you speaking of a higher      5     pilot program now. Then, some other
      6     education institution --                           6     legislation has a statewide impact in education
      7   A Right.                                             7     and healthcare. The budget, I pass it every
      8   Q –- or –- okay.                                     8     year, right? I don't sponsor it, but it has a
      9   A Uh-huh. Right now my efforts for this year are     9     statewide impact.
     10     going to turn the focus in AG to try and -- to    10   Q Because of your work in the State Legislature,
     11     put more agriculture elective in –- electives     11     you mentioned that sometimes you're asked to
     12     in schools in my district and in Northeast        12     speak at events?
     13     Louisiana and in all over the -– well, just in    13   A Yes.
     14     Northeast Louisiana, right? Because from what     14   Q On what subjects have you been asked to speak
     15     I have seen, I've seen somewhat of a              15     on?
     16     disinterest of young people in AG.                16   A I'm trying to get them all in my mind.
     17   Q Do you think it's important that young people     17     Education. Healthcare. Judiciary Chair of
     18     take an interest in AG?                           18     Criminal Justice System. Finances of the
     19   A Oh, of course. It's the number one industry in    19     state. A myriad of subjects.
     20     the state. It's a big economic driver even        20   Q I want to zero on –- in on something a little
     21     though people ignore it sometimes.                21     bit more specific. You're seeing in Louisiana,
     22   Q Okay. Shifting back to where we left off. Is      22     as a leader, I would say statewide on issues
     23     there a particular piece of legislation from      23     related to education and family health. Would
     24     the Senate that you're particularly proud of?     24     you agree with that?
     25   A A lot of them. For me? Yeah.                      25   A I'm not sure how all of Louisiana sees me but,
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      1   Q   Yes.                                           1       I guess. If you would have asked me four years
      2   A   I'm serious about the legislation I file like  2       ago, I was seen as a leader of criminal
      3     -– when people say what's your hallmark          3       justice.
      4     legislation, I don't think I have a hallmark     4     Q Going back to the subjects that you're -– or
      5     piece of legislation. My best day in my office   5       your speaking --
      6     if –- and I tell people this a lot. Is if a      6     A Uh-huh.
      7     senior from my district calls in a hundred and   7     Q –- engagements that you have. Are those often
      8     something degree weather and their lights are    8       in your district?
      9     turned off and I call Entergy and go over the    9     A Right now, yes.
     10     rules with them about turning off lights and    10     Q Okay.
     11     that person gets lights and air conditioner     11     A Let me tell you, in the last probably four or
     12     then. My best day is, you know, sometimes when 12        five years, unless it's a Zoom, I've rarely
     13     we have community service events. It's not,     13       taken speaking engagements outside of my
     14     you know –- I can't think of something, it all  14       district just because COVID hit. We're in and
     15     plays a part.                                   15       out of session a lot. There's been a lot of
     16   Q Okay. But regarding your legislation, is there  16       shifts. But I do take speaking engages outside
     17     a particular piece that you're --               17       of my district. I've taken some outside of the
     18   A That's what I'm saying.                         18       state.
     19   Q –- most proud of?                               19     Q What other states have you given speaking
     20   A It all plays a part.                            20       events at?
     21   Q Can you give us an example of legislation that 21      A I think in New York. And you'll ask me and I
     22     you've sponsored in the Senate that has had a   22       wont remember because during COVID, a lot of
     23     statewide effect?                               23       places I may have accepted cancelled; and non-
     24   A A lot of it. A lot of it. I mean, if I talk     24       COVID. Sometimes my law practice allows me,
     25     about the task force right now that I talked    25       you know, is that I cancelled in Washington.
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      1      And I can't remember the others. It may be a           1     you say you're a –- one of the national leaders
      2      couple of others, but I doubt it. Because I            2     on Rights of the Unborn?
      3      started cancelling a lot when I picked up my           3   A Not Rights of the Unborn. Rights from the Womb
      4      Senate district I started not accepting as             4     to the Tomb. I also speak a lot on the death
      5      many speaking engagements outside of the state         5     penalty.
      6      because of the work here. It was Virginia, I           6   Q Okay.
      7      think. And that was when I was in the House.           7   A I am a life advocate. Meaning, I believe in
      8      I believe it was Virginia once when I was in           8     life from the womb to the tomb, which is
      9      the House.                                             9     probably different from –- is different from
     10    Q And when you spoke on this –- and let's start         10     what most consider the pro-life movement to be.
     11      with in Virginia.                                     11     I'm a member of Democrats for Life. Democrats
     12    A Uh-huh.                                               12     for Life deal with a myriad of issues. We also
     13    Q Do you remember what you spoke about in that          13     deal with access to healthcare. We also deal
     14      engagement?                                           14     with whether or not what funding is offered in
     15    A In Virginia, if it was Virginia, it would have        15     the areas of women and children. So, it's kind
     16      been pro-life.                                        16     of a different type of advocacy and I've said
     17    Q Okay.                                                 17     that a lot.
     18    A My stance on being pro-life.                          18   Q Okay. So would you say you're a national
     19    Q And you said --                                       19     leader on life advocacy then?
     20    A I think that's what we did in -- yeah, because        20   A Not national leader. I've not been to
     21      I've got work to do, yeah --                          21     Congress. I don't think I've been to Congress
     22    Q Okay.                                                 22     to speak on it. I've been to Congress once but
     23    A -- in court.                                          23     I think it was maybe on edu -- I can't remember
     24    Q And in New York --                                    24     on what issue. I think it was something else.
     25    A Am I -- am I a pro-life advocate? Yes, I am.          25     Not a national leader. I guess I wouldn't
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       1   Q   Okay. We'll get to that.                             1     consider myself that, but maybe some do. And
       2   A   Okay.                                                2     I'm being very transparent, you know. I hadn't
       3   Q   But in New York, do you remember what you spoke      3     done many speeches on that lately.
       4     about in New York?                                     4   Q Okay. But you have spoken in --
       5   A I think I went once for the black caucus as a          5   A Oh, yes.
       6     leader of black caucus and I went one time for         6   Q –- a number of states?
       7     pro-life.                                              7   A Uh-huh. Yes.
       8   Q And in Washington?                                     8   Q On that issue?
       9   A I've –- I think I've spoken on a panel at the          9   A Right. Only about three including Louisiana.
      10     Congressional Black Caucus, if I recall, and          10     I think three or four.
      11     I've spoken on pro-life issues at the National        11   Q At these events, do you remember who you spoke
      12     Right to Life.                                        12     to or spoke –- gave the speaking event to? Let
      13   Q And had you also given a speaking event in            13     me rephrase.
      14     California?                                           14   A The National Right to Life organization has a
      15   A Oh, yeah. I did.                                      15     major life march, and I spoke there twice. New
      16   Q Okay.                                                 16     York has an organization, and I spoke there.
      17   A I think that was my last time traveling out of        17     Democrats for Life have –- has invited me to
      18     state.                                                18     speak. I forgot where I went to Democrats for
      19   Q Okay.                                                 19     Life because I deal with them a lot just over
      20   A Because I made a vacation out of it afterwards.       20     the phone and stuff. I speak -– I spoke there.
      21   Q Okay. And what –- do you remember what you            21     And I think that's kind of where it is. And in
      22     spoke about at that event?                            22     New Orleans I have spoken. Yeah.
      23   A Pro-life.                                             23   Q Where did you speak in New Orleans?
      24   Q Given that you've been asked to speak on pro-         24   A At the Right to Life banquet --
      25     life issues now throughout the country, would         25   Q And --
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      1   A  -- at a hotel.                                  1    A  Generally, through email. Like I've said,
      2   Q  Okay. And so that was to the Right to Life?     2      through office calls. I'm a stickler on trying
      3   A  Right. Louisiana Right to Life.                 3      to answer emails. Sometimes they may be form
      4   Q  Okay. Why do you choose to speak at events      4      emails but I believe that, you know, when you
      5     outside your district?                           5      email –- now I'm very particular on this. If
      6   A I try to advocate more for what legislation      6      you get disrespectful, you know, I think it's
      7     that I believe in. It's not about whether it's   7      okay to be agreeable without being
      8     in or out of my district, it's basically what I  8      disagreeable. I try not to go into the
      9     believe in.                                      9      personal part of, you know, personal debate
     10   Q As a legislator, is part of your job having     10      towards the person itself. I always stick to
     11     interaction with the public?                    11      the subject matter because that's important.
     12   A Yes, most definitely.                           12      That's to me how you get things resolved.
     13   Q Can you talk about that?                        13    Q Okay. You mentioned that you're very active in
     14   A Kind of what I said before. In my district I'm  14      your responding to emails.
     15     everywhere, right, as much as possible. About   15    A Uh-huh.
     16     three or four years ago -– that's another       16    Q Do you listen to stakeholders on social media?
     17     reason I tapered as much as I speak because I   17    A Sometimes. See this is the –- this is the
     18     began to raise my, now, 15-year-old nephew when 18      funny part about social media. I'm more active
     19     he was 12 and he's been with me three-and-a-    19      on Facebook than anything. My niece says
     20     half years. I got married to a pastor and       20      because I'm older and older people do more
     21     preach –- a pastor and a principal, assistant   21      Facebook, but I try to as much as possible.
     22     principal now in January and so that kind of    22      You will see me on social media tell people if
     23     slowed me down. We lost my stepfather about     23      the debate goes long, please contact my office
     24     two-and-a-half years ago, so giving more        24      because I'm going from committee to committee.
     25     attention to my mother who's a widow. Things    25      The ability to remember to respond to someone
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       1   like that. My niece started college. And I'm         1   on social media is less than the ability to get
       2   very family-oriented, so with my niece starting      2   back to the office and talk to my staff about
       3   college, she's right across street, I give more      3   what emails have come in. And so you see me on
       4   attention to her. And so, a lot of what I do,        4   social media refer people to the office a lot.
       5   I commit to my constituents. When I'm able to        5   Right now on my Facebook page where there's
       6   vail –- avail myself to others, I do. When           6   more activity than anywhere, there is a post
       7   family matters come up, I know I'm still             7   and it's pinned that says, "Please contact our
       8   obligated to my constituents in District 34 so       8   office for legislative matters." And that's
       9   I'll tailor more stuff where I can get home.         9   just because I believe I'm very much more
      10   So now with the life I live, I tailor more          10   responsive on my legislative email and my phone
      11   stuff so that I can get home. That's just the       11   because that's what staff is involved in. And
      12   bottom line. People will tell you, usually my       12   they'll keep a running list of constituent
      13   car is packed because of my business was            13   requests so when I'm back in the office or if
      14   suffering. Just being straightforward. We           14   I'm driving and I say, what do we have, what
      15   were in out of session like crazy. So if they       15   have I not responded to, what's going on,
      16   say we're getting out Wednesday, I would come       16   that's where you're going to get the best
      17   home at 11:00 and 12:00 at night and go sleep,      17   response.
      18   you know, and get up and go to work. The            18 Q Okay. All right. Now I want to talk about
      19   different needs in my lifestyle dictate whether     19   your bills that you sponsor. How do you decide
      20   I avail myself to people outside of the             20   to sponsor a piece of legislation?
      21   district, the best way to put it.                   21 A When they are active, which they are getting
      22 Q Okay. So, do you listen to stakeholders who         22   back active now post-COVID. I have several
      23   have an interest in State Legislative matters?      23   district committees, which is kind of un-
      24 A Yes.                                                24   similar to most senators, right? I have a
      25 Q How do you do that?                                 25   Youth Advisory Committee that's made of people
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       1   -- made up, I think –- we've accepted once a          1   Q   And all those children are from District 34?
       2   couple of seventh graders, but eighth to              2   A   Yes. Or they go to school in District 34.
       3   twelfth grade. But it's limited to on when you        3   Q   Oh, okay. So, you seek input from these
       4   can join because if you're getting ready to           4     special committees that you've set up?
       5   graduate, then honestly, you know, you're             5   A Right. And I'm going back to that. Because
       6   leaving. Some of my youth legislation,                6     COVID kind of stopped it and now –- I didn't
       7   education legislation, I'm probably going to be       7     want to put more on people. They were doing
       8   pounded on that first meeting that's about to         8     Zoom everything, you know, it was -– so, yeah,
       9   happen over the cell phone policy bill. And –-        9     that's where generally –- and I started that
      10   seriously. Like, and then I have the                 10     when I was in District 16 as a House member.
      11   Agriculture Committee that I'm about to start        11   Q Do you seek input from any others on
      12   back meeting with. We just reappointed.              12     legislation?
      13   People applied throughout the district. I have       13   A If someone emails me about something or an
      14   a Healthcare Committee. I have a Economic            14     issue, I'm going to respond. We'll look into
      15   Development Committee. My Senior Committee is        15     it. Sometimes it's sent to staff, you know,
      16   a voice of a lot. Those are my senior citizens       16     tell me about this, is it a real issue. So,
      17   and some non-senior citizens who deal with           17     yeah, that –- yeah.
      18   those issues. And there's one other committee,       18   Q So you get –- you get some input from the
      19   but basically that's where a lot of my               19     public?
      20   legislation comes from.                              20   A Right.
      21 Q So the members of these committee –- the             21   Q Do you seek input from other legislators?
      22   members of these committees are all from people      22   A Not often. If I have an issue that I think
      23   that are within District 34?                         23     impact –- that I think impacts more than my
      24 A Or working within in District 34; that's a           24     district I'll talk to a legislator and say,
      25   requirement. You attend school, you work, or         25     "Have you had this issue"? Sometimes I will,
                                                      Page 90                                                     Page 92

      1     live in District 34. And those committees –-         1     you know?
      2     because like I said, during COVID they kind of       2   Q Okay. You mentioned when we were talking about
      3     slumped. I think we scheduled a meeting and          3     --
      4     people couldn't get there so I'm realizing, I        4   A And then there are special interest groups.
      5     didn't want to, we're going to have to do them       5     I'm sorry to interrupt you. There are special
      6     by Zoom to get them back active. I have seven-       6     interest groups. Sometimes you receive
      7     parish district so I encompass parts of              7     legislative emails from lobbies or a special
      8     Ouachita, parts of Morehouse, parts of               8     interest group and you'll look into that, as
      9     Richland. All of Madison Parish. All of East         9     well.
     10     Carroll Parish. Part –- all of Tensas and a         10   Q You actually beat me to it. That's what I was
     11     small part of Concordia. If you drove here          11     --
     12     from the Baton Rouge kind of way -- basically       12   A Right.
     13     it takes me about –- to get to the furthest         13   Q -- about to ask --
     14     part of my district from where we're sitting        14   A Uh-huh.
     15     now, it takes me about an hour and thirty or        15   Q –- about. So these special interest groups,
     16     forty minutes.                                      16     can you explain how that relationship works
     17   Q And on the education advisory group within --       17     between legislators in those groups?
     18   A Uh-huh.                                             18   A They may catch you in the Capitol. They may
     19   Q –- your district, specifically, you said that's     19     email you. If you're -– if you're talking to
     20     made up of kids from within district?               20     me about legislation, and you're not a
     21   A Huh-uh. The youth advisory council.                 21     constituent, I'm saying, "email the office."
     22   Q Oh, the youth advisory council.                     22     And most of the time I'm telling them to email
     23   A Uh-huh.                                             23     the office or call the office because you can't
     24   Q That's made up between --                           24     keep track of everything, right? So you try to
     25   A Right.                                              25     involve your staff in mostly everything.
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      1   Because I've found in my years of experience              1     send you language. Now, who are more prone to
      2   that you'll forget to file something that                 2     change language on is interest groups. Only
      3   you've committed to. So my office keeps, you              3     because it's not coming from a direct
      4   know, sometimes –- when I have a great staff              4     constituent. So I may agree with part of it, I
      5   like I do now, they'll keep a running list of             5     may reject it, or I may say I'm going to file
      6   bills I want to file, which we haven't started            6     it, but you're probably not going to like how
      7   on this year. And then I'll go look at them               7     it looks. You can find another author. Or if
      8   and narrow them down because in odd years you             8     I -– and then I still have the right to file
      9   only get five (5) general bills before pre-               9     it, right, in the way I want. And sometimes
     10   filing –- well, five general bills, I think,             10     when it is -– when it's introduced I let them
     11   period. So sometimes in odd years –- well, in            11     go through it and we fight and I say find you
     12   odd years you're limited on what you can file.           12     another author.
     13   So there's a more of narrow vetting process.             13   Q Okay. So just to clarify. So sometimes
     14   If I feel compassionate about something, you             14     organizations will assist you in the drafting
     15   said, do you talk to another member, I'm like,           15     and you'll make edits?
     16   do you have a bill, can you file this, you               16   A Not in the drafting. Staff drafts. They may
     17   know, this is a pressing issue if I run out of           17     send you suggestive drafting –- departments may
     18   bills. But, yeah, it's the same kind of                  18     send you suggestive drafting. At the end of
     19   process. I do reject legislation, right? Yes.            19     the day, what the member files is based on them
     20 Q Okay. I want to back up to one of the last               20     because your name is on it. So you may go back
     21   things you said in that statement. You said              21     and forth with your staff several times on
     22   that sometimes if you are at your limit --               22     legislation.
     23 A Uh-huh.                                                  23   Q Okay.
     24 Q –- on bills you can file, you will sometimes             24   A And sometimes you're late and we're working
     25   reach out to other legislators --                        25     before we get there and I'll tell a staff file
                                                         Page 94                                                   Page 96

       1   A   Uh-huh.                                              1   it, I'll correct it when I get there. I've
       2   Q   –- to see if they have room?                         2   filed bills with anticipated amendments because
       3   A   Right.                                               3   I didn't have time or the staffers working –-
       4   Q   Can you talk about how that works?                   4   you know, there's a –- thirty-nine (39) members
       5   A   Usually, you call them. If you can't get them,       5   in the Senate. And people are filing bills so
       6     you email them. But most of it is calling.             6   at the last minute sometimes a member will say,
       7     Legislators reach out to me and say, "Katrina,         7   "Draft this, but remember I want this
       8     if you're not opposed to this bill, can you            8   amendment." Because you don't have time for it
       9     carry it"? We do the same. That's in odd               9   now, we're meeting a deadline.
      10     number of years when you have limited bills.          10 Q How do you seek input on legislation you
      11   Q Okay. Now, talking about the bills themselves.        11   sponsor?
      12     Where do you get the language for your bills?         12 A We have a great email database I believe of
      13   A The staff probably doesn't like me on this, I'm       13   constituents and so we send it out that way.
      14     a former drafter. So sometimes I go too in            14   We send it out via social media. Because some
      15     detail with language. I'm being honest. And           15   people are -– some people in District 34 are
      16     sometimes I just call a staff and say this is         16   just social media people, right? And just
      17     the issue I'm trying to fix, draft me                 17   talking out in the community when I go to the
      18     something. So it's –- it's just -– it varies          18   Council on Aging. When I go to the schools and
      19     --                                                    19   all of that; myriad of ways.
      20   Q Okay.                                                 20 Q Okay.
      21   A –- you know? And sometimes a constituent would        21        WITNESS:
      22     send you legit language and you will have the         22            Tommy, if you're cutting this air down
      23     staff to tweak it if you agree with it. I'll          23        --
      24     cross it out sometimes or the staff -- it goes        24        MR. HAYES:
      25     to staff as is. Sometimes interest groups will        25            That's what I'm –-
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       1       WITNESS:                                        1   some of our constituents on it"?
       2          You about to lose me.                        2 Q Okay. Do you ever work –- do you ever solicit
       3       MR. HAYES:                                      3   the thoughts of outside organizations?
       4          -- are you cold or you're hot?               4 A I can say like –- I think it was –- who has the
       5       WITNESS:                                        5   pharmacy school? Tulane in New Orleans or
       6          I'm nice now. But go on get --               6   Loyola?
       7       MR. HAYES:                                      7       MS. SCHWARTZMANN:
       8          You're nice?                                 8           Xavier.
       9       WITNESS:                                        9 A Xavier. So Xavier students came down I thought
      10          Well, go on get your air right.             10   they were ULM students and remember I gave you
      11       MR. HAYES:                                     11   that instance, and I went out and they told me
      12          Well, no, no. I can put –- I can –-         12   about a pharmaceutical issue why they weren't
      13       and --                                         13   going to stay in the state of Louisiana. I
      14       WITNESS:                                       14   filed the bill. The Pharmacist Association
      15          I'm nice.                                   15   came interested in it. And so at that point --
      16       MR. HAYES:                                     16   because I know they speak for the small
      17          –- go off. We can put this off the          17   pharmacies around the state, Louisiana Small
      18       record.                                        18   Pharmacy Association. So like this session I
      19            (OFF THE RECORD)                          19   would –- if somebody said I need you to add
      20       COURT REPORTER:                                20   this and I knew a lot about the bill, but not
      21          We're back on the record.                   21   enough to know how that was going to impact a
      22 EXAMINATION CONTINUED BY MR. CROW:                   22   bill, I would go to the appointed lobbyist for
      23 Q All right. So, Senator Jackson, now I want to      23   the Pharmacy Association and say, "How is this
      24   talk to you about your voting on legislation.      24   amendment going to impact what we're trying to
      25 A Okay.                                              25   do"?
                                                    Page 98                                                   Page 100

      1   Q   Do you seek input on how to vote on pending    1    BY MR. CROW:
      2     legislation?                                     2    Q So you do discuss --
      3   A From my constituents sometimes, yes.             3    A And staff. Staff. Let me say that because
      4   Q Who else do you ask for input?                   4      staff is your first stop shop.
      5   A Members that share my views on a certain         5    Q Got you. So you do occasionally consult with
      6     subject matter. Sometimes, you know, you'll      6      lobbyist and outside --
      7     say, you know, "What's going on with this bill?  7    A Right.
      8     How did it come out at committee"? You know,     8    Q –- organizations?
      9     did –- was it, I don't have time to look at the  9    A Uh-huh.
     10     committee because I'm in committee a lot, so    10    Q Are there any that come to mind outside of the
     11     I'm saying, you know, who testified on this     11      pharmacist?
     12     bill, was there a large number of constituents. 12    A Pharmacy Association. The sheriffs. The
     13     I'll ask, should I go back and watch the        13      district attorneys. The advocacy group vote.
     14     committee if I didn't see the committee.        14      The advocacy group. I can not remember their
     15   Q Okay. And when you say members, you mean 15             name, but Mr. Chico has a advocacy group on
     16     members of the legislature?                     16      those who are formerly incarcerated. The
     17   A Yes. And constituents.                          17      yellow shirts, that's what they've become known
     18   Q Okay.                                           18      as. The advocates with disabilities. The
     19   A I go back through my email like when I sit down 19      Right to Life. Teachers Associations. Do you
     20     if it's a –- you know that some bills are going 20      want me to keep going because it's a lot of
     21     to have more of an impact than others, right?   21      them? Okay.
     22     So you'll go search for that bill number to see 22    Q And so why do you choose to work with these --
     23     or that subject matter to see. Or I'll call my  23    A Because --
     24     staff real quick and say, "Hey, I got this bill 24    Q –- organizations?
     25     coming up, it's on this, have you heard from    25    A –- they represent constituents.
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       1   Q   Okay. And are these organizations, they're         1   A   Because I need their vote. Yeah. Trying to
       2     statewide?                                           2     get it out of committee. Trying to get it off
       3   A Some are statewide, some are more local in           3     the floor.
       4     nature.                                              4   Q Are there any others?
       5   Q Okay.                                                5   A No.
       6   A My Monroe Chamber of Commerce, local in nature.      6   Q Do you try to keep the public informed about
       7     Or, you know, Chamber of Commerce, most              7     current legislation?
       8     parishes have them. Teachers Association has a       8   A Yes.
       9     statewide organization. I'm more concerned           9   Q Why do you do that?
      10     because of the way education has kind of            10   A I think a public has –- the public has a right
      11     shifted in the state that I talk to my locals       11     to know, especially my district, what I'm doing
      12     on how it's going to impact them. I'm going to      12     in Baton Rouge. So, like I said, our email
      13     talk to my most local sheriffs before I talk to     13     database is vast. And if it's a teacher's bill
      14     the Sheriff's Association because we're in a        14     I may email my teacher's database. I may text
      15     rural area in most parts. So you want to know       15     the superintendents in my district and say,
      16     how is this going to impact rural sheriffs.         16     hey, this is what's going on, tell me how this
      17     What you will find is that you talk to the          17     is going to impact us; so, various ways.
      18     statewide organizations but I talk more at          18   Q Are there any other ways that you try and keep
      19     home. How is this going to impact us? Because       19     the public informed?
      20     the districts are so different. Louisiana is        20   A Sometimes I may post something about a bill.
      21     so vast in how its populated.                       21     I'm more active on Facebook, so sometimes I may
      22   Q So you –- just to make sure that I'm                22     post something about a bill.
      23     understanding this correctly. You like to -–        23   Q Have you ever post about a bill on Twitter?
      24     if there is a local –- a local group --             24   A Oh, yes. Uh-huh. Sometimes I forget I have
      25   A Uh-huh.                                             25     Twitter.
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      1    Q   –- you like to talk to them first before than  1 Q Do you seek input from members of the public
      2      talking to the state --                          2   prior to voting on legislation?
      3    A If I'm approached by a state group, you know,    3 A Sometimes. If I haven't had enough public
      4      I'm going to call my local group.                4   input and I think it's going to have a major
      5    Q Would you say –- is it common for legislators    5   impact in my district, I'm going to seek input.
      6      to talk to one another before voting a vote on   6 Q How are --
      7      a bill?                                          7 A I remember when I was in the House and then the
      8    A Sometimes, yes.                                  8   first time a nurse practitioner bill came up.
      9    Q Do you ever consult with other legislators       9   And I had never taken a position on the
     10      prior to voting on a bill?                      10   physician/nurse practitioner whether they did
     11    A Yes. Legislators may ask me for amendments. I 11     collaborative agreement. I remember that one
     12      may ask them for an amendment on a bill. If     12   because me and one of my best friends kind of
     13      I'm kind of on the fence and feel like an       13   were at odds on it after I saw the input.
     14      amendment would clear that up, I'll ask for,    14   That's why some things stick out because of
     15      you know, an amendment on the bill. If I'm not 15    what –- how will the impact affects you when
     16      well-versed in the area and a legislator is     16   you leave the legislative process.
     17      carrying a bill, I want to consider all         17 Q And so when you seek this input, how do you ask
     18      legislation. Especially if it's a piece of      18   for this input?
     19      local legislation that relates to that member's 19 A Via email. Via phone calls. Sometimes by
     20      district and I don't understand it. I'm going   20   posting on social media. Sometimes I'll walk
     21      to go to this member and talk about how it      21   out the room and ask for someone to step out
     22      impacts their district, what it does to the     22   because I'm trying to figure out how the next
     23      rest of the state, and talk to them, as well.   23   bill –- especially if they're under the three-
     24    Q Are there any other reasons you may ask another 24   minute rule and they've been —- or five-minute
     25      legislator for their opinion on a bill?         25   rule and they've been limited to testimony and
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      1      I want to get more of an input on what they      1          On legislation if they're getting four hundred
      2      said. It's just various ways. There's –- you     2          calls a day they may have to, you know –- which
      3      –- I'm telling you, I can't even pinpoint        3          they don't. Like, fifty calls a day and
      4      myself. I am so pressed before I vote on a       4          they're still working through bills, they're
      5      bill that's going to impact this district. I'm   5          not going to answer and say, "Are you in
      6      pressed to find out everything I can. Staff.     6          District 34"? Right.
      7      Most of the time I'll have a staffer come down.  7        Q Okay. And I want to make sure that I heard
      8    Q So -- in talking about how people will give or   8          this right. Can you explain –- you talked
      9      how you'll ask for this input, do people call    9          about what happens when people disrespect your
     10      your office to discuss legislation?             10          staffers on the phone?
     11    A They do.                                        11        A Uh-huh.
     12    Q Can you tell us how your office handles these   12        Q And that you will then call them back?
     13      calls?                                          13        A I will try if I'm not busy. Some days I'm
     14    A If they're doing what they're supposed to do,   14          stuck in committee and I'll just tell my staff,
     15      which most of the time they will -- I've had a  15          "Listen, just be kind and get through the
     16      shift in staff. My -– the person who trained    16          call." I've only had a few times where staff
     17      me retired. She came over as a legislative      17          was, like, I can't get through this call. I
     18      assistant from training me. That was a better   18          just, you know, I couldn't get through the
     19      flow because we had worked together since I was 19          call. I asked them to call back when you were
     20      19 or 20. They'll send me an email. If there    20          here. That's only a few times. Most of the
     21      are vast calls, they may say, you've had a      21          time my staff has learned how to de-escalate a
     22      hundred calls on this bill to vote no, you've   22          call.
     23      had a hundred calls on this bill to vote yes.   23        Q Uh-huh.
     24      My next question sometimes -– and you could –- 24         A And get the message that the person wants to
     25      you know, is how –- who was it from my          25          get to me. We've gone through de-escalation
                                                       Page 106                                                  Page 108

       1     district, let's narrow it down to the district,       1     tactics of constituents, right? How do you get
       2     you know? Sometimes they'll say this person           2     to the meat of what they want to say without
       3     called irate. I'm like this in my legislative         3     disrespecting a constituent. That's very
       4     office and my legal office, I want irate calls.       4     important. One call was a threat on my life.
       5     I want to see what's going on. Now, if you've         5     I tell them to get off the phone immediately
       6     disrespected my staff, I'm probably going to          6     and call the police. End that call, call the
       7     call you if I can. If you pick up –- if I pick        7     police if there ever -– if there's ever a
       8     up the phone and you start just berating              8     threat on life.
       9     personally, I'll say, look, when you calm down        9   Q Okay. So generally your practice is the public
      10     call me back. Most of the time in session            10     will give whatever information they would like
      11     you're not going to get through all your calls,      11     to give --
      12     so I'll send a form response to my staffer. If       12   A Uh-huh.
      13     it's in my district, I'm going to try to call        13   Q –- to you over the phone --
      14     you unless it's a hundred, two hundred calls         14   A Right.
      15     from my district. I tell my staff to take            15   Q –- to a staffer and the staffer will then give
      16     emails so that we can email all of them              16     that information to you?
      17     something back.                                      17   A Right. And if I'm able to answer by not
      18   Q How are you able to determine whether someone's      18     calling the person back, I'll give the staff –-
      19     calling for –- from your district?                   19     I give the staff a message. If it's something
      20   A They generally ask for their address.                20     where I'm, like, oh, I got to call this person
      21   Q Okay.                                                21     back, I don't understand. Sometimes I'll tell
      22   A Uh-huh.                                              22     the staffer, I don't think you –- you'll see an
      23   Q Is that on every call?                               23     email, you didn't get enough information, I
      24   A Most of them. That's a part of procedure.            24     need more information, remember the who, what,
      25     Especially because like constituent requests.        25     when, and where, I can't answer this question.
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      1   If I have time. With session -– this is the           1     that --
      2   part about session, you're not able to step out       2   A   Uh-huh.
      3   and talk all the time because you're listening        3   Q   –- you will then call that person back?
      4   to testimony. So you'll say, you know, they'll        4   A   If I have time.
      5   call you or text you and you'll be like, get          5   Q   If you have time.
      6   some more information, I don't know which bill        6   A   Sometimes you don't get to check your emails
      7   they're talking about, you know? Constituents         7     until the end of the day, you know, and it's
      8   generally will not know the bill number, so –-        8     just what it is, right? And sometimes you
      9   and sometimes they will. So we're -– the staff        9     check them during the day or your staff texts
     10   is back and forth with constituents or I'll say      10     you with an emergency call. Generally, on bill
     11   call this staffer for this committee and see         11     calls, those are not considered emergency
     12   what bill that they could possibly be talking        12     calls. Emergency calls during session are
     13   about.                                               13     reserved for constituents who have emergency
     14 Q How does your staff keep notes on who calls?         14     issues.
     15 A Generally, they'll email me. If it's a lot,          15   Q Okay. So we talked about your office receiving
     16   lot of constituents –- sometimes when a bill -–      16     calls. Does your office, you said, receives a
     17   like the teacher's pay raise. Sometimes I'm          17     lot of emails about proposed legislation from
     18   like, just take their name and their email           18     the public?
     19   address and when we get an answer to it we'll        19   A Sometimes. Sometimes we'll have a week where
     20   keep them updated. If it's a criminal justice        20     we don't receive anything, and sometimes it
     21   –- when we did criminal justice reform. Take         21     floods and then you get all of these. We also
     22   their name and email and as bills go through         22     get automatic emails. So the procedure when
     23   the process we'll try to inform them.                23     you get more than ten emails or more than a
     24 Q So on every call it's your procedure to ask for      24     hundred emails, more than fifty, whatever it
     25   an email address?                                    25     is, you create a folder for that legislation or
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      1   A   Not on every. If it's like we're getting two      1   that subject matter and we do a rule in our
      2     or three hundred calls and if the staff has         2   office that everything goes to that. So that's
      3     time. See, all this lever on this –- because        3   really how we started doing it. I forgot about
      4     when we're in session, remember that we still       4   that. Where when I have an answer to it, they
      5     have constituent requests coming in that are        5   can go into that folder and do a rule to send
      6     pressing. I didn't get my stack -- tax refund.      6   my reply I type out. Send it to them or give
      7     My license is about to be revoked for this, can     7   it to them over the phone and everyone will get
      8     you call the department. So they're weighing        8   that reply. That's how we really –- with the
      9     things. So you have to know, you know, the          9   amount of legislation that's being passed,
     10     weight of -– you know, and I tell them, listen,    10   that's how we've really come to replying. Is
     11     if you don't get to it all, you have to tell       11   that, you know, they'll run a rule from March
     12     me. But it's weighed. It's a different             12   9th –- because subject matters are each year.
     13     procedure based on what we're dealing with that    13   Some of them are recurring. If the session
     14     day when session starts. You're trying to          14   started March 13th, they may run a rule and say
     15     serve all hundred and twenty something, thirty     15   move all bill, you know, move all emails on
     16     something thousand constituents while still        16   this subject matter or this bill to this
     17     getting through voting on bills.                   17   folder. And so if I can get back to it if
     18   Q Okay. And just to clarify. So typically it's       18   something major happens with the legislation
     19     your staff that's going to be taking these         19   when they leave at night, they can set up to
     20     calls and facilitating these requests --           20   run emails to those folders to give people form
     21   A Right.                                             21   responses.
     22   Q -– to you?                                         22 Q And so that's –- that system is used when you
     23   A Uh-huh.                                            23   get a lot of emails --
     24   Q But if someone's particularly disrespectful to     24 A Right.
     25     your staff to a level of which they can't do       25 Q –- on a particular subject?
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      1   A   Yes. No way I can return a hundred calls in a     1   A  Uh-huh.
      2     day and still do legislative work.                  2   Q  How many staffers do you have –- or how many
      3   Q What email addresses do you use to get input        3     people are on your legislative staff?
      4     from the public about proposed legislation?         4   A One (1).
      5   A jacksonk@legis, L-E-G-I-S, .la.gov. That's my       5   Q Just one?
      6     official district office email.                     6   A Now you understand why we're a system. One.
      7   Q Okay. Do you get any to any other emails?           7   Q Okay.
      8   A I'm not supposed to. Sometimes people will get      8   A Now, I have –- no, I have two (2). I have a
      9     confused and if they have my law office email       9     part timer. But the thing is, is with the
     10     they'll send it. The staff immediately sends a     10     legislature you only get one staffer. You only
     11     reply to send it back to the correct –- please     11     get one income. Your full-time legislative
     12     contact this email.                                12     assistant is said to be the person that
     13   Q Do you personally see each email?                  13     receives sixty percent (60%) of the income.
     14   A I would like to say I do but, no. There's no       14     And I think legislative staffers, even with my
     15     way you can. If I get one call on a bill I'm       15     sixteen (16) years in service, make about
     16     likely to see that email. And one email on a       16     Thirty-Nine Thousand (39,000). That sums it up
     17     bill I'm likely to see that email. But what we     17     for you. Right.
     18     do do is this, once we send a form answer, if      18   Q Okay. And so this one -– you said you have one
     19     it's a thanks, they may not send it. But if        19     full-time staffer and --
     20     someone has further questions, out of the          20   A Uh-huh.
     21     hundred you sent it to, two may have further       21   Q –- one part time?
     22     questions. You try to get to them but if it's      22   A Probably work about five (5) –- maybe about ten
     23     day where I'm in Health and Welfare and            23     (10) hours a month.
     24     Education.                                         24   Q Oh.
     25   Q So, you said you're probably not able to           25   A That's how part time it is.
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      1     personally see every email?                         1   Q  Okay.
      2   A Uh-huh.                                             2   A  And I have staff in Baton Rouge. But staff in
      3   Q Do you strive to?                                   3     Baton Rouge is considered your Capitol staff
      4   A I try to, yeah. But it's just not humanly           4     and they can not deal with -- you know, they
      5     possible.                                           5     can not deal –- they can take your messages,
      6   Q Do you respond to emails?                           6     they can do all that. They can't deal with,
      7   A If I have a little time at night I may login to     7     you know, sending, you know, messages back all
      8     my staff email and respond to make it easier on     8     the time. And I get a Senate aide during
      9     them. I know what they're going through during      9     session. That Senate aide generally does not
     10     the day. I used to work in the district office     10     have an email because they're not given a state
     11     part time and I used to be a legislative –-        11     email. That's generally a student worker.
     12     Executive Director of Legislative Black Caucus.    12   Q Okay. First, I want to talk about your one
     13     So sometimes I'll, you know, will go in and        13     full-time --
     14     assist my staff.                                   14   A Uh-huh.
     15   Q But your staff is who will often respond to        15   Q -– staffer. Who is that person?
     16     these emails?                                      16   A Theresa Tran.
     17   A Right. But I have responded over the phone         17   Q And what is her job description?
     18     with them. So my staff does not send a form        18   A You –- best found on whatever the Human
     19     answer I hadn't given them or a response I         19     Resource documents are. They work at the will
     20     haven't given them. What you will see from my      20     of the legislature. I know that we set their
     21     staff is they'll say, thank you, we've received    21     hours and it's anything in the legislative
     22     your email, we're forwarding it to Senator         22     office, as well as, community events for me.
     23     Jackson.                                           23     And I try to attend most of my community
     24   Q You've mentioned a couple of times about your      24     events. My staff generally doesn't work after-
     25     legislative staff.                                 25     hours unless I have to when I'm in session.
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       1     And they have to while I'm in session.               1   Q   Okay.
       2   Q   And you've mentioned that Theresa, your            2   A   They're not going to answer our personal
       3     legislative staffer, she's –- is it a woman?         3     emails.
       4     I'm sorry.                                           4   Q Okay. So we've talked about you receive calls
       5   A Yes, she is.                                         5     and emails from the public. How else do you
       6   Q Yes. She is going to be the one who when you         6     hear from the public about proposed
       7     send a form response, she's the one who's            7     legislation?
       8     sending those back out --                            8   A If they're in the Capitol they may talk to me.
       9   A Right.                                               9   Q Just run into you in the Capitol?
      10   Q –- to constituents?                                 10   A Right. Or they're in committee and –- or
      11   A Uh-huh. And even a non-form response.               11     you're on the floor and they send a note saying
      12   Q Okay. But she's the one who's going to be           12     can I talk to you.
      13     answering the phone and answering the --            13   Q Are there any other ways that you can think of
      14   A Right.                                              14     that the public reaches --
      15   Q –- emails --                                        15   A Every once in --
      16   A Uh-huh.                                             16   Q –- out to you?
      17   Q –- on your behalf, which –-                         17   A –- a while social media. Mostly on Facebook.
      18   A And sometimes when I answer the phone when I'm      18     Most of my stuff is centered around Facebook.
      19     here, people are shocked. They're like, this        19   Q So you do use social media to engage with the
      20     is you, you know, go ahead with -– you know?        20     public on some proposed legislation?
      21     You know?                                           21   A Uh-huh. Not now. Its become too weighted.
      22   Q Okay. And you also said that you have one           22     What I generally do is I may post something.
      23     part-time staffer; who is that?                     23     If they comment, I may comment. Most of the
      24   A Right now that's Sharon Duncan. She doesn't         24     time if someone inboxes me I send them that
      25     touch emails. She doesn't answer the phone.         25     graphic that says please contact our
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      1      She just helps with, you know, things.               1     legislative office.
      2    Q What kind of things?                                 2   Q Okay. So how do you –- how do you interact
      3    A Sometimes a community event every once in a          3     with people –- or how do you engage with the
      4      while, but I don't generally pull them for a         4     public on proposed legislation on social media?
      5      community event. She will proof some of my           5   A I may put my legislation and I also put little
      6      letters. She's good at proofing.                     6     designs of, this just passed or this is coming
      7    Q Is there anything else you can think of that         7     up in committee. Some of the times it's not
      8      she does?                                            8     even my legislation, it's just an important
      9    A No.                                                  9     issue. Budget hearings, I may say please
     10    Q And then you also mentioned you have Capitol        10     watch, we're about to receive testimony on
     11      staff. How many Capitol staff members do you        11     this. Not more of an engagement, a more of
     12      have?                                               12     notifying.
     13    A Capitol staff is a little different. If you're      13   Q And what social media platforms do you use to
     14      not a chairman, there's one administrative          14     engage with the public?
     15      person assigned to –- I forgot how many             15   A Mostly like Instagram, Facebook, and sometimes
     16      members. Right? So you have that person, but        16     Twitter. I know this is going to sound bad and
     17      you share them with other senators. You get a       17     I know Twitter's changed name is X. I usually
     18      Senate aide that comes to the Capitol with you      18     sometimes for days forget I have Twitter. I
     19      only during session. They're not set to any         19     have a official Senate Facebook page, that's
     20      hours. I think it's fifty something dollars a       20     why I'm more apt to be on Facebook. I have a
     21      day. It's mostly a student worker or a law          21     official -– I have my personal page and then I
     22      student, something like that. That's it. And        22     have an official state senator Facebook page.
     23      the Senate staff works for all senators, so the     23   Q Okay. Have you ever asked users on social
     24      drafting staff, the attorneys, they work for        24     media for their thoughts on legislation?
     25      everyone.                                           25   A When I had time in the House I always did, but
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      1     now in the Senate, not as much. I will –- I         1   A   Not because they –- it voiced displeasure.
      2     will post something to make them aware of it        2     You're going to have displeasure over your
      3     more now than anything.                             3     bills. Because I found out information through
      4   Q Okay. So just to make sure that I'm –- just to      4     their advocacy that let me know this was not a
      5     clarify. So, you don't do it as much as you         5     bill that should have been filed or it's not
      6     used to?                                            6     good for the State of Louisiana. I have to get
      7   A Not at all. Since I've been in the Senate I         7     to a point where I realize it's not good for
      8     don't do as much as I used to. Most of the          8     the District 34 or the state or it's going to
      9     time it's for notification. When I was in the       9     have a, you know, some impact that I did not
     10     House I had a little bit more freedom to say,      10     intend for it to. Now, sometimes I still roll
     11     what do you think about this. I only had two       11     with it because it's needed, but those are
     12     parishes. Now –- and I probably do it              12     generally the issues where I'll withdraw a bill
     13     sometimes, but most of the time it's               13     from the files. Or sometimes I withdraw a bill
     14     notifications.                                     14     from the files because it's going through the
     15   Q And you also mentioned that at least part of       15     process and you realize its already been taken
     16     the reason for that is it's a function of time?    16     care of. Or the department meets with you and
     17   A Uh-huh. It's a function of time and –- there's     17     say this is going to be taken care of, then
     18     so many fake accounts on social media that you     18     I'll withdraw it.
     19     never really know who you're talking to. You       19   Q But you have withdrawn a bill after public
     20     –- viruses that pop up on social media, things     20     comment given you more context?
     21     you open, so, yeah.                                21   A More context, yes. Uh-huh.
     22   Q When you have solicited social media users for     22   Q Do you remember when that was?
     23     their thoughts on legislations, do you remember    23   A I don't.
     24     any specific instances of what you asked?          24   Q You're not able to recall a specific bill?
     25   A It would have most likely been in the House.       25   A No.
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      1     That's why I remember some incidents because it     1   Q   Have you ever amended a bill because of
      2     got more hits than others.                          2     feedback from the public?
      3   Q Is there anything you can recall?                   3   A Yes.
      4   A The nurse practitioner bill that I stated.          4   Q Do you remember a specific instance?
      5     Especially when we were going through the           5   A No. That can happen at any given time.
      6     select committee on state police oversight.         6     Amendments fly all the time. Sometimes it's
      7     That would have been one. When we're going          7     just me deeply reading a subject matter,
      8     through the budget, would have been another         8     reading a new case that came out, something
      9     one. That I want them to watch the budget           9     like that. So it's a myriad of issues why I
     10     hearings in my district and understand what's      10     would do amendments to get a bill out of
     11     going on.                                          11     committee because of committee member's input.
     12   Q Do you try and incorporate the public input you    12     Yeah.
     13     receive into your positions in the legislature?    13   Q But you -- have you sometimes –- let me
     14   A My district more than anything.                    14     rephrase that. Have you ever amended a bill
     15   Q But you try to incorporate the public's input      15     because of, like, public feedback?
     16     into your positions?                               16   A Yes. If it's like –- I remember and I don't
     17   A My district, yes.                                  17     know what bill it was. I remember –- I amend
     18   Q How do you do that? Can you give us some           18     other members' bills. Like if the advocates
     19     examples?                                          19     for disability come in here and say, this is
     20   A What we've talked about. Email. And my             20     the impact it's going to have, did you realize
     21     advisory council. Things like that. Before         21     you were doing this education bill but it's
     22     session we try to do little session tours, meet    22     going to do A, B, C, D, yeah.
     23     with people, things like that, in the district.    23   Q Have you ever solicited bills or legislation
     24   Q Have you ever withdrawn a bill because the         24     ideas from Twitter specifically?
     25     public voiced displeasure over it?                 25   A I don't recall. I really don't.
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      1   Q   You don't recall whether you've done this?     1     Q  Okay. But that would be for the aide when you
      2   A   No. I don't. I know I've posted notifications  2       do have it --
      3     about bills and stuff like that. I just –- I     3     A Yes.
      4     can't tell you which means I would have used to  4     Q -- is that what you said?
      5     solicit bill ideas. Now, what I do know is       5     A Uh-huh.
      6     that I probably posted legislative session is    6     Q Okay.
      7     starting with my contact information on all      7     A Uh-huh. And the aide only works during
      8     social media accounts. Yeah.                     8       session. I did have a legislative assistant in
      9   Q Do you know if other lawmakers use Twitter?      9       the rural area at one time that was more
     10   A I'm not as familiar with Twitter. This case is  10       active. She had a computer but she did not
     11     making me have to become familiar with it.      11       have –- she had that laptop and that's why I
     12     I've just never been as familiar with Twitter.  12       think it's turned in. And she had a –- she
     13   Q But do you know if other legislators use their  13       wasn't given a state email so she couldn't
     14     Twitter?                                        14       access our state emails.
     15   A Sometimes I know they –- I don't know how they 15      Q But the laptop was provided by the state?
     16     use it, but sometimes I know when a bill comes 16      A Right.
     17     up I'm tagged in Twitter posts with other       17     Q That interrogatory response also said that you
     18     lawmakers who have Twitter so, yes. I think     18       had personal devices including an iPhone 12, a
     19     the House and the Senate has Twitter accounts.  19       Mac Pro and an iPad Pro; is that right?
     20     Because they have Facebook accounts and they 20        A Uh-huh. I don't have a Mac Pro anymore. I
     21     have Instagram accounts. That's who officially 21        couldn't figure out –- I never got acclimated
     22     speaks for the House or the Senate. We don't    22       to it. I cleaned it up and gave it to a friend
     23     control the House or the Senate social media    23       because it was brand-new and sitting in the
     24     accounts nor can we post on them.               24       office wasting money.
     25   Q You mentioned that sometimes you get tagged. 25        Q Okay. And then, you also said you have a law
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      1   A   Uh-huh.                                          1     office laptop and several desktop computers; is
      2   Q   Are you tagged by other legislators or other     2     that correct?
      3     legislators tagged with you?                       3   A Used for the law office only.
      4   A Most of the time in my social media accounts,      4   Q Is all of this the same with the exception of
      5     other legislators are tagged with me. And          5     you no longer have the Mac Pro?
      6     sometimes another legislator will tag me if        6   A I think I have another iPhone because mine
      7     we're working on a bill together.                  7     acted up, so I had to change --
      8   Q All right. And now I want to talk about the        8   Q You've gotten a new phone?
      9     devices that you have. Do you remember --          9   A Claimed insurance and they sent me another one.
     10   A Uh-huh.                                           10   Q Okay. Other than that, the answers are the
     11   Q –- responding to interrogatories in this case?    11     same --
     12   A I do. Uh-huh.                                     12   A Yes.
     13   Q In response to Interrogatory No. 17, you said     13   Q –- in the sense –- okay.
     14     you have two government issued devices, which     14   A Uh-huh.
     15     are a district office desktop and a laptop; is    15   Q So, this phone, it's not a government issued
     16     that correct?                                     16     phone --
     17   A Right. That's in my district office. I think      17   A No.
     18     I have a laptop. Sometimes if I –- if I have      18   Q –- correct?
     19     my Senate aide I may have a laptop, a old         19        So if you have no government issued phone,
     20     laptop that's used. As far as me personally,      20     do you use your personal cell phone for work?
     21     the only thing I generally carry around is my     21   A No. This is mostly for law office work, yes.
     22     chamber laptop.                                   22   Q Okay.
     23   Q Okay. And so that laptop you said, that third     23   A Uh-huh.
     24     laptop or third device?                           24   Q Do you use it --
     25   A I don't think I have one right now.               25   A I generally text people and say this is my
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       1     personal cell phone. If I pick up the phone          1   A  It would have been years ago. Sometimes -– I
       2     and someone has gotten hold of it, I say, hey,       2     don't even know my password to Twitter half of
       3     I'm not being rude, this is my personal cell         3     the time, I mean, so, you know?
       4     phone, can you call the office.                      4   Q So is that a, yes?
       5   Q And that's regarding your Senate work?               5   A Yes, I have. Uh-huh.
       6   A Yes. My clients generally call the office, as        6   Q You have –- you have logged into Twitter on
       7     well, in my legi –- in my law office but, yeah.      7     your --
       8   Q Do you communicate with your constituents on         8   A Right. Yes. On my district office and my
       9     your personal cell phone?                            9     chamber laptop.
      10   A No. Not often at all. You have to have --           10   Q Oh, so you've logged in on your office laptop
      11     like, it may be a church member and they may        11     also?
      12     have my phone because we do stuff at church.        12   A But most of the time now I carry a law office
      13     Maybe a friend and they may call just like any      13     laptop and so I'll login on there.
      14     friend calls and says, what do you think of         14   Q Okay. But --
      15     this, and I may talk to them. But all of my         15   A Uh-huh.
      16     calls on my cell phone are based to –- are more     16   Q –- you have used your government issued --
      17     personal in nature.                                 17   A Probably in years past, yeah.
      18   Q But occasionally you discuss legislative            18   Q Do you use your personal cell phone to access
      19     matters with other stakeholders on your             19     your social media accounts?
      20     personal cell phone?                                20   A Yes. Uh-huh.
      21   A Very seldom. What happens is, I call my office      21   Q Including Twitter?
      22     and say connect me to this person. So the           22   A Yes.
      23     phone –- the calls go through my office.            23   Q I want to ask you more broadly about your
      24   Q Do you communicate with other lawmakers on your     24     social media --
      25     personal cell phone about legislative matters?      25   A My Twitter is my, like, personal page. The
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      1    A  They'll call. Most of the time it's about       1         only Senate page I have is the Facebook.
      2      meetings and stuff. Or, hey, when you get to     2       Q Okay. I want to ask you about your social
      3      the Capitol I want to talk you about this.       3         media use more broadly. I know you've
      4      Katrina, where are you? I'm looking for you,     4         mentioned a couple, but can you list out the
      5      stuff like that.                                 5         social media accounts that you have?
      6    Q Did you say you text with other lawmakers about 6        A It would be the same ones I responded to.
      7      legislation?                                     7         Twitter, which is a personal account. My
      8    A No, not really. Those are phone calls mostly.    8         Facebook personal account. My Senate personal
      9      Yeah. I don't because texts can get              9         account. And -- my Senate Facebook page. My
     10      misconstrued, right? The only time you get a    10         personal Facebook page and my personal, I
     11      text is they say, "Hey, we've started           11         think, Instagram page.
     12      committee. Where are you"? Like a staffer       12       Q Okay. So, just to make sure I've taken this
     13      will say, "Are you coming to committee? We      13         down correctly. You have a Twitter page.
     14      don't have a quorum."                           14         You've got a personal Facebook. You've got a
     15    Q Going back to your government issued devices. 15           Senate Facebook --
     16    A Uh-huh.                                         16       A Uh-huh.
     17    Q I want to start with your Senate office -– your 17       Q -- and then you have a Instagram account?
     18      district office desktop computer. Have you      18       A Uh-huh. The only account that is the –- is
     19      used that computer to access your social media  19         like designated for the Senate is that Senate
     20      accounts?                                       20         Facebook account.
     21    A I have. Because sometimes I sit in there, yes.  21       Q Okay. So, turning to your Facebook. That
     22    Q Have you used it to access your Senate Facebook 22         Senate account is –- the Senate account is a
     23      page?                                           23         public page?
     24    A Yes.                                            24       A Yes.
     25    Q Have you used it to access your Twitter?        25       Q And it's for your Senate, correct? For your
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      1      Senate --                                             1     Senate stuff, we created a Senate page. Also,
      2    A   Uh-huh.                                             2     I remember, you can not –- I probably would
      3    Q   –- position?                                        3     have used my personal page. You can't run ads
      4    A   I think all my pages are public pages. I don't      4     on a personal page on Facebook. So since
      5      –- I don't think I have anything set as               5     Facebook was going to be my main stream of
      6      private.                                              6     communicating with constituents, I needed to
      7    Q Okay. And this public page –- or excuse me.           7     recreate that Senate page to run ads.
      8      Let me rephrase that. This Senate page --             8   Q You also mentioned you have an Instagram
      9    A Uh-huh.                                               9     account?
     10    Q –- you only talk about your Senate work,             10   A Yes.
     11      generally, on it?                                    11   Q And just one?
     12    A Sometimes I may talk about personal stuff, but       12   A Yes.
     13      it's not often.                                      13   Q Is your Instagram account private?
     14    Q Do you use that particular page for your law         14   A No. Well, I think it is. Yes. I don't know.
     15      firm?                                                15     I don't even know how Instagram works that
     16    A I have a law office Facebook page.                   16     much. It may be public or private. I don't
     17    Q Okay. Is that a third account?                       17     know.
     18    A Yes. I --                                            18   Q Is there anything that could get you to recall
     19    Q Okay.                                                19     whether it's private or public?
     20    A –- forgot about that. I have a law office            20   A I don't know what's –- I'm telling you, I'm
     21      Facebook page.                                       21     more versed on Facebook. I think that -- the
     22    Q So you don't use your Senate Facebook page for       22     only thing I know about Instagram that may
     23      any of your law office matters?                      23     distinguish it is, when you get a message
     24    A I try not to. It might be a mistake and post         24     request, but Instagram may be set up that way.
     25      every once in a while when I'm moving fast but,      25     When you get a message request from someone
                                                       Page 134                                                     Page 136

       1     no. My law office page is reserved for my law         1     that's not following you, you always see, you
       2     office.                                               2     know, a message. It always shows up as a
       3   Q And then you also have a personal page?               3     message request. So I don't know what that
       4   A And everything goes on there.                         4     signifies. I'm not well-versed. I can post on
       5   Q And is that page private?                             5     Instagram. I'm not real well-versed at it.
       6   A No.                                                   6     And Facebook automatically posts to Instagram.
       7   Q It's open to the public?                              7   Q Okay.
       8   A Yes.                                                  8   A My personal Facebook page automatically posts
       9   Q Why do you have the three different Facebook          9     to Instagram.
      10     pages?                                               10   Q So, why have you chosen to make your Instagram
      11   A Because I never want to mix my office business       11     private?
      12     with Senate business. Facebook is my most            12   A I don't know if it's private. I just know that
      13     active account, so that is the social media          13     if you're not following me on Instagram and you
      14     account I would say I designate to use to            14     send a inbox message, it says message request.
      15     communicate with constituents so I need a            15     That may be the way Instagram is set up. I
      16     Senate Facebook page. That's where I run ads         16     can't tell you whether it's public or private.
      17     from on law office matter –- I mean on Senate        17     What I do know is when I –- I don't know a lot
      18     matters. That's probably the one page that I         18     about Instagram. So what I do know is when I
      19     solicit opinions from the public on.                 19     set it up, it set up for people to follow you.
      20   Q Why did you choose to have a personal Facebook       20     It may or may not be private. I don't know.
      21     account?                                             21   Q You also mentioned you have an account on X,
      22   A Facebook's the most –- it's the thing I'm most       22     formerly known as Twitter, correct?
      23     familiar with. And I'm very active,                  23   A Right. Uh-huh.
      24     personally, on Facebook. And so, when my             24   Q And you've mentioned this already. But the
      25     personal Facebook page became inundated with         25     company is now called X, but --
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                                                #: 504
       1   A  Uh-huh.                                             1     as familiar with Twitter. If I have hit
       2   Q  –- we will call it Twitter throughout this          2     something by mistake, it may have converted the
       3     deposition?                                          3     page. I'm just not as familiar.
       4   A Sure. Uh-huh.                                        4   Q So you don't recall whether it's ever been
       5   Q So when I say Twitter, can we agree that I'm         5     private?
       6     referring to the company now known as X?             6   A No. I wouldn't remember all of that. Because
       7   A Most definitely.                                     7     I don't even know how long I've had Twitter.
       8   Q Your Twitter account is publicly available; is       8     Whatever answer I gave in my discovery answers
       9     that correct?                                        9     would be correct.
      10   A I believe it is. I don't set anything to            10   Q Okay. When did you create a Twitter account?
      11     private. If something is set to private it's        11   A Whatever my discovery answers said. I would
      12     because that's how it was, you know, when I         12     have had to look at it to see. I didn't have
      13     signed on it was –- it's –- the only thing that     13     any social media. I used to work for the
      14     would be set to private is if a page mandates       14     Legislative Black Caucus. My fear was that in
      15     that you set it to public for it to be public.      15     working for them because you are the Executive
      16   Q Okay.                                               16     Director, at some point I would post something
      17   A So like let's say you sign up with Facebook. I      17     that was contrary to their views. So I didn't
      18     think you have to set your Facebook page            18     even have social media to a certain point. I
      19     private. I'm more, you know, familiar with          19     probably either had it nearing the end of my
      20     Facebook, so I never went in and set it to          20     time or right after my -- you know, when I took
      21     private. When you sign up with Twitter, I'm         21     sabbatical. I was always very careful when I
      22     not sure what it mandates. Instagram, I'm not       22     was working for the legislature. I saw staff
      23     as familiar with, that's the newest one. I          23     called in about what they posted, so I wasn't
      24     think one of the –- Twitter or Instagram, I         24     as active on social media. Even if I had it, I
      25     don't know. I think it's Instagram, is the          25     wouldn't have been as active because of the
                                                      Page 138                                                 Page 140

      1      newest created one. I don't know what                1   staffing issues. So, I can look through my -–
      2      questions it would have asked when it was set        2   I think you asked that in my –- oh, here it is.
      3      up.                                                  3   February 13, 2023 -– no. That wouldn't have
      4    Q Okay. Going back to your Twitter. So your            4   been it. When did I –- let's see if it tells
      5      Twitter is publicly available, which means that      5   how long I've had Twitter. That's the
      6      anyone on Twitter can see your tweets, correct?      6   supplemental. Let me go to the first one. I'm
      7    A I think so. However it was set up when it was        7   looking for it based on what I answered. If
      8      –- when I signed into it. I'm not as familiar,       8   it's not in here –- I'm trying to see if it's
      9      but I think it's public.                             9   in here. No. I don't see it from a cursory
     10    Q And so would that mean that because your            10   review of when I had it. But I remember I was
     11      account is public and -– even a user that's not     11   very careful either to not have social media or
     12      following you could see your tweets?                12   to be very limited what I posted on social
     13    A I think so, yeah.                                   13   media while I was working for the House and
     14    Q And any person on Twitter can respond to your       14   then when I working for the Black Caucus. I
     15      tweets?                                             15   became more -- when I took my sabbatical from
     16    A I believe so. Uh-huh.                               16   the Black Caucus, I either formed social media
     17    Q Even if they're not following you?                  17   accounts or became active on them. It was
     18    A I believe –- I believe so, yes. I'm not as          18   because the role I was sitting in.
     19      familiar with Twitter.                              19 Q Do you ever remember –- do you remember ever
     20    Q Has your Twitter account –- has your Twitter        20   setting your Twitter account to private?
     21      account ever –- let me rephrase that. Has your      21 A I remember that I was getting so many
     22      Twitter account always been publicly available?     22   notifications and we were in, like, a hearing
     23    A I'm not sure.                                       23   that was important and I hit something. That's
     24    Q Has your Twitter account ever been private?         24   because you're trying to turn off notifications
     25    A I'm being honest, I'm not sure. I'm really not      25   at that point because they're coming –-
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                                                 #: 505
       1   sometimes when you update your phone -- this is         1     walked me through it –- my niece has walked me
       2   what I remember most about Twitter, Facebook.           2     through it several times. I know to go to my
       3   Sometimes when you get a new phone, update your         3     phone settings and start shutting stuff down.
       4   phone, it was always when you would start               4   Q So that's how you --
       5   receiving notifications. I really call my               5   A Now.
       6   niece and like, what do I do. If she's at               6   Q Okay.
       7   school, I'm like, let me hit something just to          7   A Uh-huh.
       8   get these notifications off my phone while I'm          8   Q And so that would be turning off the
       9   sitting in committee. Because I'm also dealing          9     notifications from there?
      10   with texts from my law office; from staff in my        10   A Right. And I've learned that. She said, just
      11   law office. So I'm trying to get those                 11     go to your phone settings. My niece tells me
      12   notifications that pop up on my phone off of my        12     just go to your phone settings and turn off
      13   phone during those hearings. And most of the           13     your notifications. And my nephew. Remember
      14   time if I update it, if I do a IS –- IOS update        14     I got him two-and-a-half years ago. He's way
      15   sometimes, unintentionally, it turns stuff back        15     more familiar and he's also have to –- way more
      16   on. So I could have done anything if I'm               16     available because I support him financially, so
      17   trying to get those notifications from popping         17     –- you know what I mean? Got to be way more
      18   up.                                                    18     available. And he's in the house with me so
      19 Q How many times do you remember taking that kind        19     sometimes I'll say, what is this, and so he's
      20   of action?                                             20     taught me over the last two-and-a-half years.
      21 A I can't tell you. If we're in a tense hearing,         21     My niece used to try to tell me, she's like, oh
      22   I'm waiting on a call from my law office and           22     my God, old folks. But he -– he'll say -- walk
      23   all of a sudden stuff starts posting –- popping        23     me through it, this is how you turn off your
      24   up and you're like, how did this notification          24     notifications. If I forgot before I really
      25   come –- I hate notifications from social media         25     learned over the last two years, he'll say,
                                                       Page 142                                                  Page 144

       1     directly to the device, right? I'll start             1     turn off your notifications. So now I go –- I
       2     cutting off whatever I can and keep listening.        2     try to go through settings in the phone.
       3     And when you say cutting off, you mean you turn       3   Q Okay. So when you've taken this kind action,
       4     off your notifications from social media?             4     it's you've turned off the notifications?
       5   A That's what I intend to do, but with the ones         5   A Uh-huh. Or attempted to. Now I know I turn
       6     I'm not as familiar with, yeah. Sometimes I           6     them off.
       7     call the staff and say, you know, do what you         7   Q Okay. But you don't recall ever setting your
       8     can do with this. Or if my niece is in the            8     account to private?
       9     Capitol with me, I say, do whatever you can do        9   A I don't know if –- if I did, it was probably
      10     with this, I need to get my calls from the law       10     because I didn't know how to turn off
      11     –- I need to get my texts from the law office.       11     notifications. So, I do what I have to do to
      12   Q Do you have any idea how many times you've done      12     get through the day of not being distracted and
      13     that?                                                13     still being able to look at the phone when it
      14   A Huh-uh.                                              14     dings so that I can answer law office messages.
      15   Q You can't recall how many times?                     15   Q Do you remember why you created the Twitter
      16   A No. I've been in the legislature fifteen (15)        16     account?
      17     or sixteen (16) years and sometimes I'm in           17   A Probably because I was finally free from having
      18     trial. And if I'm in trial and stuff starts          18     to be cautious about what I post about social
      19     popping up and I'm waiting to make sure my           19     issues because I was working for the Black
      20     staff gets me a document I need, I hit whatever      20     Caucus.
      21     I can hit and keep moving. Just being straight       21   Q And actually, let me back up just a little bit.
      22     with you. I –- you know, sometimes I may hit a       22     You mentioned that you had taken a sabbatical
      23     wrong button, sometimes I may get it right,          23     --
      24     sometimes I go into my phone settings. Now           24   A Uh-huh.
      25     more frequently since I've understood, they          25   Q –- from working for the Black Caucus. Why did
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      1      you take a sabbatical?                                  1   Q   I want to direct your attention to the screen
      2    A  To run for office.                                     2     name change on December 28, 2019, which says,
      3    Q  Okay.                                                  3     the screen name changed from "RepKJackson" to
      4    A  Right.                                                 4     "SenatorKRJ." Is that --
      5    Q  So you took a –- you took a sabbatical and then        5   A From --
      6      after taking that sabbatical --                         6   Q –- correct?
      7    A The next day I -– the next day or so I                  7   A Uh-huh. (Affirmative response).
      8      announced my candidacy.                                 8   Q Was RepKJackson your first Twitter handle?
      9    Q Okay.                                                   9   A I'm not sure. I really am not.
     10    A And I never went back.                                 10   Q Based on this information received from
     11    Q And so why did you create a Twitter account?           11     Twitter, do you have any reason to believe that
     12    A I was free. I was free from being scared to be         12     your first Twitter handle was not @RepKJackson?
     13      called in on stuff that we posted.                     13   A I wouldn't know because I don't know when I
     14    Q Are you familiar with what a Twitter handle is?        14     started this page. This shows 2019. And so
     15    A I just know it's a @ symbol, I think. Yeah.            15     maybe that's when the Twitter available, you
     16    Q And then after –- what is after the @ symbol,          16     know, Twitter documents or whatever we
     17      that is your Twitter handle, correct?                  17     requested, that's as far as they could go back
     18    A Yes. Uh-huh.                                           18     maybe. I don't know when I started this Senate
     19    Q Do you choose your own Twitter handle?                 19     page so I couldn't say that. What I know is
     20    A Yes.                                                   20     that I changed my profile names because when
     21    Q Do you know what your Twitter handle is?               21     people were looking for me they couldn't find
     22    A Probably not now. I don't. I have not changed          22     me, friends and everything. So I played with
     23      anything, so whatever it was as an inception of        23     the Twitter handle a number –- a number of
     24      the case. As an attorney I know when something         24     times to make sure people could find me. The
     25      is being litigated, don't change it.                   25     –- because I did know a lot about Twitter and,
                                                         Page 146                                                 Page 148

       1   Q    Did you request your data from Twitter as part       1     you know, I kept changing it so people could
       2      of discovery in this –-                                2     me, you know?
       3   (Inaudible conversation between Ms. Schwartzmann and      3   Q So, why did you change your name from
       4                  and Mr. Crow)                              4     RepKJackson to SenatorKRJ?
       5   A Whatever I answered in the discovery is going           5   A Because for some reason regardless of what page
       6      to be your best answer on all that stuff.              6     you have people -– I don't -– look, Twitter is
       7   Q Okay. In –- did you request your data from              7     hard for me to find people and Twitter is hard
       8      Twitter as part of discovery in this case?             8     for people to find me. So I play with what I
       9   A Yeah. My attorney contacted me and told me I            9     think they're going to search.
      10      needed to request my data.                            10   Q Okay. In this name change, you changed your
      11   Q Did you review this data?                              11     name from representative or RepKJackson to
      12   A Probably about three minutes and I sent it             12     SenatorKRJ. And that was on December 28th,
      13      over. It all looked like jargon to me.                13     2019, correct?
      14   Q Okay. I'm now going to show you a file your            14   A Yeah. And probably because what I wanted
      15      counsel gave us from production of Twitter --         15     wasn't available.
      16   A Uh-huh.                                                16   Q In changing from rep to senator, was –- would
      17   Q –- which I'm marking as "Exhibit 1." This is           17     that have been around the time you were elected
      18      titled 51963872-screen-Name-Change?                   18     to become --
      19   A Uh-huh.                                                19   A Most likely --
      20   Q I want to direct your attention --                     20   Q –- a senator?
      21          MR. CROW:                                         21   A –- because of regardless of what page, your own
      22             I'm sorry, Tommy.                              22     personal, otherwise people are going to put in
      23          WITNESS:                                          23     senator.
      24             Uh-huh.                                        24   Q Okay. And so you changed that because --
      25   BY MR. CROW:                                             25   A Right.
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                                              #: 507
      1   Q   –- you were a senator and no longer a          1   you changed it from KatrinaJack_Sen?
      2     representative?                                  2 A Yeah. Uh-huh. (Affirmative response).
      3   A Because that's how people search you.            3 Q And do you remember why you made this change?
      4     Regardless if it's your personal page or not,    4 A Because that's what I kind of want to be known
      5     people are going to search you that way.         5   as. On my personal page as KatrinaRJackson.
      6   Q You then changed your screen name again on       6   Again, I'm always including that R because I
      7     March 4th, 2020, from SenatorKRJ to              7   don't want anybody to think I'm the Katrina
      8     KatrinaJack_Sen; is that correct?                8   Jackson. So, it might have been because it was
      9   A That's correct.                                  9   available, right? Because personally, now it's
     10   Q Did you make this change?                       10   going to be Andrews when that -– I've already
     11   A I did. Because I realized people were           11   hyphened it in the Senate to Jackson-Andrews.
     12     searching me more by Katrina.                   12   Dash Andrews. And I need to do it –- and
     13   Q Okay. Are there any other reasons you made      13   that's why I didn't give you that name because
     14     this change?                                    14   I haven't done it legally yet. So, that's
     15   A Because I realized people were searching me     15   basically I want to be known. It's –- I don't
     16     more by Katrina. Oh, and I know one change was 16    know how to say it other than that. Now people
     17     made because we –- and that's why we always say 17   can search Katrina R. Jackson and find Katrina
     18     Katrina R. Jackson. Because at some point --    18   R. Jackson and they can search my entire first
     19     I'm a former teacher and someone sent me        19   name. So that's how it is. And I think I
     20     something were a former teacher. So one of      20   wrote on your exhibit. I'm sorry. Here,
     21     these changes denoted that and that might be    21   Tommy, this is going to become an exhibit most
     22     when I changed to Senator. Where a teacher      22   definitely.
     23     named Katrina Jackson in another state molested 23 Q And so have you changed your Twitter handle
     24     a child or something and it came up one day and 24   from KatrinaRJackson to anything else?
     25     people were like, hey, and I was, oh, let me –- 25 A Not that I know of.
                                                    Page 150                                                 Page 152

      1     let me get distinguishable on my social media       1   Q   So is this your current handle?
      2     accounts. That's why you always see us say          2   A   I believe it is. I'm not sure. I would have
      3     Katrina R. Jackson. If you search in Google         3     to check with –- I would have to check Twitter.
      4     now, you -- you know, I don't know. I haven't       4     Again, I'm always playing to make –- playing
      5     searched in awhile. So we play with Twitter         5     with everything to make sure people can find
      6     and all kind of names and added the –- and          6     me.
      7     always keep the R. Because with me having a --      7   Q So you said that you're aware in discovery in
      8     when I say I'm a former educator and people are     8     this case that we sought your twistory [sic] –-
      9     "Katrina Jackson," so I've experienced that a       9     your history from Twitter, correct?
     10     couple of times and I was like, oh, no.            10   A Uh-huh. (Affirmative response). Yes.
     11   Q Would this Twitter handle that you've changed      11   Q And Twitter produced some of this data --
     12     to on March 4th, 2020, Katrina --                  12   A Uh-huh. (Affirmative response).
     13   A Uh-huh. (Affirmative response).                    13   Q –- to you, which was produced to us by your
     14   Q –- Jack_Sen --                                     14     counsel; is that right?
     15   A Uh-huh. (Affirmative response).                    15   A Right.
     16   Q –- was Jack_Sen a play on the –- on your last      16   Q And now I'd like to talk about some of your
     17     name and the fact that you're a senator?           17     activity on Twitter.
     18   A Uh-huh. (Affirmative response). I just tried       18   A Sure, go ahead.
     19     to put in everything people may search me by.      19   Q What was your first tweet?
     20   Q You then changed it again on February 21st,        20   A I don't know. Whatever I put in discovery if
     21     2021, correct?                                     21     it was on there.
     22   A To KatrinaRJackson.                                22   Q I'm showing you now what I'm going to mark as
     23   Q And that was --                                    23     deposition "Exhibit #2."
     24   A Because it might have became available.            24   A Uh-huh.
     25   Q -– and that was because –- or excuse me. And       25   Q It's a tweet dated March 12th, 2000– or excuse
                                                    Page 151                                                 Page 153

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                                                #: 508
       1     me, March 9th --                                    1   Q   And you posted in this tweet that "Our office
       2   A  Uh-huh. (Affirmative response).                    2     will update you daily." Is that right?
       3   Q  –- 2012. Are you familiar with this tweet?         3   A Right. And I do remember now, I apologize, why
       4   A  It's probably the –- it's probably what I put      4     I changed to KatrinaRJackson, it was the
       5     on every social media account I had.                5     search. I don't get on Twitter as much and I
       6   Q Is this a fair and accurate representation of       6     wanted to make sure this was identified as my
       7     your tweet?                                         7     personal account. Uh-huh. (Affirmative
       8   A Right. It would have been something I put on        8     response). That's why I would have taken all
       9     every social media account. I try to notify         9     the tags off. Because I knew I wasn't going to
      10     constituents in every way possible that I'm        10     be on Twitter as much so it was, like, this is
      11     gone. Also, it notifies my friends, it             11     my personal account. Right.
      12     notifies my clients, you know, that I'm gone.      12   Q And you said –- when you said, our office will
      13   Q Can you read this tweet for me?                    13     update you daily --
      14   A Sure. "On Monday at noon we will begin             14   A Uh-huh. (Affirmative response).
      15     Legislative Session. Our office will update        15   Q –- were those daily updates provided on
      16     you daily."                                        16     Twitter?
      17   Q Was this your first tweet?                         17   A No. Because I don't get on Twitter enough.
      18   A I'm not sure. Like, I don't even know when I       18     That's probably why I would have changed it and
      19     started Twitter.                                   19     made sure people understood it was my personal
      20   Q Do you have any reason to believe that this is     20     account. Redirecting people to the office I
      21     not your first tweet?                              21     think is a bit ambitious to think you're going
      22   A I would have to see the entirety of Twitter        22     to update daily. Our office –- like what we
      23     data and go back and research it. Like, I          23     started doing is sending out stuff saying
      24     couldn't tell you.                                 24     basically -- years ago, for legislative updates
      25   Q You have received your data from Twitter; is       25     for this and that when we're in meetings,
                                                     Page 154                                                     Page 156

      1      that correct?                                       1     please email jacksonk@legis.la.gov.
      2    A Yeah. And I perused it for about three to four      2   Q If --
      3      minutes and sent it to Tommy. It looked like        3   A You're bright-eyed and bushy-tailed and think
      4      jargon. And I probably put this on my personal      4     you're going to do everything when you first
      5      Facebook page as well as my Senate Facebook         5     get in in 2012, right? And after that, you
      6      page.                                               6     realize that things need to go through your
      7    Q If told you this was your first tweet, do you       7     office and that your personal life needs to be,
      8      have any reason to disagree with me?                8     you know, personal.
      9    A No. Uh-uh. (Negative response). Unless other        9   Q In this tweet when you said that you would
     10      information showed it.                             10     provide updates --
     11    Q Do you have evidence of the contrary?              11   A Uh-huh. (Affirmative response).
     12    A I'm not sitting with my Twitter page. I'm not      12   Q –- those would have been updates on the
     13      sitting with all the data produced from            13     legislative session?
     14      Twitter. So, you know, I didn't know this was      14   A Right. Which I never followed through with on
     15      –- I needed to bring evidence to this              15     social media. That's why we began to redirect
     16      deposition.                                        16     everyone to the office. Denoting the name
     17    Q But you do have that data to authenticate it?      17     change from Exhibit 1 –- I changed it a couple
     18    A Tommy has it now. And I think Twitter went         18     of times for searches, but in 2021 I definitely
     19      back as far as they could go. So I don't –-        19     changed to KatrinaRJackson because people were
     20      look, I don't know what -– I guess I would have    20     getting confused with all the Senate handles
     21      to ask Twitter, is this my first tweet or is       21     and everything. And when I realized
     22      this as far back as you can go.                    22     KatrinaRJackson would distinguish me from the
     23    Q And in this tweet you're announcing the            23     teacher who had a relationship with a underage
     24      legislative session, correct?                      24     child, I was like this will work.
     25    A Right.                                             25   Q Who in your office provides these updates?
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       1 A They are provided –- if it's on social media,        1     legislative session?
       2   they're provided by me. Now, there are no –-         2   A  Not often. That's what became the issue with
       3   there are no real updates, daily updates on          3     Twitter. And that's why with any of my social
       4   social media. Facebook has more updates than         4     media, that's why we direct people to the
       5   anything. But the daily updates when things          5     office for the most updates for what's really
       6   happen -- you know, because even providing           6     happening. Facebook I use more than anything.
       7   daily updates was ambitious in 2012, right?          7     And Instagram just is a –- is a newer, you
       8   But the updates that do happen are provided          8     know, it's a secondary beneficial –-
       9   through me via staff. Staff is not going to          9     beneficiary of my use of Facebook because when
      10   update them on legislative session because          10     you post on Facebook, it posts on Instagram.
      11   they're not there. Sometimes the House staff        11   Q You said that was the issue. Can you just –- I
      12   will give me things. Like I'll say, give me         12     missed what that was. Can you –- what was the
      13   this to post or give me this to send to my          13     issue?
      14   constituents. So it's a, you know, a higher         14   A That you were not going to be able to update
      15   effort. What's posted on my social media is by      15     people daily on social media. So your main
      16   me.                                                 16     source was what the government issued to you,
      17 Q But your staff does help you prepare these          17     was your phone line at the Senate office and
      18   updates?                                            18     your email address.
      19 A The legislative staffers will help me prepare a     19   Q Do you continue to tweet during the legislative
      20   graphic. And sometimes I prepare my own             20     session?
      21   graphics, right? And they help all us prepare       21   A Every so often.
      22   graphics. And sometimes I'll prepare them           22   Q So is that a yes?
      23   because I've learned how to prepare my own          23   A Yes. Every so often. Uh-huh. (Affirmative
      24   graphics and sometimes the staff at home will       24     response). I continue to tweet every so often
      25   prepare graphics.                                   25     throughout the year, yeah. My activity on
                                                    Page 158                                                  Page 160

      1   Q  All right. And so back up. When you say your 1           Twitter is minimal to compare to my activity on
      2     legislative staffers --                          2        other social media accounts.
      3   A Uh-huh. (Affirmative response).                  3      Q Do you find Twitter useful to you as a public
      4   Q –- those are the ones that are at the Capitol?   4        official?
      5   A Right. We have a –- I forgot what it's called    5      A No. Absolutely not. And I don't –- I don't
      6     because we reestablished it a year or two ago,   6        mean that in a bad way. No. It's hard to
      7     but it's the Office of Communicative Public –-   7        read. The conversations are not as defined, so
      8     whatever it is, it's a new title, but they help  8        you never know where stuff is coming from.
      9     members prepare graphics. I've become savvy to 9          Facebook, you post and everything goes under
     10     where -- I guess I call it savvy. It is for     10        that post. Twitter threads are just not been
     11     me, right? Where I can prepare my own           11        useful as much to me. I can catch something
     12     graphics. And so I'll prepare my own graphics   12        every once in a while on there but not as much.
     13     most of the time. I've even helped other        13        It's just not as useful at all.
     14     members prepare theirs.                         14      Q How do you use Twitter?
     15   Q But the legislative staffers occasionally help  15      A When I feel like posting.
     16     you with --                                     16      Q Do you use Twitter to receive information?
     17   A Right.                                          17      A Not really. You're not going to see a lot in
     18   Q –- these graphics?                              18        my inbox because I didn't even know how to use
     19   A Occasionally. Uh-huh. (Affirmative response). 19          my Twitter inbox for a while. I don't message
     20   Q So, with this tweet, you started using Twitter  20        people on Twitter much at all. I'm just not as
     21     at the beginning of a legislative session,      21        familiar with Twitter. If I try to follow a
     22     correct?                                        22        conversation on Twitter, I get lost in it.
     23   A Uh-huh. (Affirmative response). Yes. I'm        23        Whether it's a personal conversation,
     24     sorry.                                          24        otherwise, I just kind of get lost.
     25   Q Did you continue to tweet during the            25      Q Do you use Twitter to share information?
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       1   A   Occasionally. I share both, personal and other        1     hundred percent sure. And I wouldn't be able
       2     information. It's my personal page. I                   2     to tell you if I did the last time I did it.
       3     sometimes use my personal page to share                 3   Q Is there anything that would allow you to
       4     legislative information every once in a while.          4     recall that?
       5     Twitter is just not my high-traffic area.               5   A Twitter jargon is Twitter jargon. This case.
       6   Q So why do you tweet?                                    6     I know I would have tweeted that some bill
       7   A I don't tweet as much. Sometimes somebody will          7     passed because that became the cross of this
       8     say, go Twitter and look at this, stuff like            8     case.
       9     that.                                                   9   Q Do you tweet about your committee hearings?
      10   Q But why do you post tweets?                            10   A I'm not sure. I would have to look at my old
      11   A If I remember I have Twitter I might go on             11     Twitter feed to see.
      12     there just to keep the account active.                 12   Q You're not sure if you've tweeted about your
      13   Q Do you tweet to communicate with the public?           13     committee hearings?
      14   A Not as much. Sometimes I'll just copy what I'm         14   A I'm –- I may have. Yeah. But --
      15     putting on Facebook and put it on there so that        15   Q Have you tweeted to provide the public with
      16     my account remains active.                             16     information about proposed and pending
      17   Q Okay. You said not as much, but that is, yes,          17     legislation?
      18     you do occasionally?                                   18   A I may have.
      19   A Like if someone is –- like a friend has told me        19   Q Is there any specifics that you can recall?
      20     they hate Facebook, they don't use Facebook,           20   A This case. But I don't know if I tweeted about
      21     I'll put a family picture up. Something like           21     the proposed. I know I tweeted –- I think I
      22     that. When I got married I used all realms of          22     tweeted about his passage.
      23     my social media to announce my marriage. I was         23   Q You mentioned previously that occasionally you
      24     happy. I was gleeful. Uh-huh. (Affirmative             24     solicit feedback from the public regarding how
      25     response).                                             25     to vote --
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      1    Q   Do you tweet to provide information to the     1          A     Uh-huh. (Affirmative response).
      2      public regarding the happenings of the           2          Q     –- for the side to sponsor legislation --
      3      legislature?                                     3          A     Uh-huh. (Affirmative response).
      4    A I probably used to before I –- you know, before 4           Q     –- is that correct?
      5      I changed to KatrinaRJackson. Sometimes I have 5            A     Yes.
      6      since then –- well, my main source of providing  6          Q     Do you get some of this from social media?
      7      to the public is in my office and that Senate    7          A     From Facebook.
      8      Facebook page.                                   8          Q     Have you ever gotten any from Twitter?
      9    Q But you do occasionally tweet --                 9          A     I don't recall. I don't think I have. I know
     10    A Yeah, occasionally.                             10              that we were all being tagged on every social
     11    Q –- to provide information?                      11              media account people could find when the
     12    A Uh-huh. (Affirmative response).                 12              (indiscernible 2:37:19) stuff happened. So
     13    Q And what kind of -– what types of information 13                there are instances where we all being tagged
     14      do you try to provide?                          14              on everything. And that's my recollection of
     15    A I couldn't tell you. Like, seriously I just -–  15              Twitter, like, being tagged when there's a hot-
     16      I couldn't tell you.                            16              button issue. And I try to redirect people to
     17    Q Do you tweet in advance of legislative          17              the office. If I have time to say -- you know,
     18      hearings?                                       18              being courtesy to a constituent. If I have
     19    A I don't remember if I've done it often. I       19              time to say something about it, I will
     20      don't. I may have. Sometimes I copy             20              regardless of where they communicate with me.
     21      everything and just put it on each social media 21              And even on my personal Facebook page, right?
     22      website.                                        22              I will respond. If it gets to the point where
     23    Q Okay. So have you tweeted in advance of         23              I can't respond and I can't answer, I'll say,
     24      legislative hearings and votes?                 24              please call the office so we can communicate,
     25    A I might have. Yeah. I might have. I'm not a     25              right? I can tell you that a student has
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      1   tagged us for two weeks on Twitter. Two or                1   Q  And you've tweeted to get feedback from the
      2   three weeks about the cell phone policy. And              2     public on proposed legislation, correct?
      3   he –- I kind of figured out he was never going            3   A Guys, can we take a break? I have a personal
      4   to call the office. I didn't want to leave                4     matter that I've been trying to handle for two
      5   that student hanging, so it was last night or             5     weeks and my staff is texting me that they have
      6   day –- night before last I finally went on                6     that person on a call.
      7   Twitter and realized he had tagged me like for            7        MR. HAYES:
      8   the last two weeks. Me, Beth, and others. And             8            Let's go off the record.
      9   I tried to answer his questions a couple of               9            –-OFF THE RECORD--
     10   times. Because Twitter is not a form I                   10   EXAMINATION BY MR. CROW, continuing:
     11   generally use, when he kept having questions, I          11   Q Senator, before the break, you mentioned that
     12   said, can you please contact the office. You             12     you –- there are sometimes legislative staffers
     13   know, so out of courtesy even on my personal             13     that work on your graphics, correct?
     14   page, if someone is asking over and over about           14   A Uh-huh. (Affirmative response). Yes. I
     15   something I generally will not ignore a                  15     apologize.
     16   constituent. But when it keeps going, I'll               16   Q What was – do you have the names of these
     17   finally say, can you please contact the office.          17     legislative staffers?
     18   Sometimes I won't respond, I'll just direct              18   A Jeremy is one. He works for whatever our
     19   them directly to the office.                             19     communications is. It's a combined
     20 Q And with the specific example that you just              20     communications -– communication office. But
     21   mentioned --                                             21     actually any staffer in that office can work on
     22 A Uh-huh. (Affirmative response).                          22     your graphics. So whoever is free and does
     23 Q –- regarding the cell phone policy, you                  23     them, does them. Mainly what graphics they
     24   responded to this person on Twitter because you          24     work on sometimes is when I'm going to announce
     25   thought they would not call?                             25     a bill. But mainly I sometimes try to do a
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       1   A   They had been –- he –- I think one of the            1     Zoom with my district because I –- you know,
       2     members asked me, have you seen the amount of          2     all fo them can't get down there. That's
       3     times we've been tagged by this student. And I         3     another form I forgot about. Sometimes it's
       4     said, oh, my God, let me go to Twitter. I              4     weekly, sometimes it's not as frequent
       5     don't want to ignore a student. So that was            5     depending on how much work and balance we're
       6     yesterday or the day before yesterday. So              6     doing. This year I did, I think, one. Where
       7     sometimes a member that's tagged or something          7     they can communicate with me on bills and other
       8     will say, hey, you haven't engaged in this             8     matters.
       9     conversation and I'll -- then I'll go to               9   Q And Jeremy, do you know Jeremy's last name?
      10     Twitter. And so after going back and forth            10   A I don't know. But it's any staffer. I can say
      11     twice, I said, look, my –- the best way to            11     it's him, but actually he might have created
      12     communicate with me is through the office, can        12     the first one. It's any staffer in that
      13     you call the office.                                  13     legislative communications office. I do the
      14   Q Okay. Have you tweeted about legislation being        14     graphics as well as sometimes as Theresa in my
      15     considered by committees?                             15     district office does graphics.
      16   A I'm not sure. I might have.                           16   Q Theresa sometimes works on --
      17   Q Have you tweeted about how you're going to vote       17   A Right.
      18     on legislation in advance of the vote?                18   Q –- these graphics --
      19   A I'm not sure. I may or may have. I'm not              19   A Uh-huh. (Affirmative response).
      20     sure.                                                 20   Q –- also?
      21   Q Have you tweeted about legislation that you've        21          MADAM COURT REPORTER:
      22     sponsored?                                            22             What was her last name?
      23   A I may or may have. I'm not sure. I think I            23          WITNESS:
      24     have, but I –- I just remember -- this case           24             Tran. T-R-A-N. But none of them post
      25     gives me the best Twitter memory.                     25          on my social media account. They come back
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       1         to me via email or text and I post it on my       1   Q   Do you take phone calls from the public during
       2         social media accounts.                            2     these meetings?
       3   MR. CROW:                                               3   A No. The only time I'll step out of committee
       4   Q But they sometimes create the graphics?               4     is if my legislative –- my legal staff calls
       5   A Creates the graphics, yes. Uh-huh.                    5     me. Like, we just -– you know, I just did in
       6   Q Okay. I also wanted to circle back to your            6     this deposition because we're waiting on a call
       7     Instagram account. You said you couldn't              7     or a judge's office gets on the phone. My
       8     recall whether it was public or private --            8     family calls me, then I step out of committee
       9   A Right.                                                9     if it's something pressing. I'll sometimes
      10   Q –- is that correct?                                  10     text them and say, hey, is this something
      11   A Uh-huh.                                              11     pressing. If someone who's working on, you
      12   Q I'm showing you on my phone. Is this your            12     know, legislation bills calls me like a
      13     Instagram account?                                   13     constituent, which really never happens, right?
      14   A Yes, it is.                                          14     I'll step out of committee. There are various
      15   Q Is –- can you tell if it's public or private?        15     reasons to step out of committee. Very rarely
      16   A It's private. Uh-huh.                                16     is it to make a call or take a call from the
      17   Q Does that picture of your account that I just        17     public, no.
      18     showed you –- or it wasn't a picture, it was -–      18   Q Okay. And so you said it's --
      19     that was your --                                     19   A I will initiate a call if I have a question. I
      20   A Uh-huh.                                              20     will initiate a call to a –- to someone back
      21   Q –- account on Instagram? Does that refresh           21     home to get information on a bill. And I will
      22     your recollection of whether your Instagram is       22     sometimes go on a record and said I've just
      23     public or private?                                   23     spoke to so-and-so. Most of the time I refer
      24   A Yes. And it says it's private so it's probably       24     to emails that I'm reading on a bill while I'm
      25     –- it's most likely private. I've never seen         25     in committee if it's a constituent.
                                                       Page 170                                                   Page 172

      1      it from anyone else's account so, thank you.     1        Q   When you use Twitter, do you tweet about your
      2    Q No problem. And I had one other question         2          law practice or law firm?
      3      regarding your –-                                3        A I'm not sure. I don't –- I don't use Twitter
      4    A I need to go make that public. I didn't know     4          as much. I have a law practice –- and
      5      it was private.                                  5          sometimes I will. I think I have in the past,
      6    Q Okay. And so circling back to where we left      6          I think. I would have to research it.
      7      off. Do you check Twitter during committee       7        Q Do you advertise for legal clients or solicit
      8      meetings or in between meetings?                 8          clients on Twitter?
      9    A No, not often. No. I may have but I –- it's      9        A That's what I'm saying, I would have to go back
     10      not like a standard form of communication for   10          and look. I'm not sure. I don't --
     11      me, for a legislator, so –- sometimes I don't   11        Q You don't recall?
     12      check Twitter for months. It's just that when   12        A –- Twitter –- no. And I don't use Twitter as
     13      I get those I –- up –- IOS updates and it       13          much, so –- yeah.
     14      triggers it to start sending me notifications.  14        Q When you tweet, you said that you sometimes
     15      Or sometimes I've touched something and I start 15          cross post to Facebook and Instagram?
     16      getting notifications. You know, the updates    16        A Yeah. What I'll do sometimes is whatever I've
     17      kind of knock out some of your settings, that's 17          posted, if I remember I have tweet that -–
     18      when more frequent –- or if somebody says, have 18          Twitter that day, if you compare my Facebook
     19      you seen all these tags on Twitter, and then    19          page to my Twitter and my Instagram because
     20      I'll go check it.                               20          Facebook instantly posts to Instagram, you'll
     21    Q But you said you don't do it frequently but you 21          see a lot more posts. If I remember I have
     22      have checked Twitter during committee meetings? 22          Twitter that day I'll click on it and paste and
     23    A I do everything during committee meetings. I    23          keep going. I may not ever open it again for
     24      practice law during committee meetings, so I    24          weeks sometimes, you know?
     25      can't say no to that.                           25        Q Okay. And you mentioned that Instagram you
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      1     have the option for it to post the same post         1   Q   Do you have any specific recollection?
      2     you've posted on Facebook to Instagram --            2   A   No. Just the same as I don't have real
      3   A It is--                                              3     specific recollection besides this case on what
      4   Q –- at the same time?                                 4     I put on Twitter about my personal or
      5   A –- connected. I don't think I have to hit it,        5     legislative. The only thing specific I
      6     it's just connected.                                 6     remember is my wedding and sometimes when my
      7   Q Okay. But your Twitter is not connected to           7     nephew receives an award probably.
      8     that?                                                8   Q And I want to talk about your interactions on
      9   A No.                                                  9     Twitter. How do you use Twitter to interact
     10   Q And so would you just copy and paste if you --      10     with other users?
     11   A Yeah.                                               11   A Yeah. It's pretty hard so sometimes you don't
     12   Q –- posted it?                                       12     see me do it often. Like I said, if I get a
     13   A And that's why you don't see a lot of Twitter       13     notification like somebody says, you see all
     14     posts because I mainly use Facebook, but            14     the stuff we're being tagged in, our Twitter is
     15     Instagram automatically post to Facebook. So        15     going crazy a member is saying, I'll go to it.
     16     Instagram is, you know, it's more high-frequent     16     Like that. I don't use that inbox for Twitter.
     17     only because Facebook instantaneously, on my        17     If I have a friend that doesn't have Facebook
     18     personal page, posts to Instagram.                  18     or, you know, I may go to Twitter. I remember
     19   Q Okay. But that –- the Facebook page that is         19     the only thing I had for the ULM coach for a
     20     linked to your Instagram --                         20     period, the old ULM coach, and she was doing a
     21   A Uh-huh.                                             21     great job, was we had interacted on Twitter.
     22   Q –- is your personal page?                           22     So that's pretty much the only thing I had, so
     23   A Right. I believe so. I don't -– I don't fully       23     I would, you know, post about that mostly or
     24     know how it works. I know when I post               24     tweeted her a couple of times on Twitter back
     25     something personally I generally see it on          25     and forth because that's how she contacted me.
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      1     Instagram or somebody may send me a shot. You 1            That's why I started playing with the Twitter
      2     know, me and my friends joke when we say         2         name, but eventually when KatrinaRJackson
      3     because I joke –- me and my husband joke a lot   3         became available or whatever, I was like, good,
      4     so they'll say, you all are so funny or          4         finally who I am, bam. That's what I identify
      5     something like that, right?                      5         as so that's pretty much it.
      6   Q Do you have any specific recollection of having 6        Q So is it your testimony that your current
      7     posted -– cross posted from your Senate page to  7         Twitter handle @KatrinaRJackson was not
      8     your Twitter page?                               8         available when you made your Twitter?
      9   A Not that I know of. When I cross post it         9       A I'm not sure. Because see, what I remember and
     10     probably goes on my personal page first and     10         testified before the break, was that I played
     11     then it goes on every page. So I wouldn't have  11         with how they can search me. Like, who –- how
     12     any specific recollection.                      12         do people frequently search me and I kept
     13   Q Do you recall ever having tweeted about your    13         playing with that. And I don't remember. I
     14     practice or law firm?                           14         just remember –- maybe I said let me try
     15   A I'm –- you've kind of asked that. I've told     15         KatrinaRJackson and it was available.
     16     you if I've tweeted about my practice or my law 16       Q Do you reply to other user's tweets on Twitter?
     17     firm, advertised for my practice or law firm or 17       A I -- sometimes I do. If I get on Twitter and
     18     did anything like that on Twitter, I would have 18         it's something interesting, I will. If I'm
     19     to go back through Twitter. I don't often use   19         congratulating someone, I will. Just like
     20     Twitter so the content of what's on Twitter, I  20         before the break I talked about, you know,
     21     wouldn't know about.                            21         somebody said, have you seen this kid –- I
     22   Q But you don't have --                           22         think it was Beth, that keeps tagging us, and I
     23   A Without --                                      23         said, it's a child, oh, let me go to Twitter.
     24   Q -- any recollection of doing that?              24         And then last night or the night before last
     25   A I'm not sure.                                   25         after the first two exchanges –- because you
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       1       can't –- for me, the thread –- tread of -- the         1   Q   But it does happen?
       2       thread of Twitter is hard to follow. I                 2   A   Just like today -- I mean yesterday or the day
       3       redirected him to the office. Because number           3     before when somebody cued me into it or like I
       4       one, I know I'm not going to check Twitter             4     said before the break when my phone has somehow
       5       much. And number two, it's important that a            5     started sending me notifications or when I get
       6       child –- I think I might have responded, you           6     bored, which is not usual because the schedule
       7       know, thank you for your advocacy as a young           7     is what it is, so I'll finally go to Twitter on
       8       man even though we don't agree. He posted, you         8     my habit or if I'm on the phone, I'll say, oh,
       9       all are making decisions. I remember this              9     I ain't been to Twitter in a while, I click on
      10       because this –- it must have been last night.         10     it.
      11       "You all are making decisions and you're not –-       11   Q So is that a yes?
      12       and you've never been a teacher." Because we          12   A That's a yes with details.
      13       told him –- I think I was the one that told him       13   Q Do you have any other plans to run for other
      14       the teacher complaint. Because I can only             14     office?
      15       remember my post because I don't know how to do       15   A Whatever God deals with me on. I'm newly
      16       Twitter much; my responses. And after that, I         16     married. I'm raising a 15-year-old child whom
      17       told him I was a high school educator before          17     I love. And my plans will be directed as they
      18       law school and then a junior high educator.           18     always have been by God.
      19       And that, you know, cell phones can be a              19   Q But you don't have any current plans?
      20       disturbance in the class, but he wanted to go         20   A No. I didn't have plans to run for what I'm
      21       further. Like I do with most people, I                21     in.
      22       redirect them to the law office for further           22   Q Do you have any plans, currently, to leave the
      23       conversation –- I mean to the legislative             23     Louisiana Senate?
      24       office for further conversation and                   24   A My plans are always directed by God. The day
      25       legislation.                                          25     he tells me he's done, we'll walk out together
                                                          Page 178                                                     Page 180

      1    Q   And this young man that you were responding to 1             like we walked in.
      2      --                                               2           Q Do you plan to use Twitter after you leave
      3    A Uh-huh.                                          3             office?
      4    Q –- last night, where does he live?               4           A I'm going to use all my social media. I joke a
      5    A I'm not sure. I don't –- I didn't even click     5             lot on social media. Im not going to -– it's
      6      on his profile. They just told me a kid was      6             kind of an outlet for me. Also, a lot of my
      7      texting us. And I remember afterwards, I said,   7             friends are busy just like I am so we follow
      8      I don't know if that's a kid. Because when I     8             each other's lives on social media. If
      9      invited him to call the office, he was like,     9             something important happens it let's you know
     10      never mind, you're just not going to answer     10             to send a card. If somebody posts they're sick
     11      like you've not answered on this. I don't go    11             and that's a friend that I hadn't talked to in
     12      into a big detail. I'm not on Twitter for two   12             awhile, it lets me know to reach out to them.
     13      to three weeks at a time. So if someone cues    13             So, yeah, to that extent I don't plan to shut
     14      me in that a child or something is -- you know, 14             down anything. Plans change, but right now I
     15      I'm not going to ignore them. The hardest       15             don't plan to shut down anything.
     16      thing for –- to get young people to do is get   16           Q I now want to go ahead and I want to move and
     17      involved in the legislative process. Trying to  17             talk about your Twitter homepage. So, I'm
     18      explain to them this is not, you know, page I   18             going to show you what I'm marking as
     19      wrote. You know, I basically try to respond if  19             plaintiff's deposition --
     20      it's quick. Then, I come off and ask them to    20           A Uh-huh.
     21      go to my –- to contact me at the office.        21           Q –- "Exhibit #3."
     22    Q And so as we've just discussed, you interact    22           A Uh-huh.
     23      with other Twitter users on matters relating to 23           Q Is this your Twitter page?
     24      the legislature and politics?                   24           A Yes.
     25    A Very infrequently.                              25           Q Is this a fair and accurate representation of
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       1     your Twitter page?                                   1     friends and family in it so that generally –-
       2   A  Yes, it is. Uh-huh. My marriage photo is the        2     besides my wedding, becomes my cover photo for
       3     profile picture.                                     3     all of my pages. Even my personal Facebook
       4   Q At the top of the page I see you in a photo          4     page, but I don't know what it is now because
       5     with a group of people.                              5     that changes more frequently. I think it's me
       6   A Oh, yeah, that's always my favorite profile          6     and my husband at the church.
       7     photo. It usually stays on all my social             7   Q So you mentioned that this photo is from the
       8     media. It is a qualifying photo, but that is         8     day you qualified to run for Senate District
       9     -- usually be the picture that has most of my        9     34. Did you run in this race unopposed,
      10     friends and family on it, so that remains           10     correct?
      11     current.                                            11   A Not in –- let me see which photo it is right
      12   Q You said it was a qualifying photo.                 12     now. I'm sorry. From Exhibit 3, that's the
      13   A Right.                                              13     most recent. I was not unopposed. In the one
      14   Q What do you mean by that?                           14     from Exhibit 4, I think I was unopposed. I was
      15   A Qualifying for public office. That's usually        15     unopposed in Exhibit 4 when the cover photo was
      16     when my friends –- most of my friends and           16     that last prayer breakfast. I was opposed in
      17     family come together most.                          17     #3 Exhibit. I was opposed.
      18   Q I now want to show you what I'm marking as          18   Q The cover –-
      19     plaintiff's deposition "Exhibit #4."                19   A See --
      20   A Oh, and I see my last tweet, which is about         20   Q -- photo from Exhibit 3 comes from the post in
      21     God.                                                21     Exhibit 4, correct?
      22   Q I want to show you this. Is this the post from      22   A No. I'm sorry. I should have looked at them.
      23     which your Twitter cover photo comes from?          23     You see I have on a red dress where they -– and
      24   A Yes, it is.                                         24     you see different people in that post. My
      25   Q Are you familiar with this tweet?                   25     sister has on a red and white dress and this
                                                      Page 182                                                 Page 184

      1    A   I am. We have a prayer breakfast before each  1          one she has on a blue dress. I always wear
      2      post –- I mean before each qualifying. And      2          red. One is -- the #3 is a high-collar, so
      3      listen, I've never said that I didn't post      3          that's not the same post. Number 3 is about
      4      about my political office on Twitter. You just  4          six years ago when I first ran for Senate.
      5      showed me Exhibit 3 which had posts about God, 5           Exhibit 4. Let me see which exhibit it is.
      6      it had nothing to do with politics. If you      6          Exhibit 4 is when I first ran for Senate
      7      show me some more posts, you're going to see    7          unopposed five or six years ago. And then
      8      posts about my family. My Twitter profile       8          Exhibit 3 is the newest time I ran for Senate
      9      picture is my husband and I because I recently  9          and I was opposed. So it –- they're different.
     10      was married. I think we can kind of –- I'll    10          So this post and this is not the same.
     11      let you ask your questions.                    11        Q Okay. If we look back –- can I direct you back
     12    Q And so you said your cover photo is from this  12          to Exhibit 3?
     13      event?                                         13        A Sure.
     14    A No. My cover photo –- I will give you back     14        Q You talked about your profile picture.
     15      Exhibit 3. My cover photo is my husband and I 15         A Uh-huh.
     16      marriage official photo.                       16        Q And that you said it was that of you and your
     17    Q Is that your --                                17          husband?
     18    A Oh, my --                                      18        A Right.
     19    Q –- cover --                                    19        Q Did you choose your own profile picture?
     20    A –- profile. Yeah. My cover photo is from that 20         A I did. Uh-huh.
     21      event. If you see the kids in the front are    21        Q Why did you choose that profile picture?
     22      kids from my church and my best friend's kids. 22        A Because it's the newest current event in my
     23      And then I have my father beside me, my        23          life.
     24      sisters, all of my friends, my nephew. It is   24        Q Also in Exhibit 3, can you see your Twitter
     25      the photo every four years that has most of my 25          bio?
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      1 A "I'm interested in a better Louisiana." And           1     that is my Senate page.
      2   I've always been interested in a better               2   Q The katrinarjackson.com --
      3   Louisiana. When I worked for the House of             3   A Uh-huh.
      4   Representatives, I was. When I worked as the          4   Q –- is your website?
      5   Legislative Black Caucus Executive Director, I        5   A Yes.
      6   was. That's kind of a saying I've always had,         6   Q What information can someone find on this
      7   I'm interested in a better Louisiana.                 7     website?
      8 Q That statement, I'm interested in a better            8   A Unfortunately, nothing current. I need to do
      9   Louisiana, what does that statement mean to           9     better. But it was probably linked when it was
     10   you?                                                 10     created. I don't have a law office website I
     11 A A lot of people even when I was in –- after law      11     would have linked that to. I don't have a
     12   school, a lot of attorneys left the state of         12     personal website I would have linked that to.
     13   Louisiana. When I worked for the legislature,        13     I tend to link everything I can so people can,
     14   a lot of people were leaving. In my youth I          14     you know, find me in whatever capacity I'm in.
     15   felt like it was more –- it's kind of like one       15   Q Okay. I'm now going to show you what I'm
     16   of those better together statements. It was          16     marking as plaintiff's deposition "Exhibit #5."
     17   more about retaining people here in the State        17   A I'm going to keep them in order for you. Yes.
     18   of Louisiana. I've had a lot of law office           18   Q Is this the homepage of your website?
     19   staffers to kind of come in and out of               19   A Yes. That's my Senate website. That's the one
     20   Louisiana. Move. So it's just that, you're           20     I referenced was linked.
     21   interested in a better Louisiana. Also, it           21   Q Is this a fair and accurate representation of
     22   means -- in my faith, it means that I'm              22     your website, katrinarjackson.com?
     23   interested in Louisiana that upholds the             23   A Yes, it is.
     24   principals of God. I'm very transparent on           24   Q So, when we arrive and look at this landing
     25   that. In my personal life I'm interested in a        25     page, there are several links. In the upper-
                                                    Page 186                                                   Page 188

      1     better Louisiana for my nieces and nephews who      1     lefthand corner is a button that says,
      2     are questionable about staying in Louisiana.        2     "Donate"; is that correct?
      3     When I look at the poverty when I drive             3   A That is correct.
      4     throughout Louisiana, I'm interested in a           4   Q I'm now going to hand you what I'm marking as
      5     better Louisiana for the people of Louisiana.       5     deposition "Exhibit #6." Is this -– is this a
      6     It is a mutlifaceted heart type of thing. The       6     fair and accurate representation of the page
      7     heart of the matter. I've had times where           7     one is directed to after clicking the donate
      8     before I was elected I thought about moving,        8     button on --
      9     but didn't. And so I remained committed, you        9   A Yes.
     10     know, to where I grew up at. Probably during       10   Q –- katrinajackson –- katrinarjackson.com?
     11     the Ronald Green matter, it meant I was --         11   A Yes, it is.
     12     interested in a better Louisiana because people    12   Q And on this page there is a statement that
     13     were being killed. And I don't know when I put     13     says, "State Rep. Katrina Jackson is expanding
     14     this up, I would have to go back and look. It      14     the territory of her Servant's reach to serve
     15     might have been triggered from an event. It        15     more people and parishes. It is through this
     16     may have been triggered for emotions, but that     16     ministry that she has experienced great joy.
     17     is my statement when bad things happen.            17     She has the passion to help people across
     18   Q In your Twitter bio, still in that --              18     Northeast Louisiana and this Great State.
     19   A Uh-huh.                                            19     Louisiana's most valuable resource is its
     20   Q –- Exhibit 3. Sorry.                               20     people and therefore she's asking that we unite
     21   A Uh-huh.                                            21     and donate to continue to push our region and
     22   Q Do you have any links in your Twitter bio?         22     state forward."
     23   A I have a link to katrinarjackson.com. That is      23   A Yes.
     24     my Senate page that -– Lord, I don't even do       24   Q Is that right?
     25     any work on hardly. I need to do better. But       25   A Uh-huh.
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                                                #: 517
      1   Q  It reads as though you created this donate page      1     of the six parishes --
      2     when you were a State Representative but had          2   A  Okay.
      3     then decided to run for Senate; is that               3   Q  –- that are in the Senate.
      4     correct?                                              4   A  Uh-huh.
      5   A Right. And they probably caught the Senate            5   Q  Your Senate district, correct?
      6     part and didn't catch the State Rep. part. Or         6   A  Seven. It should be seven unless there's an
      7     either they –- I don't think I –- this page was       7     error.
      8     put up. I don't think this page –- I can't            8   Q Oh, seven?
      9     remember, was put up when I was a State Rep.          9   A Uh-huh.
     10     So they may have copied and pasted it from           10   Q Okay. But you can see where that is on the
     11     somewhere else but it might have been put up         11     website?
     12     when I was a State Rep. I just don't –- I            12   A Somewhere on the website it should tell you
     13     don't recall having this page when I was a           13     what parishes I represent, yes.
     14     State Representative.                                14   Q And we can click a hyperlink to a gallery,
     15   Q And also on this –- on this page you explain         15     which shows various photos of you at work in
     16     that you're choosing to run for Senate to            16     the legislature; is that correct?
     17     expand your reach and to help more people            17   A You should be able to see that, yes. I have a
     18     across Northeast Louisiana and the State --          18     lot of pictures on that website.
     19   A Right.                                               19   Q On this website there is also a contact button
     20   Q –- correct?                                          20     which allows someone to submit a form to
     21         Can you talk more about that?                    21     contact you, correct?
     22   A Northeast Louisiana is where my constituency         22   A Right. Uh-huh.
     23     is. I do know sometimes my bills have                23   Q And you also have links to your platform; is
     24     statewide impact and so this Great State.            24     that correct?
     25     Also, I've always said in the legislature that       25   A I would have to see it. I think I do, yes.
                                                      Page 190                                                   Page 192

      1   what happens for Northeast Louisiana impacts    1           Q  And do you have that exhibit?
      2   the state as a whole. I've always felt, and     2           A  No.
      3   I've been very clear on that, that Northeast    3           Q  Exhibit 5?
      4   Louisiana receives less representation because  4           A  You gave me –- okay. Go back to Exhibit 5. I
      5   our districts are so spread. Whereas you may    5             apologize, yes. Uh-huh.
      6   have three –- two or three senators or more in  6           Q And so there is a link to your platform?
      7   Baton Rouge or four or five senators in –- or   7           A Right.
      8   more in New Orleans. Northeast Louisiana has,   8           Q I'm now handing you what I'm going to mark as
      9   I think, a total of four senators spanning      9             deposition "Exhibit #7."
     10   across multiple parishes. So what I always try 10           A Uh-huh.
     11   to bring home to people of this state is that, 11           Q It's a couple of pages.
     12   whatever happens in one region of the state    12           A Uh-huh.
     13   greatly impacts the other. And when people     13           Q Is this a fair and accurate representation of
     14   determine whether or not they're going to move 14             the platform as it's seen on your website?
     15   into the state if Northeast is not, you know,  15           A Yes. Uh-huh.
     16   where it should be business-wise, then it may  16           Q The issues that you list here, these are the
     17   impact other areas of the state. I always try  17             priorities of your office; is that correct?
     18   to draw that analogy to ask people to help     18           A Yes, it is. Uh-huh. Myriad of issues.
     19   Northeast Louisiana when we're in the          19           Q Did you write this platform?
     20   legislature.                                   20           A With the help of probably a consultant, yes.
     21 Q I'd now like to bring you back to the main     21           Q So finally, to return back to that –- oh. You
     22   landing page of your website. That was marked 22              said with a consultant. Do you know who that
     23   as Exhibit 5.                                  23             consultant –- who was the consultant?
     24 A Uh-huh.                                        24           A I'm not sure. This was created, you know,
     25 Q On this main page we can view a drop-down list 25             probably six or seven years ago.
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                                               #: 518
      1   Q  So you don't –- you don't recall?               1      A   I don't have a newsletter anymore.
      2   A  I don't. It may have been Mr. Hartman, but I'm  2      Q   Or -– excuse me. Your –- the contents you come
      3     not sure if he was –- because I don't use him    3        out –- you put out to your email database?
      4     anymore, but it could have been him.             4      A It's –- if it's going –- yeah. From that
      5   Q Okay. I now want to direct you back to Exhibit 5          jacksonk@legis.la.gov that is our legislative
      6     5 --                                             6        email so it would come from that.
      7   A Uh-huh.                                          7      Q And you write these emails?
      8   Q –- which is the main landing page.               8      A Most of them, yes. Sometimes staff may send
      9   A Okay.                                            9        you a memo about, you know, you may request a
     10   Q On this page on Exhibit 5, we see that members 10         memo about something or a current issue even
     11     of the public can sign up for a newsletter from 11        sometimes that is not a legislative matter,
     12     your office; is that --                         12        more or less, but you're trying to communicate
     13   A Right.                                          13        with your constituents. Maybe a grant that's
     14   Q –- correct?                                     14        coming available to the federal government.
     15   A That's correct.                                 15        Maybe an event that's taking place. Like I've
     16   Q How often do you put newsletters out?           16        sponsored this –- this year I'm sponsoring a
     17   A We start putting them out –- this website was   17        big event in Morehouse Parish with a number of
     18     last changed three years ago because of having  18        others for a Fall Fest that's going to go out
     19     one staffer it became too much. They couldn't   19        by email. If a school has a certain award,
     20     keep up with the newsletters so we do more by   20        that may go out, you know? Schools –- the
     21     email which I explained at the beginning of the 21        district score is high and I may congratulate
     22     deposition.                                     22        the school district. You know, it's just –-
     23   Q Okay. And I wanted to talk more. You            23        it's a myriad of things.
     24     mentioned you have an extensive email database? 24      Q And how does one join this email list?
     25   A I –- yes. That's constituents who sign up when 25       A It's so many various ways. They –- some people
                                                    Page 194                                                  Page 196

      1     we go to district meetings in each parish like      1     don't join, we'll just put them in. Because
      2     to talk about things. Or it may be people that      2     they've emailed us about a issue and we want to
      3     have emailed me about issues and they may –-        3     keep them up-to-date. Constituents when they
      4     like the pharmacists are in a pharmacy              4     email, when my staff has time –- because they
      5     database.                                           5     always don't have time, they may add
      6   Q Do you post your newsletter to that email list?     6     constituents to it. So, somebody may come in
      7   A I don't have a newsletter anymore. That's what      7     and say, I want to be updated on this or call
      8     I –- it wasn't –- my staff wasn't able to keep      8     in and they'll put them on that subject matter
      9     up with it.                                         9     database. It's not a way -- usually -– this
     10   Q What do you –- what do you put out to your         10     website, it's not even pushed that's why it's
     11     email database?                                    11     not up-to-date so most of the time it's from
     12   A A number of things. Like this week I think         12     contact.
     13     what's going out, because the deadline hasn't      13   Q And in your communications through this email
     14     passed, is that senior citizens, if they           14     list, how often do you send those?
     15     haven't, Meet the Go Freeze, what happens with     15   A I can't tell you. It's –- sometimes it's a
     16     their homestead exemption. And we have a law       16     lot, sometimes it doesn't. Like I know I need
     17     that you can freeze it at a certain age. I         17     to get that out to the seniors so it's going to
     18     think it's 65. So that's going to go out to        18     –- something's going to go out to my senior
     19     let them know, before that increase hits,          19     database. And sometimes I don't want to overly
     20     freeze it. Because once the increase hits you      20     inundate them, so if I feel like we're sending
     21     can't go back and freeze it, so you'll now         21     a lot. If I get busy in my law practice I
     22     freeze it at the amount of the increase. Stuff     22     can't send it. It just –- it depends.
     23     like that.                                         23   Q But it's not regular?
     24   Q So the information on the newsletter is of a       24   A Sometimes it becomes regular if I'm having a
     25     legislative nature?                                25     slow period and then other times it's not
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      1     regular.                                           1 A If my staff is running quickly and it's a bill
      2   Q   Okay. Are there different databases based on     2   that people have been asked to be updated on,
      3     the content of the email? Like you mentioned       3   it's going to go to the –- it's not a database.
      4     --                                                 4   We delete them every year. Like a bill, it'll
      5   A Sometimes it is, yes. And that might be from       5   have a bill number on the folder and the email
      6     across the state. If somebody from Baton Rouge     6   and they'll do a reply all to this folder to
      7     asks to keep them updated, I'm going to add        7   give an update. Then that –- only that
      8     them to the list and if they want to receive       8   particular folder gets the update at the end of
      9     it, they can. I do -– I used to do weekly Zoom     9   session. Because bill numbers are the same
     10     meetings. So it's not for a targeted area, but    10   each year, we delete them.
     11     it's mostly to inform my constituents. If         11 Q Uh-huh.
     12     somebody talks to their mother in somewhere       12 A So that we can, you know, start the next
     13     else and says –- even I have people that lived    13   session. If it's a current issue like -– what
     14     in Louisiana and they'll say, "Hey, I used to     14   was an issue? Health –- car insurance rates.
     15     live there. I want to keep updated because of     15   That stays there, right? I don't know if it's
     16     my parent." Then, I'm going to add them so        16   there now because I think we're finally not
     17     they can communicate to their parent that         17   dealing –- we're dealing with the issue but
     18     doesn't get on email that much what's going on    18   it's not –- and you're updating people as stuff
     19     in the district.                                  19   happens. So it just depends on the issue. It
     20   Q Let me rephrase that question. In your email      20   depends on –- it depends on everything. Now,
     21     -- you've mentioned that some event that's        21   if it's a general constituent in the district
     22     coming up that you're about to email about is     22   –- and the problem is, is sometimes my
     23     --                                                23   constituent database gets a little merky
     24   A Uh-huh.                                           24   because people will say, "Oh, yeah, I'm in your
     25   Q –- about the senior homestead exemption,          25   district," and you don't know. The staff may
                                                   Page 198                                                 Page 200

      1     correct?                                         1     have not taken, you know, good information and
      2   A Right. Uh-huh.                                   2     they're in that database so they're getting
      3   Q If someone –- I'm 24. If someone around my age 3       those emails. I think at one time they mixed
      4     were in your newsletter, would they get --       4     the lobbyist database up with my constituent
      5   A I don't have a newsletter anymore.               5     database and the lobbyist was getting emails.
      6   Q Or excuse me. If they were on your email list.   6     At one time every member in Northeast
      7   A Uh-huh.                                          7     delegation that was a representative, somebody
      8   Q Would someone of that age also get that letter   8     said, "I get all of your updates," and I said,
      9     that's targeted to seniors?                      9     "Did you all put my colleagues in there"? So
     10   A It probably will. Because with seniors, I'm     10     it kind of, you know, depends on how proficient
     11     more specific to try to email as many people as 11     your staff is. But this –- let me -– if I can.
     12     I can knowing some of them do not regularly     12     This does not –- Exhibit 5 I think it was or
     13     check their email. Some of them are to the      13     where it says click the contact, that's
     14     point where they may have Alzheimer's and other 14     whatever exhibit that's in, this is not where
     15     issues, so I try to get -– senior emails,       15     we get the majority of our database from.
     16     unless it's a senior giveaway or something like 16   Q Where do you get it from?
     17     that, I'm going to try to get out to as many    17   A As I've testified to before, it comes from when
     18     people as possible because I know some younger 18      people are asking questions. When people walk
     19     people handle their parents' affairs when they  19     in or call and say I want to be updated. And
     20     become seniors. So we –- we're cognizant that   20     we –- we'll go to Facebook and ask our
     21     others handle the affairs of seniors.           21     constituents to sign up so that we can keep
     22   Q But on other topics, not everyone in your email 22     them updated.
     23     list will get a particular email?               23   Q Can you still request to be added via that
     24   A On most topics they will.                       24     contact form on your website?
     25   Q Are there some that they won't?                 25   A The website hadn't changed. I'm sure you can,
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      1     but I don't think –- I –- from my knowledge, no      1   Q   Have you ever let your legislative staff access
      2     one has. If they have, my staff would have,          2     your Twitter account?
      3     you know, added them. But I'm, you know, it's        3   A Not that I can recall because I don't use it
      4     not a frequent used website.                         4     much. What I generally do is access it myself.
      5   Q Why did you link this website to your Twitter?       5     What they have access to is my Senate Facebook
      6   A Because I link generally my websites to my           6     page and they don't have constant access.
      7     pages. I don't have a law office website and I       7     That's just when I get busy and I'll say, "I
      8     don't have a personal website. That's the only       8     need you to go to my Senate Facebook page."
      9     website I have right now.                            9     But other than that, I try to, you know, as –-
     10   Q Is this page linked to your personal Facebook       10     I keep my activity as far as communication on
     11     page?                                               11     legislation to a minimal on –- as far as going
     12   A No. I don't –- I don't think I know how to          12     back and forth, I always kind of say, contact
     13     link Twitter to my Facebook page. I don't           13     the office. So my staff doesn't need access to
     14     think it is. I don't think I know how to link       14     it.
     15     Twitter.                                            15   Q Going back to your legislative staff. You
     16   Q Let me rephrase that. Is your website,              16     mentioned that you have one full-time staffer
     17     katrinarjackson.com linked to your Facebook         17     --
     18     page?                                               18   A Right.
     19   A It has been on there before, yes.                   19   Q –- Theresa Tran.
     20   Q Is it linked currently?                             20         How long has Theresa worked there? Or for
     21   A I don't know if you can link websites to            21     --
     22     Facebook. And I would have to look. I think         22   A Theresa's been back about four months. Before
     23     you can. I would have to look. I wouldn't           23     that, I think about –- I may be wrong, but
     24     know.                                               24     about three or four months.
     25   Q Is it linked to your Instagram?                     25   Q And what is Theresa's title?
                                                     Page 202                                                    Page 204

      1   A  I would have to look. I don't know.                 1   A   She's my legislative assistant. And it could
      2   Q  In response to Interrogatory No. 3, you stated      2     be longer. I'm just –- the year passed, but I
      3     that you have sole access to your Twitter            3     know –- I want to say she came back in –- I
      4     account; is that correct?                            4     can't remember. She's on a quarter system at
      5   A That's correct.                                      5     Tech, so I can't think about the semester like
      6   Q Do you still have sole access?                       6     -- but it was after her last quarter at Tech.
      7   A Yes. Well, besides my attorney. I had to             7   Q Who was –- did you have a legislative staffer
      8     print off a lot of stuff for him.                    8     before her?
      9   Q Do you write all of your tweets?                     9   A Yes. And let me think. And that's sad to have
     10   A Yes.                                                10     to think. I was –- my office was very
     11   Q No one else writes any tweets for you?              11     transient for a while after I loss my full-time
     12   A No.                                                 12     legislative assistant. Who was there before
     13   Q And we've talked about you create some of the       13     her?
     14     graphics you tweet?                                 14   Q Who was your full-time legislative assistant?
     15   A Uh-huh.                                             15   A That's what I'm trying to think. I think the
     16   Q But some of them are created by legislative         16     office was empty for a while. And I'm trying
     17     staff --                                            17     to remember who -- I would have to get the
     18   A Right.                                              18     records from the House. I had students coming
     19   Q -– or Theresa?                                      19     in. Like, somebody would be full time and go
     20   A Yes. She's a legislative staffer as well.           20     back to school, I think that's what it was. So
     21   Q Yes. She creates some but then the general          21     I –- to get you an accurate of the order and
     22     staff in the --                                     22     I'll supplement it and I'll get it from the
     23   A Right. Creates some as well.                        23     Senate.
     24   Q –- communications office?                           24   Q Did the legislative staffers who worked before
     25   A Yes.                                                25     Theresa, did they have the same
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      1     responsibilities?                                1        would have posted this tweet. I do all my
      2   A  Yes. Uh-huh.                                    2        Twitter access. It would have been me.
      3   Q  There's no –- there wasn't any difference?      3      Q So is this a fair and accurate representation
      4   A  To the extent that Theresa's part-time          4        of your tweet?
      5     legislative and part-time –- full-time           5      A It's a copy. If you say it's on there, then if
      6     legislative to a certain extent and part-time    6        you're saying you pulled it from Twitter it
      7     law office, hers may be different. But, no, as   7        will be, but I can't go back to 2012 and
      8     far as the legislative duties they would not     8        remember what I posted.
      9     have been different. During COVID that was the 9        Q So is this a fair and accurate representation
     10     only time they would have been different        10        of your tweet?
     11     because the needs of the constituents was       11      A I cannot go back to 2012 and remember what I
     12     different, but it's still the same focus on     12        posted on Twitter. So, I would have no
     13     constituency.                                   13        personal knowledge if this is something that's
     14   Q You mentioned that your legislative staff       14        typed out or from my Twitter. Assuming it's
     15     sometimes accesses your Facebook page?          15        from my Twitter, yes. I've given you the
     16   A Uh-huh. Yes. My Senate Facebook page.           16        general statement that sometimes I post on all
     17   Q When do they do that?                           17        of my social media platforms about my personal
     18   A Only when I call them and give –- call in and   18        life, my legislative life, and –- so...
     19     give them the password. It probably has         19      Q Is there anything that could refresh your
     20     happened twice in this year at the most.        20        recollection as to whether this is a fair and
     21   Q And why do you do that?                         21        accurate representation of your tweet?
     22   A If I'm busy and something needs to go out, a    22      A Probably not. This is 2012.
     23     deadline or something, and I'm in a meeting I   23      Q You requested your data from Twitter, correct?
     24     will call in or if I'm not near my computer or, 24      A I did.
     25     you know, just busy –- I'm running and I'm      25      Q And that Twitter data included tweets that you
                                                    Page 206                                                   Page 208

      1     driving and I don't want to drive and get on        1     had sent?
      2     there, I'll say, "Please post this -–" I don't      2   A I don't know what it included. If you have it
      3     if it happened at all this year.                    3     I can look at it. From what I recall I looked
      4   Q Do you recall any -– do you have –- do you          4     at it for two or three minutes. I couldn't
      5     recall any examples of times that you've done       5     make heads or tails of it so I sent it to Tommy
      6     this?                                               6     to send to you.
      7   A No. Because I don't think it happened this          7         MS. SCHWARTZMANN:
      8     year. I don't remember it happening this year.      8             I think we may need to take a break for
      9   Q Have you ever authorized any of your                9         a minute or two. We'll step outside.
     10     legislative staff to send a tweet from your        10         WITNESS:
     11     account?                                           11             Okay.
     12   A Not that I can recall, no.                         12         MR. HAYES:
     13   Q Has any of your legislative staff ever logged      13             Okay.
     14     into your Twitter account?                         14         MS. SCHWARTZMANN:
     15   A Not that I can recall.                             15             What time is it?
     16   Q I now want to shift and I want to talk about       16         COURT REPORTER:
     17     some more specific tweets. First, I'm going to     17             The time is 1:14. Off the record.
     18     show you a tweet that I'm marking as -– or the     18             (OFF THE RECORD)
     19     plaintiff's deposition "Exhibit #8," which is a    19         COURT REPORTER:
     20     tweet dated March 20, 2012. Are you familiar       20             Okay, the time is 1:30 p.m., we are
     21     with this tweet?                                   21         back on the record.
     22   A This jogs my memory, but it's 2012 -– 2012, so     22   EXAMINATION CONTINUED BY MR. CROW:
     23     I wouldn't remember it.                            23   Q Is this a fair and accurate representation of
     24   Q Did you make this tweet?                           24     your tweet?
     25   A It would have been me. I make my tweets. I         25   A I answered that. I won't remember what I
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      1     tweeted in 2012.                                    1   Q  And Twitter produced this data to you; is that
      2   Q   If you do not know if this is a fair and          2     correct?
      3     accurate representation, do you have any reason     3   A That is true.
      4     to dispute that this is your tweet?                 4   Q And you then produced that data from Twitter to
      5   A I'm an attorney and I don't ever give a final       5     us?
      6     answer on something that I don't know. It's –-      6   A That is true.
      7     I'm trained to not authenticate something I'm       7   Q Can you review that data from Twitter? Let me
      8     not familiar with or don't have personal            8     rephrase that. You can review that data from
      9     recollection of.                                    9     Twitter, correct?
     10   Q Do you have any evidence that this is not your     10   A I reviewed it for two or three minutes. I kind
     11     tweet?                                             11     of couldn't make sense of a lot of it and I
     12   A I didn't bring evidence to this deposition.        12     sent it to my attorney.
     13     Didn't know I needed it.                           13   Q If that data shows that this tweet was from
     14   Q Do you have any evidence that this is not your     14     your account, do you have any reason to dispute
     15     tweet?                                             15     that data?
     16   A I didn't bring evidence to –- I don't know what    16   A I'm not sure. Look, this is my first time ever
     17     I would have in my possession. I would have to     17     requesting data from Twitter. So I would have
     18     go back and research this.                         18     to look through it, probably figure out what it
     19   Q So is that a, no?                                  19     is and –- but my best recollection of reminding
     20   A Not with me today.                                 20     me of what I tweeted on Twitter is going to be
     21   Q Does evidence exist, at all, that this is not      21     to go through those pages.
     22     your tweet?                                        22   Q But do you have any reason to dispute that if
     23   A I'm not sure it's my -– I don't remember this      23     your Twitter data showed that this tweet was
     24     tweet. It's my first time seeing it. I don't       24     from your account that that is not true?
     25     know. What I've suggested to my attorney is        25   A I would have to look at it first fully and
                                                    Page 210                                                  Page 212

      1     that if you would like me to authenticate           1     thoroughly, which I have not done. I would
      2     tweets, it would take a while to do that            2     have to get familiar with Twitter data and what
      3     because I would have to go into Twitter and         3     was sent to us.
      4     look at tweets and get back down to this. What      4   Q Senator, do you have any reason to dispute that
      5     I've suggested is, if you want to propound some     5     the Twitter data that you requested and
      6     discovery, then I can look at each individual       6     received from Twitter is inaccurate?
      7     tweet that you want me to authenticate.             7   A I haven't fully looked through it. It's what
      8   Q Where would you look for evidence that would        8     Twitter sent.
      9     prove that this is not your tweet?                  9   Q That doesn't answer my question. This is a yes
     10   A I would sign into Twitter and see if it's          10     or no question. Do you have any reason to
     11     posted on Twitter.                                 11     believe that the Twitter data that you
     12   Q Is there anywhere else?                            12     requested and received from Twitter is
     13   A I would look –- that's it. I would look into       13     inaccurate?
     14     Twitter and see if it's on my Twitter page. I      14   A I know you would like it to be a yes or no
     15     could verify that it was on my Twitter page.       15     question, but I have not thoroughly reviewed
     16   Q Does this tweet appear on your Twitter feed,       16     the Twitter data. I looked at it for two or
     17     correct?                                           17     three minutes and I sent it my attorney. So
     18   A I'm not sure. I would have to go all the way       18     before I can answer that as a yes or no
     19     back down to 2012 and look and see.                19     question, I would have to fully look through
     20   Q If the tweet appears on your Twitter feed, that    20     the data and see if there was anything I had
     21     means you made the tweet, correct?                 21     reason to dispute.
     22   A Yes. That is accurate.                             22   Q As you sit here today, in this deposition, do
     23   Q You did a request for your data from Twitter,      23     you have reason to believe that the Twitter
     24     correct?                                           24     data that you received from Twitter and
     25   A I did.                                             25     produced to us is inaccurate?
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       1   A   Not without reviewing it.                           1 A I would have to –- we've kind of come down to
       2   Q   As you sit here today?                              2   that, but we're kind of going through this.
       3   A   I have not fully reviewed it. So as I sit here      3   And if we're going to go through this with
       4     today, you're asking me if a document I haven't       4   every tweet, we're going probably go through
       5     fully reviewed, do I have a reason to dispute         5   ten folders before the time is up.
       6     it. I've said, I don't have a reason not              6      MR. HAYES:
       7     without reviewing all of the data.                    7          And we had an opportunity to discuss
       8   Q So you don't have a reason as you sit here            8      this off the record, too. The problem is
       9     today?                                                9      that this is not something that we had
      10         MR. HAYES:                                       10      prior notice of preparation to discuss the
      11            Objection. Asked and answered.                11      individual tweets and which ones were going
      12   BY MR. CROW:                                           12      to be identified. And there's no efficient
      13   Q In this tweet in Exhibit #9, what did you            13      way by which to go through the Twitter –-
      14     tweet?                                               14      the Twitter page to identify this as being
      15   A If this is one of my tweets, I tweeted that          15      posted based –- for her to do that based on
      16     "The Education Reform bills to be heard on the       16      her memory.
      17     House Floor ask your Legislators to vote NO          17      MS. SCHWARTZMANN:
      18     Con-" --                                             18          Are we on the record or off the record?
      19         COURT REPORTER:                                  19      COURT REPORTER:
      20            It's 8.                                       20          Yes. We're on the record.
      21         WITNESS:                                         21      WITNESS:
      22            Eight. I'm sorry, #8.                         22          Oh.
      23         MR. CROW:                                        23      MS. SCHWARTZMANN:
      24            Oh. My apologies.                             24          Because I --
      25   A "Legislators to vote No Contact information          25      WITNESS:
                                                       Page 214                                                 Page 216

      1      found –- NO Contact information found at         1               I said off the record.
      2      legis.state.la.us."                              2            MS. SCHWARTZMANN:
      3    MR. CROW:                                          3               Yeah.
      4    Q You told Twitter users in this tweet to contact  4            WITNESS:
      5      their legislators, correct?                      5               Oh.
      6    A Correct.                                         6            MS. SCHWARTZMANN:
      7    Q Do you think it's important to let Twitter       7               Also.
      8      users know what bills are being heard by the     8            MR. HAYES:
      9      legislature?                                     9               And I'm not offering that as a talking
     10    A I think it's important to know constituents. I  10            objection, I'm just –- I'm just trying to
     11      don't divide constituents by Twitter users, by  11            relay what the reality of the situation is.
     12      Facebook users, by Instagram. Some of my        12            MS. SCHWARTZMANN:
     13      constituents don't have any social media. I     13               Well, I think we have no choice because
     14      just generally think it's important to let my   14            we're here, other than to ask the Senator
     15      constituents know what's being heard, I do that 15            what she remembers.
     16      in various ways.                                16            WITNESS:
     17    Q I'm now showing you what I'm going to mark as 17                 Okay. We can go through each tweet and
     18      plaintiff's deposition "Exhibit #9," which is   18            ask me what I remember. But I've said and
     19      dated April 22, 2012. It's two pages. Are you   19            since we're still on the record, let me
     20      familiar with this tweet?                       20            answer this very clearly. Have I tweeted
     21    A I'm not, it's 2012. Any tweet you give me from 21             about legislature on Twitter? Yes. Have I
     22      2012 my familiarity with it is not going to be  22            on my public –- on my private Twitter page?
     23      there. That was, what, how many years ago?      23            Yes. Have I tweeted about my family on my
     24      Twelve years ago.                               24            private Twitter page? Yes. Have I tweeted
     25    Q Was this tweet made by your account?            25            about other matters besides the legislature
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      1     on my private Twitter page? Yes, I have.         1        day. Right?
      2     I've admitted to that. But for me to             2        MR. HAYES:
      3     authenticate multiple tweets from 2012 and       3            Understood. I understand.
      4     twelve (12) and thirteen (13) years ago,         4        MS. SCHWARTZMANN:
      5     I'm not being rude, I'm getting a little         5            I would like to get as close to done as
      6     frustrated because I'm not going to be able      6        we can, hopefully done. So that we can do
      7     to do that and you want me to definitely         7        other stuff by written instrument.
      8     identify something that if it was posted,        8        MR. HAYES:
      9     it was posted in 2012.                           9            Sure. Sure understood.
     10     MS. SCHWARTZMANN:                               10        MS. SCHWARTZMANN:
     11         And I don't want to argue back with         11            Okay.
     12     your client, Tommy, so I'll address this to     12   BY MR. CROW:
     13     you, which is just to say, we have -– as we     13   Q So do you have any recollection of this tweet?
     14     go through them, there may be some that she     14   A No. No personal recollection of this tweet. I
     15     will remember and some that she won't,          15     can’t say that it was on my page or it wasn’t.
     16     right? Because it's not as the memory was       16     All I can generally say is that I posted tweets
     17     wiped in 2012 or '13.                           17     sometimes about legislation on Twitter.
     18     MR. HAYES:                                      18   Q In this exhibit, it shows your name at the top,
     19         Understood.                                 19     correct?
     20     MS. SCHWARTZMANN:                               20   A It does, yes.
     21         So we got we weren't able to remember       21   Q Is that your Twitter handle underneath,
     22     the first one. We'll see if there's a           22     @katrinarjackson?
     23     memory on this one, but there may be some       23   A It is.
     24     obviously that are going to stick out and       24   Q In this tweet, it says “Contact members of
     25     you're going to remember. So --                 25     House Ways and Means Committee and ask them to
                                                 Page 218                                                    Page 220

       1    MR. HAYES:                                       1     vote in favor of HB 1106 -Support Public
       2        And I --                                     2     Education,” correct?
       3    MS. SCHWARTZMANN:                                3   A That’s correct.
       4        –- I don't want to just wholesale say        4   Q And there is a graphic of who is on that
       5    let's give up because --                         5     committee, correct –- attached to this tweet?
       6    MR. HAYES:                                       6   A That’s what it seemingly is, yes.
       7        No, no. And I -– and I'm not                 7   Q Why –-
       8    suggesting you give up, but to go through        8   A No –- Wow, that would be a –- that would be a
       9    the entire –- the entire line of                 9     long list of members. Maybe we had committees
      10    questioning for each individual one, it         10     that big. I don’t know. But it looks like it.
      11    might be expedited by saying, you know,         11   Q Why did you tell Twitter users to contact
      12    here's –- one I mark as "Exhibit 10" and        12     members of the House Ways and Means Committee
      13    you recognize this and you confirm that it      13     and ask them to vote in favor of the bill?
      14    was –- that it's identified as being on her     14   A I don’t remember what 1106 is, but if this is
      15    page, you could find out if she has memory.     15     my tweet, it probably went to a broad base of
      16    But if she doesn't have memory, to continue     16     emails, every social media account I had, both
      17    to press her on that is just a waste of         17     personal and public –- both personal and my
      18    time here today. So the –- I think –- I         18     senate –- if I had my senate at the time on my
      19    think that the –- in the interest of the        19     rep account on my Facebook, if I had it. But I
      20    ticking clock and the -– and everything         20     wouldn’t remember what this is. It says to
      21    else, that that might be the most expedient     21     support public education. If this is a tweet I
      22    way to approach this.                           22     made, it must have been a bill dealing with
      23    MS. SCHWARTZMANN:                               23     public education.
      24        I understand. What I'm trying to avoid      24   Q Why would you tell Twitter users to vote in
      25    is having to recess and come back another       25     favor of a bill?
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      1   A   I would have told everyone to vote in favor of  1     correct, in order to do so?
      2     a bill if I was in support of it.                 2   A  It’s a link. I don’t think that link is fully
      3   Q Is there any other reason you would tweet that?   3     out. I would probably think that was a link to
      4   A No.                                               4     the senate members.
      5   Q I’m now showing you what I’m going to mark as 5       Q I’m now going to show you what I’m marking as
      6     “Deposition Exhibit #10" which is dated May 29, 6       “Deposition Exhibit #11." And this is dated
      7     2012. Are you familiar with this tweet?           7     September 14, 2012. Are you familiar with this
      8   A Oh, 1106 –- yes. I’m not familiar with the        8     tweet?
      9     tweet as far as whether I tweeted it or not.      9   A No. But I’m familiar with the subject matter.
     10     It looks like 1106 would have been a bill that   10     I’m familiar with my press release because I
     11     I authored now that there is further             11     helped fully write this press release. I mean
     12     information on this bill. That was a tax         12     I’m not familiar with tweet –- with remember
     13     rebate for donations to public schools, which    13     tweeting it, but I remember this press release.
     14     I’m very familiar with because I think I re-     14   Q You do remember the press release?
     15     authored this bill a few years ago but it’s not  15   A Yes.
     16     funded. I finally got it passed but it’s not     16   Q Is this a fair and accurate representation of
     17     funded. It was passed and it’s –- it would       17     your tweet and press release?
     18     have been passed the first time –- now I have    18   A Yes.
     19     personal knowledge of that bill –- as far as     19   Q In this, you tweeted @Senlandrieu “Attorney
     20     not the tweet, but Governor Jindal vetoed it.    20     General issued opinion stating that the
     21   Q Is this a fair and accurate representation of    21     governor must have legislative approval to
     22     your tweet?                                      22     privatize OGB,” correct?
     23   A I’m not sure. I can’t ver –- I’m not going to    23   A Yes.
     24     be able to verify tweets from 2012. If you       24   Q And you –-
     25     give me a bill and something about it, I will    25   A If this is my tweet, yes. Team Casey P. would
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      1     remember the –- the instance of the bill.        1      be Karen Carter Peterson. Senator Landrieu
      2     These tweets have none of my personal tweets,    2      would be –- it looks like I’m replying to a
      3     none of my other tweets that were earmark        3      tweet, so I’m not sure if this is from my page.
      4     moments, you know, in my life that I probably    4    Q And you included a press release with this
      5     would remember because the pictures are          5      tweet, correct?
      6     something would make me remember.                6    A Yes, if this is a tweet. I do remember the
      7   Q But there are some from that time period that    7      press release. I helped draft this one.
      8     you might remember, correct?                     8    Q You included your district office phone number,
      9   A Yeah. We going to keep going through them. If 9         correct?
     10     I get to some, I –- the content of what’s on    10    A On my press release?
     11     the pages, whether I remember if it was a tweet 11    Q Yes, ma’am.
     12     from my page, I may not remember. If there’s    12    A Yes, I did. Uh-huh. All of my press release
     13     some content on the page, I will remember the   13      have my district office phone number because
     14     context of the bill, especially if it was one   14      that’s my primary contact for legislative
     15     of my bills.                                    15      matters. They also have my fax and they have
     16   Q At the top of this page, does it have your name 16      my email.
     17     on it?                                          17    Q It has your district email also,--
     18   A Yes.                                            18    A Right.
     19   Q Does it have your Twitter handle?               19    Q -- correct?
     20   A Yes.                                            20    A Uh-huh.
     21   Q In this you told Twitter users to contact their 21    Q Anyone on Twitter could see this press release,
     22     senators to vote yes on the bill, correct?      22      correct?
     23   A If it was my tweet, that’s what I would have    23    A I think if I posted this on Twitter, it was
     24     said.                                           24      definitely posted on Facebook so anyone –- and
     25   Q And attached to this tweet, there is a link,    25      it was sent out to email database usually. And
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      1     most likely streamlined to a folder that had       1     asked to start tweeting with –- and I don’t
      2     OGB because it was a big issue and it would        2     know what year that was –- we were asked to
      3     have been emailed to constituents from that.       3     start tweeting and tagging Louisiana Dems
      4   Q My question was could anyone on Twitter see        4     because that was the official Twitter account
      5     this press release?                                5     for Louisiana Dems. The House at some point
      6   A I think my Twitter account has always been         6     has a Twitter page that’s official
      7     public. If it’s on my Twitter account, it          7     communication from the House. The Senate has
      8     would have maybe –- if it was private, then it     8     an official Twitter page as an official Twitter
      9     would have been just followers.                    9     for the Senate if I’m not mistaken. Louisiana
     10   Q And these people would have been able to call     10     Dems have a Twitter page or some page that I
     11     your district office, correct?                    11     tagged most of the official for the Democrats.
     12   A Right. Where I direct all of legislative          12     Republicans have the same thing. Every caucus
     13     questions to.                                     13     real member has that official Twitter page that
     14   Q Or email you?                                     14     speaks for the group. And the State and the
     15   A Yes.                                              15     Senate have those official Twitter pages that
     16   Q Did Mr. Sherman respond to this tweet?            16     speak for the State Senate and the State House.
     17   A Dayne Sherman? I don’t know if –- oh, he said     17   Q So in this instance, you tweeted this at the
     18     thank you Rep. Jackson –- if this is it –- and    18     official Louisiana Democrats page?
     19     he responds with a thank you.                     19   A Right. And it would have been under my old
     20   Q And did you respond to Mr. Sherman?               20     profile.
     21   A Yeah. “No thanks needed. The people first.”       21   Q And you said you added them because it had been
     22     The people who have OGB insurance who were        22     discussed within the legislature that that was
     23     fighting this. And there was a host of people     23     going to become a practice?
     24     who were fighting the privatization of OGB at     24   A Within the Democratic –- it wasn’t a practice.
     25     the time.                                         25     Within a Democratic caucus, we found out, at
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      1   Q   I’m now showing you what I’m marking as        1       some point, we had a Democratic caucus Twitter
      2     “Deposition Exhibit #12" which is a tweet dated  2       page. So they said hey, can you –- you know,
      3     May 18, 2013. Did you tweet this?                3       tag us on some things so our page gets out
      4   A I don’t have recollection of this tweet. I       4       there. Same thing I do if a school ask me to
      5     might have tweeted it.                           5       tag –- have people on a fund-raiser. My alumni
      6   Q Is this your account that appears on the top?    6       school, which I’m supposed to be at today, ask
      7   A Yes.                                             7       me to tag things with my class, I’ll tag it.
      8   Q Is that your Twitter handle?                     8     Q And this was tweeted during legislative
      9   A Yes.                                             9       session, correct?
     10   Q Is that your profile picture? Let me rephrase   10     A May 28, 2013, assuming that we’re generally in
     11     that. Is that a profile picture you’ve used in  11       session then, it would have been tweeted during
     12     the past?                                       12       legislative session if it’s a tweet from my
     13   A Right, I’ve used this picture for quite some    13       page.
     14     time.                                           14     Q And in this tweet, you encourage Twitter users
     15   Q Can you read what you tweeted in this instance? 15       to contact their legislators?
     16   A What –- I guess you’re asking me to read if     16     A Yes.
     17     this is my tweet –- “Get on the phone and       17     Q I’m showing you what I’m marking as
     18     email, tell legislators to vote for any         18       “Plaintiff’s Deposition Exhibit #13." This is
     19     amendment and bill requiring legislative        19       a Twitter reply dated November 18, 2014. Did
     20     approval to privatize hospitals.” Another big   20       you make this reply?
     21     issue. I remember the issue.                    21     A Let me try to read and see if I remember. If
     22   Q Who did –- did you at anyone in this tweet?     22       it’s from my page, I often say that in the open
     23   A Louisiana Dems because at the time –- I don’t   23       forum, so yes. I don’t often –- that’s like
     24     know what time this was, but I know at some     24       probably the first two or three times I’ve said
     25     point in democratic caucus meetings we were     25       it. And this would have been before I changed
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      1     my Twitter name to Katrina R. Jackson.              1     without going back to my Twitter. But this is
      2   Q  Is this a fair and accurate representation of      2     a subject matter that I often advocate for as a
      3     your tweet?                                         3     former educator and legislator in support of my
      4   A I’m not sure.                                       4     schools.
      5   Q Is that your account that is making this tweet?     5   Q So you said that you recall the legislation
      6   A I can’t authenticate it without going back          6     referencing this tweet?
      7     through my account.                                 7   A Not this specific bill. The issue –- the MFP
      8   Q Let me rephrase that. Is your name on that          8     comes up every year. I have advocated for and
      9     reply to the tweet?                                 9     against the MFP depending on the content of it
     10   A Yes.                                               10     each year. I am assuming if this is my tweet
     11   Q Is that your Twitter handle?                       11     and I –- and I’m asking people –- I’m mad
     12   A Yes.                                               12     because they rejected the MFP, then it was an
     13   Q Is that a profile picture in which you’ve used     13     MFP I was supporting. That’s the conclusion I
     14     in the past?                                       14     can draw if this is my tweet.
     15   A Yes.                                               15   Q Is your name at the top of this tweet?
     16   Q In this tweet –- or in this –- excuse me. In       16   A Yes.
     17     this reply, you said “Our ability to discuss       17   Q Is that your Twitter handle attached to this
     18     issues and candidates in an open forum helps       18     tweet?
     19     create better solutions for Louisiana.” Is         19   A That is my Twitter handle. It wouldn't have
     20     that correct?                                      20     been –- I don’t know when –- well you gave me
     21   A That’s correct, if it’s my tweet, yes.             21     data in something that would have showed what
     22   Q Why did you tweet this?                            22     my Twitter –- may I? Because I think you keep
     23   A Because the person said it was very gracious of    23     –- well, you keep asking about a Twitter handle
     24     me –- there –- at some point in the                24     and it looks like in –- from Exhibit 1, my
     25     legislature, there was a tenure, like a feeling    25     Twitter handle changed to Katrina R. Jackson.
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      1     about a constituent that people would not        1        So it would be my current Twitter handle, yes.
      2     respond. And I’m not sure –- and I would have    2        My Twitter handle in 2021 –- April of 2019
      3     to look at the entire tweet –- this may have     3        would have been –- looks like SenatorKRJ.
      4     been a tweet where the person didn’t agree with  4      Q Are you familiar with the mechanics of Twitter
      5     me and I responded. Just like on emails I        5        handles?
      6     respond. So without seeing the entirety of the   6      A I’m familiar enough to change them.
      7     conversation, I couldn’t get into the context    7      Q And when you change them, it changes your
      8     of why the tweet was made if it was the tweet    8        Twitter handle across all the tweets that you
      9     from me.                                         9        made, correct?
     10   Q What did you mean by open forum?                10      A And not my profile. Yes, it does. But it
     11   A Open forum, meaning –- it could be anything.    11        keeps the data from Twitter. I’m just not as
     12     We have town hall meetings. We have Zoom        12        familiar with making this tweet to say I
     13     meetings. It could have meant anything. It      13        definitely made it. I am familiar with the
     14     might have just been a choice of word.          14        issue, but you keep asking me about my name and
     15   Q I’m now going to show you what I’m marking as 15          my Twitter handle, so I want to be clear. And
     16     “Plaintiff’s Deposition Exhibit #14", which is  16        that’s why I pulled Exhibit 1 that this tweet
     17     a tweet dated April 17, 2019. Are you familiar  17        and the other tweets you’ve asked me about
     18     with this tweet?                                18        would have been made at the time that it was
     19   A I’m not familiar with this tweet, but I am      19        either RepKJackson or SenatorKRJ.
     20     familiar with the MFP. I generally advocate     20      Q In this tweet, you tweeted “A vote against the
     21     for it each year if it has all of the           21        children in education yesterday. Time to call
     22     components that support education.              22        your legislators. On yesterday, purely because
     23   Q Is this a fair and accurate representation of   23        of politics, a majority of the House Education
     24     your tweet?                                     24        Committee rejected the MFP which funds K-12
     25   A I would not remember if this is a tweet I made 25         education,” and you included a link to an
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      1      article, correct?                                   1   A  Okay. I’ll give you back this one, or you want
      2    A  If it was my tweet, yes.                           2     to keep this one?
      3    Q  Why did you tell Twitter users to call their       3   Q We will get to that one in a second.
      4      legislators?                                        4   A Okay.
      5    A If this is my tweet –- that’s why I’ve              5   Q But it’s already marked so we’ll leave it
      6      explained –- I’m very passionate about the MFP      6     there. On June 6th, you tweeted –- or excuse
      7      issue. I was passionate when I was a teacher.       7     me –- this is a tweet dated June 3rd, 2020.
      8      And so I would have tweeted because it was a        8     Are you familiar with this tweet?
      9      good MFP. I wouldn’t have been upset of them        9   A I am not familiar with the tweet itself, but
     10      rejecting something that wasn’t a good MFP. In     10     higher education funding is something, you
     11      this same time frame, I would have tweeted         11     know, I would have asked people to watch. It
     12      things about my family and everything else.        12     looks like this was a time period sometimes
     13    Q Because your account is publicly available, any    13     where I was asking people to watch legislative
     14      Twitter user would be able to see this tweet,      14     committees.
     15      correct?                                           15   Q And what did you tweet in this instance?
     16    A I don’t –- I would have to go back over the –-     16   A I said I’m not familiar with tweeting this. I
     17      was it data they sent or something –- to see if    17     just kind of can tell you the contents around
     18      my page was public the entire time. I can’t        18     higher education if you’re interested in
     19      testify as to whether my page was public in        19     watching the higher education funding and
     20      2019.                                              20     request, you can be –- you can watch here. If
     21    Q I’m now showing you what I’m marking as            21     this is my tweet, it was not about a piece of
     22      “Plaintiff’s Deposition Exhibit #15" which is      22     legislation more than we have preliminary
     23      dated April 21, 2021. Are you familiar with        23     hearings on higher education budgets.
     24      this tweet?                                        24   Q I’m sorry –- you included a link for Twitter
     25    A I am familiar with this tweet. This is the         25     users to watch this, correct?
                                                     Page 234                                                   Page 236

       1     issue I talked to you about at first. I’m more      1   A  Right.
       2     familiar with these tweets because it was a         2   Q  I’m now showing you –-
       3     time when the colleges and universities had –-      3   A  If it’s my tweet, I’m going to keep prefacing
       4     basically we had been in committees on this         4     that when I’m not familiar with a tweet. This
       5     with the women for children –- the select           5     one I’m familiar with, 15.
       6     committee on women and children, so I’m very        6   Q Okay. And so now I want to direct you back to
       7     familiar with this tweet because I followed         7     that Exhibit 15 which is dated April 21, 2021,
       8     this issue more at the time. And it was a           8     correct?
       9     sexual harassment bill that a number of us had      9   A Yes.
      10     co-authored or authored.                           10   Q All right. You said you’re familiar with this
      11        MR. HAYES:                                      11     tweet?
      12            So you handed me two copies, I believe      12   A I am, yes.
      13        they’re the same thing.                         13   Q Is this a fair and accurate representation of
      14        MR. CROW:                                       14     your tweet?
      15            Oh, sorry. I didn’t know if I had           15   A As far as I can remember. I can’t remember my
      16        given you one or not.                           16     exact words, but yes I’m familiar with tweeting
      17   BY MR. CROW:                                         17     about sexual harassment issues.
      18   Q So –-                                              18   Q What did you tweet in this instance?
      19   A I have April 21st.                                 19   A A bill against sexual harassment up in next –-
      20        MR. HAYES:                                      20     next in the committee.
      21            Oh, I’ve got June 3rd on mine. Which        21   Q You included a link for Twitter users to watch
      22        one is it?                                      22     the committee meeting, correct?
      23   BY MR. CROW:                                         23   A Yes. And it might have been from Facebook, I
      24   Q Let’s ask about June 3rd first. So I will mark     24     don’t know. But this would have been a cross
      25     this as “Exhibit 16."                              25     thing and I probably would have emailed on it,
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      1     too. Or maybe not, but I definitely would have   1      the committee meetings, correct?
      2     posted on several posts.                         2    A  Right. Yes, it does.
      3   Q When you say –- you reference in this tweet –-   3    Q  And it also gives information on how people can
      4     you say it’s up next in committee. Did you       4      contact your legislative office?
      5     make this tweet while the committee meeting was 5     A Right.
      6     going on?                                        6    Q In this graphic, did you provide your
      7   A I might have been watching in my office. If      7      legislative email?
      8     I’m in a committee, it would have been made in   8    A Yes, I did. And my legislative number. I’m
      9     committee. If I wasn’t on the committee it was   9      always referring back to the legislative
     10     going to, it would have been made while sitting 10      office.
     11     in my office or sitting at my apartment.        11    Q Why did you include information on how to
     12   Q I’m now going to show you what I’m marking as 12        contact your office?
     13     “Deposition Exhibit #17" which is dated June    13    A Because most of my stuff goes through my
     14     25, 2020. All right. Is this your tweet?        14      office. If I’m going to be able to respond
     15   A I’m not for sure. I know that is my committee 15        properly, communicate with constituents and
     16     meetings to watch today –- that’s my graphic.   16      remember to do it, as I stated earlier I
     17     I’m not sure if I tweeted this. Car insurance   17      include my staff in it so I can remember to
     18     went on for a long time. We can kind of assume 18       communicate with people.
     19     this is mine because I remember this graphic.   19    Q I’m now going to show you what I’m marking as
     20     But I don’t remember making the tweet.          20      “Deposition Exhibit #19" which is dated April
     21   Q Can you describe this tweet?                    21      27, 2021. Are you familiar with this tweet?
     22   A This tweet just tells people the bills to watch 22    A No. I just don’t remember it. I’m familiar
     23     and it has multiple things concerning it.       23      with the issue.
     24   Q And it includes committees that you’re on,      24    Q Is this a tweet –- is your name at the top of
     25     correct?                                        25      this tweet?
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      1   A   I don’t know at the time if these committees I  1   A   Yes.
      2     was on, but I’ve been on –- I can kind of say I   2   Q   Is that your Twitter handle at the top of this
      3     was on Senate Insurance and Education, so it’s    3     tweet?
      4     most likely committees I was on.                  4   A What was my Twitter handle at the time? It’s
      5   Q And with this tweet, you included a graphic,      5     my current Twitter handle, yes.
      6     correct?                                          6   Q So this is your current Twitter handle as if
      7   A Right.                                            7     you were to look up this tweet?
      8   Q I’m now going to show you what I’m marking as 8       A Right. If I could look it up in this room, yes
      9     “Plaintiff’s Deposition Exhibit #18" which is     9     it would be my current Twitter handle.
     10     that graphic.                                    10   Q And you said you’re not familiar with this
     11   A Okay.                                            11     tweet?
     12   Q You said you are familiar with this graphic,     12   A I just don’t recall making it. I’m familiar
     13     correct?                                         13     with the subject matter.
     14   A I am, yes.                                       14   Q In this instance, what did you tweet?
     15   Q Who made this graphic?                           15   A If it’s my tweet, I tweeted “These hearings are
     16   A I couldn’t tell you. It could be me, it could    16     happening now and you can watch by clicking
     17     be the staff up in the Capitol, and it could be  17     here.” Legalization of marijuana at the top of
     18     my staff back in Baton Rouge. I wouldn’t         18     it. So it would have been, if it’s my tweet,
     19     remember who made it. When I’m in session, I 19         about legalization of marijuana.
     20     try to do as much first hand stuff as possible   20   Q Is this a fair and accurate representation of
     21     because I know what’s going on. So it’s likely   21     your tweet?
     22     me, but I can’t definitely say it’s me because   22   A I am not sure. I can’t authenticate this
     23     if I don’t have time I’ll shift it to one of     23     tweet. I don’t remember it.
     24     the staff.                                       24   Q In this tweet, you included a link for Twitter
     25   Q This graphic has instructions on how to watch    25     users to watch, correct?
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       1   A   Yes. Anytime –- if I put on Facebook, if I          1     after the Ronald Green matter and I would have
       2     email and I’m asking you to watch something,          2     post -- cross-posted this and maybe if I had
       3     I’m going to include a link.                          3     time emailed it out.
       4   Q So users on Twitter could watch this hearing,         4   Q What did you tweet in this instance?
       5     correct?                                              5   A “On today I was appointed to serve on the
       6   A Users on Facebook, users on Twitter, if I             6     select committee for State Police oversight.
       7     emailed it, people I’ve emailed.                      7     My commitment is to hear from constituents and
       8   Q You mentioned that you were familiar with the         8     do all I can to help implement policies to put
       9     issue. Is this issue something that you would         9     an end to police brutality in the ranks of our
      10     have posted to social media about?                   10     State Police,” i.e. why I would have remembered
      11   A Maybe or maybe not. It depends on how heavy it       11     this tweet because of what it was about.
      12     got at the time. The legalization of marijuana       12   Q So is this a fair and accurate representation
      13     is not something I essentially voted on so I’m       13     of your tweet?
      14     not sure how pressing I would have been on it.       14   A It is, yes.
      15   Q Why would you have tweeted about an issue such       15   Q In your announcement on Twitter, you included a
      16     as that?                                             16     press release, right?
      17   A I’m not sure. I don’t remember the tweet. You        17   A Uh-huh. Yes.
      18     know, generally –- let me say this over a            18   Q And this press release was from your
      19     general statement. If I want people to watch         19     legislative office?
      20     something, I’m going to put it on Facebook. I        20   A Yes. What I drafted myself, uh-huh.
      21     may put it on Twitter because Twitter is not         21   Q And it included your office number and email,
      22     used all the time. If you go through my              22     correct?
      23     Facebook posts, we’ll be here fifty (50) days,       23   A To revert people to the office to communicate
      24     right, and I may email.                              24     with me, yes. And I would have posted this on
      25   Q You mentioned that you included –- there is a        25     Facebook, both my private and my Senate
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      1      link included in this tweet.                    1   Facebook page, my Instagram page, Twitter and I
      2    A Uh-huh.                                         2   probably would have emailed it out.
      3    Q And you included this so Twitter users could    3 Q Is it your testimony that every time you have
      4      watch the hearing, correct?                     4   tweeted, you have also posted the same content
      5    A I would include it for all constituents to      5   on your Facebook page?
      6      watch the hearing.                              6 A Most of the time. I can’t say yes, but most of
      7    Q But if this was attached to a Twitter post, it  7   the time I probably would have, yes. And
      8      would allow any Twitter user to watch the       8   sometimes with Facebook, just FYI, because it
      9      hearing if they have that link?                 9   gets so much traffic, I would have moved it to
     10    A Or someone that was looking at someone’s       10   trash or deleted it so I could go to the next
     11      Twitter page.                                  11   thing because I have so much traffic on
     12    Q And you tweeted this as the hearing was going 12    Facebook. So in order to get to the next, you
     13      on?                                            13   know, issue on my Senate Facebook page,
     14    A If I tweeted this, it says the hearings are    14   sometimes I will delete something so I can stop
     15      happening now, yes. I don’t know if it was a   15   getting those dings on coming so when I post I
     16      committee I was sitting on or something I was  16   can –- when I go in to direct people to the
     17      just watching in the apartment.                17   office or something like that –- or I would
     18    Q I’m now going to show you what I’m marking as 18    have just said in the comments, please contact
     19      “Deposition Exhibit #20" which is dated April  19   my office if people start wanting to discuss
     20      28, 2021. Are you familiar with this tweet?    20   something on Facebook, right. And so sometimes
     21    A I’m not familiar with –- yeah, I am familiar   21   I’ll move it to trash so we can go onto the
     22      with this tweet. I don’t know –- but I would   22   next thing because those notifications, you
     23      have to have –- what date, October 20 –- yeah, 23   know.
     24      I remember this tweet. This –- I remember      24 Q So just to back up and talk about that for a
     25      because this was a hot bun issue. It was right 25   second.
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       1   A  Uh-huh.                                               1   what I said earlier? We talked about this
       2   Q  You occasionally delete Facebook posts?               2   earlier in the deposition of how it was formed,
       3   A  I do, yes.                                            3   when it was formed and what it’s set up to do.
       4   Q  Have you ever deleted any Twitter posts?              4   You want me to go through it again because
       5   A  Not that I remember. I don’t use Twitter that         5   we’ve kind of answered this one?
       6     much.                                                  6 Q We have what it was set up to do. Oh, yes we
       7   Q I’m now showing you what I’m marking as                7   would like you to explain what it was set up to
       8     “Exhibit #21", which is dated December –-              8   do.
       9     December 12 –- excuse me –- December 10, 2021.         9 A Okay. Sure. After the Ronald Green incident,
      10     Oh, dear. Are you familiar with this tweet?           10   I think there was one other incident that was
      11   A I’m not familiar with the tweet. I’m familiar         11   local in nature and I can’t remember if it was
      12     with the graphic.                                     12   from Baton Rouge -- or was it set up -- I’m
      13   Q You are familiar with the graphic?                    13   pretty sure it was the Ronald Green incident,
      14   A Yes. But I kind of can with confidence say            14   but coming back to think of it, I think there
      15     that this was tweeted because I’m so familiar         15   was an issue in Baton Rouge, too, with -- Lord,
      16     with the subject matter.                              16   I can’t --
      17   Q So on this tweet you said “On Monday the Senate       17       MS. SCHWARTZMANN:
      18     Select Committee for State Police Oversight           18          Officer Sterling?
      19     will meet. Public comments are allowed.”?             19 A Sterling. Now the State Police was not
      20   A Right. That’s directing people to come to the         20   involved in Sterling, if I remember. So this
      21     committee to make comments.                           21   committee was set up because after the Ronald
      22   Q And so would you say this is a fair and               22   Green incident or right before, there was a
      23     accurate representation of your tweet?                23   question on whether or not Governor Edwards
      24   A I believe this one is, yes.                           24   knew and the police superintendent knew what
      25   Q And you included a graphic on this tweet. This        25   happened at -- what happened to Ronald Green
                                                        Page 246                                                 Page 248

       1     graphic included your district email?                  1     and whether it was hidden. So this committee
       2   A Right, because I always -- the central place to        2     was set up not to investigate Ronald Green.
       3     communicate with me is my district office so I         3     Let me be clear, like I said, because we
       4     would have included, on any graphic, my email          4     couldn’t investigate matters that were already
       5     and my phone number which I’ve explained before        5     under investigation. It was set up to look at
       6     is the best way to communicate with me and get         6     policies and recommend policies to the State
       7     a good response.                                       7     Police and allow the public to learn more about
       8   Q In this tweet, you told Twitter users -- or            8     their policies.
       9     actually in this tweet and in the graphic you          9   BY MR. CROW:
      10     told Twitter users that public testimony was          10   Q What are your responsibilities as a member of
      11     welcome?                                              11     that select committee?
      12   A Right. That’s public testimony at the hearing.        12   A Same as any other select committee -- to hear,
      13     Uh-huh.                                               13     to ask questions, to get to the bottom of
      14   Q And this is the statewide committee hearing for       14     issues, you know, that occur.
      15     a committee on which you’re a member?                 15   Q And how many people serve on this committee?
      16   A Well every committee hearing is statewide.            16   A I’m not really sure. Senate committees are
      17   Q But it was for a committee that you were a            17     smaller. I’m just not sure how many.
      18     member?                                               18   Q I’m now showing you what I’m marking as
      19   A A member of, yes. And public testimony refers         19     "Plaintiff’s Deposition Exhibit #22" which is
      20     to the fact that this committee is taking             20     dated December 12th, 2021. Actually -- sorry,
      21     public testimony in the hearing.                      21     we’ve already -- we just had that one. I’m
      22   Q And with the state, there’s a select committee        22     actually going to show you what’s just
      23     for State Police Oversight, what is that              23     “Deposition Exhibit #22” which is dated March
      24     committee? Can you explain that?                      24     11, 2022. Are you familiar with this tweet?
      25   A That’s -- well, you want me to go back from           25   A Not really. I don’t remember posting it. But
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      1     I do remember -- I don’t really remember the        1   Q  And it also includes information on how to
      2     graphic because this would have been a series       2     contact your legislative office?
      3     of graphics. Like I would have put this out         3   A Yeah, I'm always reverting people back to the
      4     almost every day I was in session during that       4     legislative office for communication on
      5     time. So I remember the series of graphics,         5     legislation.
      6     you know.                                           6   Q I’m now going to show you what I’m marking as
      7   Q So is this a fair and accurate representation       7     “Deposition Exhibit #23” which is dated March
      8     of your tweet?                                      8     11, 2022. Are you familiar with this tweet?
      9   A Of the graphic, yes. I just don’t remember          9   A Not so much, but -- because it’s -- I thought
     10     whether I tweeted this. There was a series of      10     we had this tweet already. Not so much, but I
     11     graphics, that’s why I remember it. I don’t        11     remember keeping the public informed in various
     12     remember this particular graphic because it’s      12     ways about the State Police Oversight. I’m not
     13     more of a mundane thing when you’re creating a     13     familiar with posting this tweet, but I did
     14     series of graphics. It’s just telling people       14     keep the public informed in as many ways as
     15     where you are every day.                           15     possible, even on my personal pages about this
     16   Q You don’t remember this particular graphic?        16     issue.
     17   A No.                                                17   Q This is your account that appears at the top of
     18   Q Did you make this graphic?                         18     this tweet?
     19   A I would have made a series of graphics and it      19   A My personal Twitter account, yes.
     20     would have been the same picture, same             20   Q And your Twitter handle?
     21     everything. That’s why I can’t remember this       21   A Yes.
     22     specific graphic. But I remember the series of     22   Q You said that you recalled keeping the public
     23     graphics telling people what committees I was      23     informed on this State Police Oversight
     24     going to.                                          24     Committee?
     25   Q Did you specifically make this graphic?            25   A I remember sending out emails at times. I
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      1   A   I cannot remember. I mean, I literally cannot     1     remember Facebook. I remember talking to
      2     remember. Sometimes what happens is the             2     constituents; all of that, yes.
      3     original graphic on a series of graphics would      3   Q So is this something you would have posted
      4     be made by the legislative staffer. I remember      4     about?
      5     I start asking if I made a graphic, it would be     5   A On the oversight hearing -- I’m not sure if
      6     me. This cursive writing may have been me           6     this is a post, but yeah. Yes -- I’m sorry.
      7     because the legislators don’t usually do the        7   Q In this tweet, you told Twitter users how to
      8     cursive writing. So I probably would have made      8     watch the committee meeting; is that correct?
      9     a standard graphic and changed it every day.        9   A If this is my tweet, yes.
     10     And maybe it was the legislator staffer, I         10   Q And this was as the committee meeting was
     11     don’t know. Usually it’s me if you see that        11     getting ready to start?
     12     little cutesy -- but I can’t say who it was.       12   A What time is this? I don’t see a time on it.
     13   Q In this tweet, you tweeted “Tomorrow’s day in      13   Q It just -- the tweet states “The State Police
     14     the capitol, Three Committees before the state     14     Oversight Committee is meeting now,” correct?
     15     of session. You can watch them by going to”        15   A Yeah. So if this was my tweet, it would have
     16     and then you link to legis.la.gov, correct?        16     been -- yes. And I would have been sitting in
     17   A I don’t remember this tweet, but yeah, probably    17     the Capitol at that moment. Unless -- let me
     18     just been standard. I would really have to see     18     say this -- let me preface -- unless I was away
     19     if Facebook was attached to Twitter during that    19     and couldn’t attend the meeting.
     20     time -- if there was a way to. I just don’t        20   Q And you did include a link with this?
     21     know.                                              21   A Yes.
     22   Q And in this graphic that was included with this    22   Q I’m now showing you what I’m marking as
     23     tweet, this graphic has your image on it,          23     “Deposition Exhibit #24” which is dated March
     24     correct?                                           24     14, 2022. Do you recognize this tweet?
     25   A Yes, it does. That’s when I was smaller.           25   A Let me read it. I remember the graphic, not so
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      1     much making the tweet. But I remember the        1        tweet?
      2     graphic.                                         2      A   I wouldn’t be familiar with tweeting this. I
      3   Q Did you tweet this graphic on Facebook?          3        would say it was something that I would have
      4   A I am not sure because that’s the face -- that’s  4        put out to the public or to on every forum I
      5     the governor’s Facebook page. Like at the top    5        had, whether public or private.
      6     -- the tag is the governor’s Facebook page. So   6      Q This tweet is dated May 18th, 2023, correct?
      7     I’m not for sure.                                7      A Yes.
      8   Q What did you tweet in this tweet?                8      Q Which was last year?
      9   A If it’s my tweet -- remember, I don’t remember   9      A Yes.
     10     -- “It’s my prayers that we do not seek to make 10      Q And you don’t -- you do not recall whether you
     11     democrat or republican decisions, but that we   11        made this tweet?
     12     seek to make Godly decisions. The governor      12      A No, because it’s such a general subject. It’s
     13     will deliver his address of the State -- of the 13        just a general subject. Every year I talk
     14     address at 1:00 p.m.” I probably was at my      14        about education and teacher pay raises.
     15     apartment.                                      15      Q So it’s something that you would post about?
     16   Q And you tagged the Louisiana governor’s         16      A I just stated that, yes.
     17     Facebook page as well as gov.la.gov, correct?   17      Q In this tweet, you tweeted “We are now
     18   A Yes. Uh-huh. So I probably -- assuming I        18        discussing the funding of education and teacher
     19     might have tweeted this one on -- you know what 19        pay raises and senate education. You may watch
     20     -- or it may have just been an email we         20        at the link below,” correct?
     21     received from the governor, or a text or        21      A I don’t remember the tweet, but it’s likely
     22     something. Probably email really because        22        that -- it’s like you’re saying, I can’t verify
     23     that’s how the governor communicates with us -- 23        I tweeted it. I don’t remember the tweet.
     24     that we receive with all of his stuff. Or it    24        It’s such a general broad subject. It’s one
     25     could have been from Facebook -- I would have 25          that I’ve been tackle -- you know, been
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      1     lifted it from Facebook on the governor’s page      1     involved in for the last you know, fourteen
      2     but would have added my own saying at the top       2     (14), fifteen (15) years.
      3     of it, right. Because usually I don’t tweet         3   Q Is that what this tweet says?
      4     the governor’s Facebook -- I mean or -- and I       4   A Yes.
      5     don’t even put it on Facebook. So this would        5   Q And this tweet, it is from your Twitter handle,
      6     have been something I copied probably from his      6     correct?
      7     page and added my top two sentences to it.          7   A It appears from a copy, yes.
      8   Q Did you copy this graphic from his -- from the      8   Q Why did you tweet this?
      9     governor’s page?                                    9   A I don’t --
     10   A No. No.                                            10   Q Let me rephrase. Why would you tweet something
     11   Q In this graphic -- this graphic has an image of    11     like this?
     12     you on it, correct?                                12   A We’ve been over -- we’ve been over these
     13   A Right.                                             13     education and teacher pay raises tweets. It’s
     14   Q And this graphic also says “We would love to       14     something I’m passionate about.
     15     hear from you and keep you informed,” correct?     15   Q You told Twitter users to watch about -- excuse
     16   A Right. And it gives my -- where I always           16     me -- you told Twitter users about the
     17     direct people to for comments and to talk to me    17     committee meeting, correct?
     18     about legislation -- it gives my district          18   A If this is my tweet, it’s probably all over
     19     office information. Contact us -- everything       19     everywhere and in an email.
     20     that you’ve seen says contact us and it tells      20   Q I now want to shift gears a little bit.
     21     people how to contact us to discuss                21        MS. SCHWARTZMANN:
     22     legislation.                                       22            We’re going to take five minutes, if we
     23   Q I’m now showing you what I’m marking as            23        can.
     24     “Deposition Exhibit #25” which is dated May        24        COURT REPORTER:
     25     18th of 2023. Are you familiar with this           25            Five minute break?
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      1         MS. SCHWARTZMANN:                             1           language or something like that.
      2             Yes, please.                              2         Q  But you don’t remember which user?
      3         COURT REPORTER:                               3         A  No. I don’t use Twitter like that, so no.
      4             Okay. We're off the record. The time      4         Q  Why might you mute a Twitter user?
      5         is 2:20 p.m.                                  5         A  I just went over it.
      6                  (OFF THE RECORD)                     6         Q  So you say you don’t remember muting any
      7    EXAMINATION CONTINUED BY MR. CROW:                 7           specific users. Do you remember specific facts
      8    Q Senator Jackson, I now want to talk to you       8           around why you’ve muted a user or group of
      9      about muting on Twitter.                         9           users?
     10         COURT REPORTER:                              10         A Sometimes what I do remember that I muted
     11             We're back on the record. It's 2:34      11           people because their accounts were fake. Like
     12         p.m.                                         12           basically it’s not a real person’s account. I
     13         WITNESS:                                     13           know that’s one reason. As far as subject
     14             I still do that, start talking.          14           matters, no. But that is one reason and I
     15    BY MR. CROW:                                      15           would have muted people if their responses were
     16    Q Senator Jackson, I now want to talk to you      16           derogatory or I would have muted people if they
     17      about muting on Twitter. Do you know what       17           just like were -- how should I put it -- just
     18      muting is?                                      18           constant, constant, constant so I can stop
     19    A I do now.                                       19           getting these notifications.
     20    Q What is muting?                                 20         Q Is there anything that would refresh your
     21    A Muting is where you don’t see like a lot of     21           memory as to whether -- as to which users
     22      responses from people.                          22           you’ve muted?
     23    Q You being you don’t see their responses on your 23         A Maybe or may not. If I see some names I
     24      profile?                                        24           probably can talk about whether I muted them or
     25    A Yes. Well -- yes, I think that’s the case.      25           not.
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       1     But you don’t see a lot of their responses.            1   Q   Have you ever let someone else mute another
       2   Q When a user is muted, can the muted user see           2     Twitter user on your account?
       3     your profile?                                          3   A No.
       4   A Yes.                                                   4   Q Have you ever let someone mute a phrase or
       5   Q Have you muted any words on Twitter?                   5     hashtag on your account?
       6   A I don’t know. I might have. I don’t know.              6   A No. I have my sole access to Twitter.
       7   Q You do not recall whether you’ve muted words on        7   Q Are you familiar with Twitter’s reporting
       8     Twitter?                                               8     function?
       9   A No. Huh-uh.                                            9   A I -- I was not up until -- so Twitter changed
      10   Q Have you muted any hashtags on Twitter?               10     how it looked a couple of times. So like when
      11   A Hashtags like -- hashtags -- I don’t know.            11     I was familiar with something, it would go away
      12   Q You don’t recall?                                     12     if it took too long to find it. So off and on
      13   A No, I don’t recall.                                   13     I’m familiar based on what they changed.
      14   Q Have you ever muted another Twitter user?             14     Sometimes I can’t find it and I’ll just hit the
      15   A I have. I’m not sure if I have anyone muted           15     mute button and keep moving.
      16     now, but yes, I have.                                 16   Q The reporting function, you can use that to
      17   Q Which users have you muted?                           17     report to Twitter inappropriate tweets,
      18   A I don’t recall.                                       18     correct?
      19   Q You don’t recall even one user that you’ve            19   A I’m not sure. I know you can use -- I think
      20     muted?                                                20     so. And I’m not sure because Facebook lets you
      21   A No. Usually if I use mute it’s because someone        21     report fake pages, but honestly it’s just kind
      22     is continuously responding and responding and         22     of a waste. You don’t -- you get the response
      23     responding like I said before and I’m getting         23     that we have reviewed it, on Facebook I know
      24     notification after notification or I may have         24     when it doesn’t. So I’m not kind of -- I don’t
      25     muted a Twitter user who has used derogatory          25     generally report. It’s a waste of time.
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       1   Q  Have you ever reported a tweet to Twitter as        1     share what you’re looking at on your phone?
       2     inappropriate?                                       2   A   I’m texting my staff -- my legal staff to tell
       3   A I’m not -- I don’t remember. When I figured          3     them I’m still in deposition. There is a
       4     out reporting was a waste of time on any social      4     standard rule in my office that if a judge
       5     media website, I just don’t waste the time.          5     calls another attorney on a case, this -- I
       6     The only time I generally report now is on           6     foolishly set this deposition to end at 12:45.
       7     Facebook when someone duplicates someone’s           7     My family has text and we’ve taken five breaks.
       8     account because that’s always happening.             8     If my mom texts, I tell everyone I’m going to
       9   Q So you don’t recall a single instance in which       9     try to respond.
      10     you’ve reported a tweet to Twitter?                 10   Q If you need to go on your phone, will you
      11   A I don’t know. I can't tell you when I kind of       11     please let us know so we can take a break?
      12     stopped reporting stuff. I don’t know.              12   A Sure, no problem.
      13   Q So you can -- you cannot recall?                    13   Q Going back to your -- you talked about, you
      14   A No.                                                 14     know, that they would be able to see -- they
      15   Q I now want to talk to you about your blocking       15     being blocked users -- would be able to see
      16     of Twitter users. You know -- are you familiar      16     your notices about committee meetings to -- on
      17     with blocking on Twitter?                           17     your website, correct?
      18   A Yes, I am.                                          18   A I don’t -- I don’t post the notices. The
      19   Q What is blocking on Twitter?                        19     official state website that posts the notice is
      20   A Blocking is where you can’t see their content       20     www.legis.la.gov. That’s posted by legislative
      21     and they can’t see yours.                           21     staffers, whoever does our legislative website.
      22   Q So when a user is blocked, can they see your        22     Also, committees are generally posted sometimes
      23     profile?                                            23     on the house and senate Facebook, Twitter page
      24   A Not that I’m aware of, no.                          24     and all of that. I don’t post the official
      25   Q So they would not be able to see your tweets        25     notices. They’re also posted within the
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      1   about committee meetings?                        1   capitol.
      2 A No, but they can go to Facebook and the          2 Q But you do -- let me rephrase. You have posted
      3   legislative page every day or the day before,    3   about the time and when a committee meeting was
      4   sometimes a week before a post legislative       4   about to begin and you have -- actually, excuse
      5   committee meetings. My page is not the           5   me, you can answer that first question.
      6   official page for legislative committee          6 A Yes, I have.
      7   meetings. Everyone -- that’s why I’ve always     7 Q And you have also included links to watch these
      8   directed them to the legislative website         8   committee meetings?
      9   because that’s the official and it gives notice  9 A Right.
     10   first of when public hearings are being had.    10 Q And so if a user is blocked, they would not see
     11   All hearings of the legislature are public.     11   these tweets, correct?
     12   They have to be posted within twenty-four (24)  12 A No, not on my personal Twitter page.
     13   to forty-eight (48) hours. Generally if we’re   13 Q Would Twitter users who are blocked also not be
     14   not in session, they’re posted before then.     14   able to see tweets where you ask for their
     15   And especially like select committees -- unless 15   thoughts about legislation?
     16   we decide to have one late -- and it still has  16 A Not that I know of. And I don’t know if I
     17   to be within that reporting period. And we      17   frequently do that or anything. Usually
     18   always tell people -- we always -- I apologize, 18   anything I tweet about what's your thoughts --
     19   one second. That’s why we always direct         19   or if I have tweeted about what’s your
     20   everyone back to the legislative office and to  20   thoughts, it’s always going to include my
     21   the legislative page because your most accurate 21   legislative email and my office number so that
     22   notices are coming from there. If there’s       22   you can come back there.
     23   cancellations, it’s coming from there. It’s a   23 Q I now want to talk about specifics. Have you
     24   public page that everyone has access to.        24   ever blocked a Twitter user?
     25 Q You keep looking at your phone. Can you please 25 A Yes.
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       1   Q   Who have you blocked?                               1     you have blocked on Twitter?
       2   A   I don’t recall. I know from this case I’ve          2         MR. HAYES:
       3     blocked -- it’s some account that says                3            Objection, asked and answered. You may
       4     @somebody something. So I didn’t even know if         4         answer.
       5     that was a real Twitter account honestly and if       5   A I cannot recall.
       6     I remember that account, it was a hockey player       6   BY MR. CROW:
       7     from some other state or the fan page of a            7   Q You mentioned that most of the time that you’ve
       8     hockey player from some other state. I recall         8     blocked a Twitter user, it is because it is a
       9     when I looked through that page because it gave       9     fake account; is that correct?
      10     -- it said that not all black women are smart,       10   A Right. Uh-huh. If I can recall, those are the
      11     some are dumb b-i-t-c-h-e-s. When I looked           11     ones I remember. Quite like in this case where
      12     through that page, I recalled the profile was a      12     it didn’t have a person’s name, it didn’t have
      13     hockey page. Something else was Ed something.        13     any person’s personal identification
      14     It might not have been somebody, but there was       14     information, it didn’t have any pictures of a
      15     no identifying mark of it being a real person.       15     person. It didn’t have any connectivity with
      16     There was no identifying mark of it being            16     Louisiana. Now, have I blocked some real
      17     anyone from Louisiana or anything. There were        17     people? I’ve testified to that before, you
      18     no personal pictures when I took a cursory           18     know, that if I did it was because -- usually
      19     review of the page of an actual person.              19     now I know how to mute them. I think I’ve
      20   Q How many users have you blocked over the course      20     blocked a couple of people or -- I can’t give
      21     of your time on Twitter?                             21     you a number -- for derogatory comments, right.
      22   A I wouldn’t remember.                                 22   Q Is it your testimony that you blocked Maya
      23   Q Can you estimate?                                    23     Detiege, our client, @midaeros because she had
      24   A No.                                                  24     no personal info on her page?
      25   Q You can’t even give a ballpark figure?               25   A A couple of reasons -- number one, I don’t
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      1    A   No.                                              1        think it was -- I don’t even remember her
      2    Q   Can you think of a single person you’ve blocked 2         Twitter handle so I would have to -- and I’m
      3      on Twitter?                                        3        hoping we’re going to request at the data of
      4    A I just gave the example of this case.              4        what her Twitter handle was because if I
      5    Q Can you think of anybody with the exception of 5            remember, this was a hockey fan page or
      6      the parties to this litigation that you’ve         6        something of somebody. It wasn’t from
      7      blocked on Twitter?                                7        Louisiana. I don’t even know if it said @maya.
      8    A No. Because when I block on Twitter, most of       8        It might have. I just don’t remember what it
      9      the time it’s been because it’s a fake page        9        said. It was based on her derogatory comments,
     10      like this one.                                    10        whether I should be subjected to those
     11    Q In terms of how many users you’ve blocked, are 11           derogatory comments on my personal Twitter
     12      we talking about five (5) users?                  12        page, number one. Number two, when I looked at
     13    A I couldn’t recall.                                13        her page further, it looked like a fake created
     14    Q Are we talking about twenty-five (25) users?      14        page. So for those reasons, that page was
     15    A I couldn’t recall. I couldn’t recall.             15        blocked.
     16    Q Are we talking about a hundred (100) users?       16      Q You personally block every person that has been
     17          MR. HAYES:                                    17        blocked -- excuse me, let me rephrase that.
     18             Objection, asked and answered multiple     18        You personally block every person that has been
     19          times now.                                    19        blocked by your Twitter account; is that
     20    BY MR. CROW:                                        20        correct?
     21    Q You can answer.                                   21      A If someone was blocked, I blocked them.
     22    A I couldn’t recall.                                22      Q So you are familiar with how many times you’ve
     23    Q So it’s your testimony today that you cannot      23        blocked a user on Twitter?
     24      recall a single person outside of the members     24      A No, I answered that. I said if someone was
     25      to this -- the parties to this litigation that    25        blocked, I blocked them. But I wouldn’t be
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      1     familiar with how many times I blocked someone. 1      controversial. Car insurance rates became
      2   Q   Is there anyone who would know this            2     controversial between trial lawyers and the
      3     information?                                     3     general public and political personalities.
      4   A I’m the only one with access to my Twitter       4   Q Okay. You talked -- one of the issues you
      5     page.                                            5     talked about that was particularly
      6   Q How frequently would you say you block a user 6        controversial, at least at the time, was when
      7     –- you’ve blocked users on Twitter?              7     Roe v. Wade was overturned. Do you recall
      8   A I wouldn’t recall because sometimes I use        8     blocking any Twitter users as a result of
      9     Twitter and sometimes I don’t. So I just         9     tweets regarding that matter?
     10     wouldn’t recall.                                10   A When Roe v. Wade was overturned?
     11   Q Are there certain topics or conversations that  11   Q Yes.
     12     you remember resulting in blocking?             12   A Because it was just -- it was recently
     13   A It’s never about a topic of a conversation.     13     overturned, what, a year ago?
     14     It’s just when they go -- when they make        14   Q That’s correct.
     15     derogatory comments -- which I don’t block      15   A No, not a year ago. Maybe. I don’t remember.
     16     everybody with a derogatory comment, but it’s   16     But I think the -- if we going to get to the
     17     like when they go on and on. I remember this    17     crux of the litigation we’re here for today, if
     18     one -- like I told you what procedure I went    18     I remember was a tweet regarding the passage of
     19     through with this one. The derogatory comments 19      -- but that was prior to Roe v. Wade being
     20     -- then I looked at it and it didn’t identify   20     overturned. That was the passage of a bill --
     21     as a real page at all. And I think once we      21     a pro life bill.
     22     request Twitter history, it will show that. If  22   Q You also mentioned that some of your work with
     23     I recall, nothing was on the page to identify   23     the death -- regarding the death penalty has
     24     it as a person or to connect it to Louisiana in 24     been very controversial?
     25     any way.                                        25   A Yes.
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      1   Q  Would you say that some of your legislative     1   Q   Do you recall blocking any Twitter users as a
      2     work is more controversial than others?          2     result of these discords?
      3   A Depending on to different groups. If you are     3   A I’m not sure if I posted on Twitter about death
      4     dealing with the death penalty, then that        4     penalty. Most of the time, victims come to
      5     legislation is very controversial to victims or  5     committee. More of what happens on social
      6     family members of people who have passed away. 6       media with the death penalty is more of kind of
      7     If you’re dealing with the reform of the         7     party issues and things like that. It’s more
      8     criminal justice laws, that is more              8     of members. It’s not the general public if I
      9     controversial depending on what side you stand   9     recall.
     10     on, to victims of crime or either those who     10   Q You also mentioned that one of the more
     11     have been wrongfully incarcerated. If I’m       11     controversial pieces that you work on involves
     12     dealing with the right to life, that’s going to 12     car insurance. Can you talk about that a
     13     be very controversial on one side and very      13     little bit?
     14     helpful on the other side. It just depends on   14   A The car insurance rates in Louisiana are
     15     who’s active at that time. And that’s another   15     skyrocketing. We went into a session where the
     16     thing -- controversy is based on the time and   16     insurance commissioner promised that if we
     17     day. Post Roe versus Wade, the reversal of      17     passed trial lawyer reform is what they call
     18     abortion became very contro -- abortion         18     it, or judicial reform, that car insurance
     19     legislation became very controversial.          19     would go down. It didn’t. And that was two or
     20   Q So you are a part of -- depending on the timing 20     three years ago or more and we’re just dealing
     21     -- very controversial legislation?              21     that cycle. People are tired.
     22   A Right. And that's in a myriad of areas.         22   Q Do you remember blocking anybody over these
     23     What’s controversial like today is not          23     issues?
     24     controversial tomorrow. Disability rights when 24    A I either block or muted, I can’t remember. I
     25     they were being cut was extremely               25     remember it being controversial on all
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      1     platforms and even in our emails and I think --  1      show you what I’m marking as “Deposition
      2     and don’t hold me to this -- that might have     2      Exhibit #26” --
      3     been -- that wasn’t the subject that an email    3    A Sure.
      4     was reported on, but I wouldn’t remember.        4    Q -- which is dated -- or excuse me, it’s a
      5   Q The other topic that you mentioned that was      5      Twitter reply dated November 18, 2014. Did you
      6     very controversial was your work in criminal     6      tweet this?
      7     justice reform?                                  7    A I’m not sure. I’m trying to see where my tweet
      8   A Right.                                           8      would have been on this page.
      9   Q Do you recall blocking anyone as a result of     9    Q I believe it’s the third message and the fifth
     10     these concessions?                              10      message. Or actually could you just read this
     11   A My major work in criminal justice reform,       11      entire exchange?
     12     besides what happened in the legislature, was   12    A Okay. I’m not going to be able to verify this
     13     the first bill I passed, so I wouldn’t recall   13      exchange, but I can read what is purported to
     14     because I was in the House then.                14      be a Twitter exchange. Phil Kerpen, if I’m
     15   Q Are there any other controversial topics that   15      pronouncing it right, says “Another dirty
     16     you have waded into on social media?            16      @SenLandrieu ad voiced by @RepKJackson:
     17   A I can’t remember them all. Look, teacher pay    17      ‘Republicans are even considering impeaching
     18     raises sometimes is controversial. At the       18      President Obama.’ Then he tweets again -- I
     19     right moment, the right time, everything can    19      don’t respond I guess and he says
     20     become controversial.                           20      “@friedrichsgroup Well, @SenLandrieu supports
     21   Q Do you recall blocking anybody over teacher pay 21      taxpayer-funded third trimester abortions.
     22     raises?                                         22      @RepKJackson supports her. So no tolerance.”
     23   A I wouldn’t recall. I cannot tell you what I’ve  23      And then I say “@kerpen at -- looks like that
     24     blocked individuals over. I just -- you know,   24      friedrichsgroup I’m blocked from --
     25     unless it’s something that stands out, I        25      @SenLandrieu Cassidy supports cutting
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      1     couldn’t tell you. Most of the time -- and         1   healthcare of parents who choose Life,” so this
      2     that’s why I gave you the general scope of         2   must have been the race with Cassidy and
      3     anybody I blocked, that is what it would have      3   Landrieu I guess -- “life to support him. So
      4     been and I wouldn’t know if it’s a lot of          4   no tolerance.” I don’t know if I tweeted that
      5     people, some people. I just wouldn’t know          5   or if I re -- or mistakenly re-tweeted it. I
      6     that. I know the weight of blocking sometimes      6   can’t figure that out. And then Phil Kerpen
      7     was based on fake accounts.                        7   says “What an embarrassing stupid thing to say.
      8   Q And I want to shift over to your Twitter. When     8   I feel sorry for you.” And again, he tweets
      9     you post on Twitter, do other Twitter users        9   back for the @friedrichsgroup is blocked from
     10     reply to your tweets?                             10   my -- or they blocked me from their account I
     11   A Sometimes. And sometimes I see them and           11   guess. And then I respond back “Your inability
     12     sometimes I don’t because sometimes I post on     12   to advocate for your beliefs in a respectful
     13     Twitter and keep moving.                          13   manner just earned you a block.” So if it was
     14   Q Do you read all of your replies?                  14   me, I blocked him. It’s what I’ve testified to
     15   A That’s what I just stated. Sometimes I post on    15   today that when people get disrespectful and go
     16     Twitter and keep moving, so.                      16   from the issues and start with personal name
     17   Q Why is that?                                      17   calling on my personal Twitter page, they may
     18   A Because generally I get my updates from           18   have been blocked.
     19     constituents. I give updates through my           19 Q So this is a fair and accurate representation
     20     legislative office. That’s why you see all the    20   of this exchange?
     21     posts say you know, contact my legislative        21 A I said at the beginning of this that I didn’t
     22     office because I know how flighty I am with       22   know if this was a real exchange because I
     23     checking Twitter.                                 23   can’t authenticate this tweet. It’s from 2014.
     24   Q I want to talk about some of your tweets that     24   It’s ten years later.
     25     you’ve tweeted about blocking. I’m going to       25 Q I want to direct your attention to the final
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      1     reply in this thread from you on this exhibit.      1     you in a derogatory manner.
      2   A   If it is mine.                                    2   A  Right.
      3   Q   In this tweet -- let me rephrase that. This       3   Q  Can you define that term for me?
      4     particular tweet at the bottom, that is your        4   A  Derogatory to me is anything that goes outside
      5     account?                                            5     of the issues that we’re discussing and starts
      6   A That is -- it purports to be my account, yes.       6     name calling or starts being disrespectful. If
      7     I can’t -- I can’t verify this.                     7     you've looked at all of my communication with
      8   Q And that’s your Twitter handle?                     8     anyone at any time, whether it’s by letter,
      9   A And it purports to be my Twitter handle. It’s       9     email or anything, it’s going to address them
     10     a copy of something so without looking at          10     in a respectful manner. It's going to address
     11     Twitter, I couldn’t verify this.                   11     the issue that we’re discussing and not them as
     12   Q In this tweet, it says “Your beliefs,” speaking    12     a person.
     13     to Phil Kerpen, “your inability to advocate for    13   Q So if someone is speaking outside of the issue,
     14     your beliefs in a respectful manner just earned    14     which you’re debating over --
     15     you a block.” What did you mean by earned you      15   A No, no, no. They can ask me about another
     16     a block?                                           16     issue. They have to stick to issues, not
     17   A If it was me, that he was going to be blocked,     17     insults of people or myself or other members.
     18     which I testified to today. Like if they start     18     Well, really myself. And I don’t know if I
     19     calling you stupid and all of that, saying what    19     blocked this person. I could have said that
     20     you’re saying is stupid. I debate issues, not      20     and put my phone down and kept walking.
     21     people. And I’ve said that publicly before.        21     Sometimes -- you know, I might not -- I just
     22   Q And you stated that if this was you that           22     don’t even know if I knew how to block in 2014.
     23     tweeted this –-                                    23     Again, Twitter changes, interfaces. Once I
     24   A Right.                                             24     learned how to mute, I use mute instead.
     25   Q –- if it was, you did block this user?             25   Q You also said you might have blocked him
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      1   A  I’m not sure. I could have blocked him. I       1        because he was being disrespectful.
      2     could have just said that and kept moving. I     2      A Uh-huh.
      3     don’t know. I would have put down my phone.      3      Q Can you define disrespectful in this context?
      4     You’re doing fifty (50) things at once. I        4      A It’s a wide range. In this context, you know,
      5     could have put down my phone and kept moving. 5           saying I’m stupid or anything like that, yes.
      6   Q You mentioned reasons why you might have         6      Q So you’re talking about like name calling?
      7     blocked him were because he was being            7      A Right. Or not even name calling, just getting
      8     derogatory towards you --                        8        off of the issue and starting to get insulting.
      9   A Right.                                           9        You can kind of see when the conversation is
     10   Q –- and disrespectful toward you, correct?       10        going that way. Now I tend to just mute or
     11   A Right.                                          11        tend to put down my phone because Twitter is
     12   Q Are there any other reasons why you might have 12         you know, my personal page, right. So I can’t
     13     blocked him?                                    13        really explain it to you with just looking at
     14   A Because of that and I’ve kind of testified to   14        this. I would have to look at the whole
     15     that. And also, this person -- and I don’t      15        conversation and everything.
     16     have the rest of this thread. It could have     16      Q How else -- and you can answer this without
     17     been a thread that went on forever. It could    17        referring to the exhibit -- how else would you
     18     have -- I don’t know.                           18        define disrespectful in terms of you
     19   Q I want to talk --                               19        potentially deciding to block someone on any
     20   A Also, I might have looked at his profile and he 20        social media?
     21     wasn’t anybody from Louisiana. If he was, I     21      A What happened in this case would definitely be
     22     don’t know. Like with just this paper, I        22        defined as disrespectful.
     23     couldn’t tell you.                              23      Q Can you be more specific?
     24   Q You said that you might have blocked him        24      A She said that not all black women were smart,
     25     because he was addressing you or speaking with 25         some of us are stupid, dumb b-i-t-c-h-e-s.
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      1   Q  How else would you define disrespectful?        1        of what profanity is. B-i-t-c-h, like this
      2   A  There’s a myriad of ways, depending on the      2        user did.
      3     subject matter.                                  3      Q Okay. Other than --
      4   Q Can you please give some examples?               4      A Racial slurs would be offensive. And in this
      5   A I think I’ve given examples.                     5        instance, I don’t care if you’re black, white,
      6   Q I’d like to know if you have any more examples. 6         Puerto Rican, to say not all black women are
      7   A I don’t. It’s just on a case by case basis.      7        smart, some of you are stupid b-i-t-c-h-e-s,
      8   Q If you can’t give another example, can you       8        that means you've used a racial slur to me and
      9     explain to me what are the characteristics of    9        you have also, at that point, been
     10     disrespectful speech?                           10        disrespectful by calling some black woman
     11   A It’s on a case by case basis. There is no form  11        b-i-t-c-h-e-s. I think that’s very clear.
     12     answer for that and I’m not going to -- and     12      Q Outside of profanity, are there any other words
     13     what you’re asking -- and I keep saying it’s on 13        or phrases that you find --
     14     a case by case basis because that’s how I judge 14      A Racial slurs.
     15     things -- on a case by case basis.              15      Q Okay. Other than profanity and racial slurs,
     16   Q What do you use to decide whether something is 16         are there any other categories --
     17     disrespectful?                                  17      A We kind of went over it -- name calling and
     18   A My intelligence.                                18        things like that. When you come off the issue.
     19   Q Can you walk me through that process?           19        I don’t fight people. I fight for issues.
     20   A And my faith. And I’m not going to be           20      Q Have you blocked anyone else for not -- for
     21     subjected to stuff that go against my sincerely 21        speaking to you in a derogatory or
     22     held religious beliefs. So when it gets to      22        disrespectful manner?
     23     that point...                                   23      A I wouldn’t remember. I just wouldn’t recall.
     24   Q Aside from your religious beliefs, what other   24      Q You don’t recall whether you’ve blocked anyone
     25     standards do you use when evaluating whether    25        else for being disrespectful or derogatory?
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      1     speech is disrespectful?                            1   A   I don’t. May have, you know. I don’t know.
      2   A My intelligence.                                    2     If you had something to refresh my memory, if
      3   Q Can you explain how you use your intelligence       3     it refreshed my memory, I would let you know.
      4     to do that? Can you just walk me through what       4   Q I’m now showing you what I’m marking as
      5     that looks like?                                    5     “Plaintiff’s Deposition Exhibit #27” which is
      6   A It’s on a case by case basis. I process             6     dated March 10, 2014.
      7     whether it’s disrespectful or not and make that     7   A You’ve taken me back to 2014. I pray I can
      8     decision.                                           8     remember.
      9   Q How do you process whether something is             9   Q Yes. Okay, so in this deposition Exhibit #27,
     10     disrespectful?                                     10     this is an exchange between you and another
     11   A Mentally. Mentally. I don’t know what else to      11     Twitter user named Lamar White, Jr.; is that
     12     say. I don’t have a bright line in my notebook     12     correct?
     13     that tells me check point A, B, C, D. I don’t      13   A Yeah, I remember Lamar White, Jr. because he --
     14     have that. I don’t have something in my mind       14     he sometimes doesn’t have anything to do but go
     15     that says check point A, B, C, D.                  15     on social media.
     16   Q Are there any particular comments, words or        16   Q So you’re familiar with this exchange?
     17     phrases that are disrespectful to you?             17   A I’m not familiar with the exchange, but I
     18   A If someone uses profanity, but it’s not toward     18     remember him. He has a number of exchanges on
     19     me, I generally ask them to go back and you        19     a number of things. I think -- is Lamar White,
     20     know, re-categorize what they’ve said. And I       20     Jr. the one that writes a column maybe? So I
     21     know that for a fact that I’ve done that           21     could be wrong. I just remember the name from
     22     before.                                            22     somewhere.
     23   Q How would you define profanity?                    23   Q But you’ve interacted with him before?
     24   A Use of profane words. F-u-c-k you, mother          24   A I just remember the name.
     25     f-u-c-k, b-i-t-c-h. I think there’s a standard     25   Q Is this a fair and accurate representation of
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      1     this interaction?                                    1     is an exchange with me.
      2   A   I’m not sure. I don’t remember 2014                2   Q  Can you tell us about this situation where Mr.
      3     interaction.                                         3     White was saying that
      4   Q Throughout this exchange -- this is a back and       4     Nationalrighttolifenews.org was taking credit
      5     forth between a Twitter user, @LamarWhiteJr,         5     for writing your bill?
      6     and then @KatrinaRJackson?                           6   A I don’t know if they were taking credit. And
      7   A I’m not sure. I couldn’t authenticate it.            7     this is in 2014. I couldn’t tell you what was
      8     It’s copies. I would have to go to my Twitter        8     in that link or whether I looked at it. What I
      9     page. So we can kind of do this -- I cannot          9     do know is a couple of pages over, someone
     10     authenticate tweets unless I tell you I             10     responds to let him know they weren’t taking
     11     remember them.                                      11     credit for it. He goes on the app, say
     12   Q Right. But as you see it, is this your Twitter      12     something about Jindal and I explained to him
     13     handle?                                             13     that I’ve never seen -- I hadn’t talked to
     14   A Yes.                                                14     Jindal about this bill. Then he goes on to the
     15   Q And is this a photo you’ve used as your profile     15     family forum and I go on to tell him I don’t
     16     picture?                                            16     know why the family forum would take -- you
     17   A Yes.                                                17     know, the claim. I think from what I can see,
     18   Q In this exchange, Lamar White, Jr. asks -- he       18     I’m assuming that people were supporting the
     19     asks why outside groups continue to take credit     19     bill and this was like a fishing expedition to
     20     for writing your legislation.                       20     see who I had talked to about the bill.
     21   A Can I have a moment to review this? This is         21   Q So with this bill -- you said you recall House
     22     multiple pages. It seems like a Twitter             22     Bill 388?
     23     account that just wouldn’t stop.                    23   A Yes.
     24   Q No problem.                                         24   Q How is this particular legislation arrived at?
     25   A Is this in order? Maybe it is. It seems to be       25   A I’m not going to remember that. Like it’s
                                                     Page 286                                                   Page 288

      1     a little bit out of order. Maybe it is, it’s         1     2014.
      2     just not reading right to me.                        2   Q But you do remember the bill?
      3   Q So in this exchange --                               3   A I remember the bill, yes.
      4         MR. HAYES:                                       4   Q In your reply, you mentioned that you worked
      5             Are you done reading?                        5     with quote "a number of people on each bill" --
      6   A No.                                                  6   A Right.
      7   BY MR. CROW:                                           7   Q –- end quote. Can you explain that a little
      8   Q Oh, sorry.                                           8     bit more?
      9   A Okay, I’ve read it.                                  9   A I explained it kind of in the first deposition
     10   Q So in this exchange, Lamar White, Jr. asks why      10     about how bills are formed. Sometimes they
     11     outside groups continue to take credit for          11     come from constituents, sometimes they come
     12     writing your legislation; --                        12     from interest groups. I may change it. I may
     13   A Uh-huh.                                             13     tweak it regardless of who it comes from.
     14   Q -- is that correct?                                 14     Sometimes it comes from my life experiences.
     15   A Yes.                                                15     Sometimes it may come from something I’m
     16   Q And in this response, he includes a link to a       16     watching or a piece of law that I’m reading and
     17     website, Nationalrighttolifenews.org; is that       17     I’m saying I didn’t know this was unclear law
     18     right?                                              18     and I would go back and edit it. Sometimes I
     19   A If this is authentic Twitter, yes.                  19     may be at a conference or speaking to someone
     20   Q Can you read your reply to this tweet?              20     while shopping in the grocery store. It’s just
     21   A “I can’t speak for others actions but I work        21     a lot of ways. That’s why I say I work with a
     22     with a number of people on each bill.”              22     myriad of people.
     23   Q So this exchange is about HB 388, which is          23   Q So you work with many groups and people --
     24     legislation that you drafted, correct?              24   A Right.
     25   A That’s what it seems to be about, yes. If this      25   Q –- on each bill?
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      1   A  That’s correct.                                 1        response from your account on the first page?
      2   Q  Can you give me some examples of some           2      A   If it’s a response from my account. Thank you.
      3     organizations that you’ve worked with on bills?  3      Q   So here, you engage with Lamar White, Jr. about
      4   A I went through that list before we went off the  4        specific provisions of a bill that you
      5     record one time. I did a list of                 5        authored, correct?
      6     organizations. Remember I talked about the       6      A Yes.
      7     teachers association, I talked about this.       7      Q Do you know where Lamar White, Jr. lives?
      8     I’ve answered that question.                     8      A At the time I think he was a resident of
      9   Q Back to this exchange with Mr. White and the     9        Louisiana. I just -- I don’t know if this is
     10     exhibit, Mr. White then asks “Do you believe    10        the same person I’m thinking about. So let me
     11     that your bill, HB 388, includes the morning    11        clear. There is a columnist from Louisiana and
     12     after pill,” correct?                           12        I may be thinking of the wrong person.
     13   A I don’t remember this conversation. I remember 13       Q Does he live in District 34?
     14     that becoming an issue, at some point, with     14      A I’m not sure.
     15     this bill. Well no, that was a bill from --     15      Q I now want to direct your attention in this
     16     and it wasn’t my bill, it was someone else’s    16        exhibit to Page 6 where Lamar White, Jr. has
     17     bill. But I don’t -- so I don’t even remember   17        tweeted at -- at you and he says “Are you
     18     the conversation about this bill as far as the  18        suggesting that the LFF is lying about ‘working
     19     morning after pill. I am looking for that in    19        with Rep. Katrina Jackson’?” Correct?
     20     the bill -- well, I mean in this document.      20      A Where is that?
     21   Q Well, so let me back up. You’re saying that     21      Q It’s at the top of the sixth page.
     22     this HB 388 was not your bill?                  22      A Okay, so yeah, this Twitter handle at that time
     23   A No, it was my bill. I’m saying I don’t          23        would have been probably @Rep -- that’s why I
     24     remember the discussion about the morning after 24        need that one till we get through. May I?
     25     pill as it was applied to this bill.            25            COURT REPORTER:
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      1   Q  Can you read your reply to that message?           1            Yes.
      2   A  If it is my reply -- okay -- because that’s        2   A This is 2014. The Twitter handle in 2014 would
      3     what I’m saying -- I cannot authenticate this       3     have been RepKJackson.
      4     and you’re saying my reply. You probably want       4   Q So he did make that -- he did make that tweet,
      5     to say the reply because I hadn’t authenticated     5     correct?
      6     this. “I know what’s in my bill. I’m looking        6   A Right. I guess, yes.
      7     at any unintended consequences if any” -- I did     7   Q And then you respond to this tweet?
      8     not -- I think I -- he was -- looks like he         8   A So yes, this has to be the columnist or either
      9     kind of asked a couple of questions. It             9     he made a comment. No, that’s him. Let me
     10     repeats itself. Let me see. Under any              10     see. Yeah, can only say I have not talked to
     11     unintended consequences, did not talk to Jindal    11     them that’s a fact. I clearly know that you,
     12     before this bill was filed.                        12     in article, was untruthful about what the bill
     13   Q So in this, you said that you’re reviewing the     13     does. So this probably is a columnist from
     14     provision and you’ll get back to him, correct?     14     Louisiana.
     15   A No. I said I know --                               15   Q And at what time did you make this reply?
     16   Q That’s not what this tweet says?                   16   A If I made this reply, it was at 10:42 p.m. But
     17   A Where am I?                                        17     you know, I testified that sometimes I get on
     18   Q “I am reviewing that provision and will get        18     Twitter -- I get on social media when I’m done
     19     back to you.”                                      19     for the day.
     20   A No, I’m on this provision -- that’s what I just    20   Q Did you block the user @LamarWhiteJr after this
     21     read. “I know what’s in my bill. I’m looking       21     exchange?
     22     at any unintended consequence if any. Did not      22   A I don’t recall.
     23     talk to Jindal before this bill was filed.”        23   Q You don’t have any recollection of that?
     24     That’s what I just read.                           24   A No. I don’t know if this was an exchange. I
     25   Q Okay. Well can I direct you back to the second     25     don’t know if this was all of the exchange. I
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      1     don’t know anything. I don’t know if this user  1          from Julie O’Donoghue, correct?
      2     went back to their page and posted something    2        A  Yes, this was the women -- looks like if this
      3     else that was, you know -- I don’t know. I      3          is her tweet, the was a women in sports field.
      4     would have to look at my Twitter.               4        Q And so in this tweet, he tweeted about
      5   Q I’m now going to show you what I’m marking as 5            legislation that was being considered by the
      6     “Deposition Exhibit #28” which is a screenshot  6          legislature, correct?
      7     from Twitter. So this exhibit is a screenshot   7        A If this is the authentic tweet, yes. Uh-huh.
      8     from Twitter, correct?                          8        Q And then he tweeted again on April 30th,
      9   A I’m not sure. I couldn’t authenticate it. I     9          correct?
     10     don’t remember this. It’s not from my page so  10        A If this is his tweet, yes.
     11     I definitely couldn’t authenticate this.       11        Q What did he tweet on April 30, 2021?
     12   Q We’re not asking you to. Is that a screenshot  12        A It purportedly shows that I blocked him.
     13     of Twitter?                                    13        Q Can you read me his tweet?
     14   A I’m not sure. It could be a graphic. You       14        A “@KatrinaJackson, you’re still a transphobic --
     15     know, I don’t know.                            15          well, transphobe. And a coward now, too.” And
     16   Q If we can authenticate that this is a          16          this might not have been all of the
     17     screenshot from Twitter, do you believe it’s a 17          conversation between August 29 and August the
     18     screenshot from Twitter?                       18          30th.
     19   A I’m not sure.                                  19        Q But it shows --
     20   Q If we can authenticate that this is a          20        A If this was a conversation, it seems like it
     21     screenshot from Twitter, it shows two tweets   21          skips.
     22     from a user Andrew Perry or @houchin_andrew, 22          Q But it does show that he’s been blocked by you?
     23     correct?                                       23        A It purportedly shows that, yes.
     24   A I suppose. This is -- yeah.                    24        Q Did you block Andrew Perry?
     25   Q Is that a, yes?                                25        A I can’t recall. I just said I don’t recall
                                                     Page 294                                                 Page 296

      1   A   No. I just -- look, you want me to -- I don’t      1     this tweet.
      2     know what this is, right. This doesn’t even --       2   Q Do you have any reason to believe that you
      3   Q If we’re able to authenticate this --                3     didn’t block Andrew Perry?
      4   A -- no, this doesn’t even look like Twitter.          4   A I have no reason to believe I did or didn’t.
      5   Q If we can authenticate this as an authentic          5   Q Is this the kind of rhetoric that might cause
      6     screenshot from Twitter --                           6     you to block someone on Twitter?
      7   A Then it’s Andrew Perry.                              7   A This could be a number of things taken in
      8   Q Yes. And there’s two tweets from his account,        8     context. This may be just part and parcel. I
      9     correct?                                             9     don’t know if it was Andrew Perry -- if this is
     10   A I don’t know if there’s more outside of this.       10     a correct tweet -- that was in committee
     11   Q On this screenshot.                                 11     calling, you know -- I just don’t remember. I
     12   A Right, on this screenshot. Yes.                     12     don’t know the whole content and whether it was
     13   Q I want to direct your tweet -- or excuse me --      13     around. So it may not have been in a tweet
     14     I want to direct your attention to the bottom       14     alone. I just don’t know what it was around.
     15     tweet on this screenshot dated April 29, 2021.      15   Q In the April 30th tweet, Andrew Perry calls you
     16     In this tweet, Andrew Perry is tweeting at you;     16     a transphobe, correct?
     17     is that correct?                                    17   A Yes. And he calls me transphobic in the April
     18   A I’m not sure. But if this is authenticated,         18     29th, ’21 tweet.
     19     yes.                                                19   Q Would you consider that disrespectful?
     20   Q What did he say in this tweet?                      20   A It would just be in the context of everything
     21   A “@KatrinaRJackson is voting for legislation         21     that was happening. Had I -- I don’t know.
     22     targeting trans kids but doesn’t want to be         22     There may be other tweets. He may have been in
     23     called transphobic. People sure hate when           23     committee. I don’t know. I do -- I don’t
     24     words are used accurately.”                         24     remember -- I remember the topic of the bill.
     25   Q And in this response, he has re-tweeted a tweet     25     I remember people in committee became very
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       1     disrespectful. I remember us not being able to         1     writing an article for an international
       2     walk out of committee. I remember that some            2     publication about what you’ve done to us here
       3     things rose to the level of threats outside of         3     in Louisiana with this heinous abortion bill,
       4     the committee room. So I would have to just --         4     but go AWF with this block.” And this -- I
       5     I wouldn’t remember who was who in that whole          5     couldn’t, again, tell you about this because
       6     thing. That’s what I remember about this bill.         6     they’re actually -- they’re -- if this was a
       7   Q Would you --                                           7     real tweet, there is something else that
       8   A I remember the Sergeant at Arms having to walk         8     happened prior to this that I don’t have in my
       9     us out of committee.                                   9     hand.
      10   Q Would you consider yourself to be transphobic?        10   Q What is the date of this tweet?
      11   A No. This was a women in sports bill is what           11   A It is June 26, 2022.
      12     they’re referencing and it says that men can’t        12   Q And this tweet was tweeted by a user that is
      13     play women’s sports.                                  13     @Geaux -- G-e-a-u-xGabrielle?
      14   Q Not looking at the exhibit, would you consider        14   A I can’t authenticate it, but that's what it
      15     yourself transphobic?                                 15     seems to be.
      16   A No.                                                   16   Q And this tweet, if it is a tweet -- if we can
      17   Q Would someone claiming that you are transphobic       17     authenticate it as a tweet -- this includes a
      18     -- would that be derogatory to you?                   18     screenshot that is attached to the tweet,
      19   A Somewhat in nature. And I think that she              19     correct?
      20     quoted me in committee. I probably said I             20   A Right, yes.
      21     don’t know that I don't call people racist            21   Q And what does that screenshot show?
      22     because they don’t see my side of everything.         22   A It shows that I blocked this user. But with
      23     Generally when people are angry or wanting to         23     this one thing in hand, I couldn’t give you any
      24     be insulting and go off the issues, they’ll do        24     context behind if it’s a real tweet or not. If
      25     excited utterance of name calling.                    25     it’s a real tweet, I still couldn’t give you
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      1    Q  He also, on April 30th, called you a coward,          1     context because there seems to would have been
      2      correct?                                               2     some prior communication prior to this tweet.
      3    A That’s correct. If this is authenticated, yes.         3   Q Do you remember blocking this user?
      4      That would have been insulting, as well. That          4   A No.
      5      would have been going outside of the issue and         5   Q So this was two years ago and you don’t recall
      6      talking about and going into personal issues.          6     blocking this user?
      7    Q So this would have been derogatory?                    7   A No.
      8    A Yes.                                                   8   Q You have no recollection of this?
      9    Q And would it have been disrespectful?                  9   A No. And I would have -- like I said, it would
     10    A Yes, of course. If somebody called you a              10     have gone through a procedure of a lot of
     11      coward, would it be disrespectful?                    11     things. But I mean I might could recall -- do
     12    Q So you might have blocked him for being               12     you have the tweets before this?
     13      disrespectful and derogatory?                         13   Q I actually want to ask it differently. So
     14    A I don’t know. And with this context, I can’t          14     looking back at this exhibit, this user
     15      speak to this particular person. I would have         15     @GeauxGabrielle refers to an abortion bill has
     16      to look at everything that was surrounding,           16     heinous.
     17      whether there were other tweets, whether there        17   A Right.
     18      was something going on. I wouldn’t know.              18   Q And again, seeing that this is on June 26,
     19    Q I now want to shift gears and I want to talk to       19     2022, that was a bill that you had sponsored,
     20      you -- okay. Actually now I want to show you          20     correct?
     21      what I’m marking as “Deposition Exhibit #29” --       21   A I’m not sure. Because sometimes I support
     22    A Uh-huh.                                               22     legislation, sometimes it’s a bill that I’ve
     23    Q -- which is dated July 26, 2022. Can you              23     done. I’m not sure without more context.
     24      please read this tweet?                               24   Q At the time, June 26, 2022, you had sponsored a
     25    A If it is a tweet -- “I mean I’m absolutely            25     bill that would preserve right to life in
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      1     Louisiana, correct?                              1         pre -- you know, pre-tweets that would have
      2   A  I’m not sure what year that bill was. It might  2         occurred before this. Do you have those?
      3     have been 2022. I did, at some point, author a   3       Q I’m now going to show you what I’m marking as
      4     bill that preserved the right to life.           4         “Deposition Exhibit #30” which is dated June
      5   Q So looking at the language of this tweet,        5         25, 2022.
      6     calling -- if this was about -- if this is a     6       A Yes.
      7     tweet --                                         7       Q This is from the day previous -- the day prior
      8   A Uh-huh.                                          8         to the other -- the previous exhibit. This is
      9   Q -- and if this tweet was about your bill that    9         from June 25, 2022; is that correct?
     10     you had sponsored --                            10       A I’m not -- I can’t authenticate it, but that’s
     11   A Right. Uh-huh.                                  11         what it seems to be.
     12   Q –- would someone calling that bill heinous be   12       Q Assuming that we can authenticate this as a
     13     offensive to you?                               13         tweet --
     14   A No. This is actually -- if this is a real       14       A Then it will be a tweet from June 25, 2022.
     15     tweet -- this was after the block. So this      15       Q Can you please read this tweet?
     16     would have been after whatever happened leading 16       A “Never forget that this is the face of the
     17     up to a block if she was blocked. This          17         despicable democrat @KatrinaRJackson who
     18     wouldn’t be -- number one, I would never have   18         authored Senate Bill 342 which has taken your
     19     seen this at that point.                        19         reproductive rights from you. Her bill signed
     20   Q Could you please answer my question.            20         by @LouisianaGov will flood the jails, sentence
     21   A I just did. No, it wouldn’t -- heinous          21         women to die and has no exceptions for rape or
     22     wouldn’t be offensive. I wouldn’t have even     22         incest.”
     23     seen this tweet. You’re asking me to make a     23       Q And this tweet, if we can authenticate that it
     24     judgment call on something I -- that wouldn’t   24         is a tweet, was made by that same
     25     have been in play.                              25         GeauxGabrielle as the previous exhibit,
                                                     Page 302                                                  Page 304

      1   Q   If someone called a bill that you had sponsored    1     correct?
      2     as heinous, would that be offensive to you?          2   A Right. Correct.
      3   A It would -- it depend -- number one, I think         3   Q And does this bill include -- or excuse me --
      4     it’s more than heinous because if I -- if I’m        4     does this tweet include a screenshot?
      5     looking at AWF go --                                 5   A It does, yes.
      6   Q Go Off I believe is how that would --                6   Q And what is that screenshot of?
      7   A No, it’s not off. It’s an abbreviation.              7   A Of me.
      8   Q Yeah, can you explain what the abbreviation is?      8   Q She also tagged you in this tweet, correct?
      9     I’m sorry, I’m not familiar.                         9   A Yes.
     10   A It’s -- I can’t remember what it is, but AWF in     10   Q Did you block her after this?
     11     an abbreviation. I just can’t remember what it      11   A I’m not sure because she tags me in the tweet,
     12     is. It’s not off. It’s not a word, it is an         12     too, that says I’m blocked and it’s still on
     13     abbreviation.                                       13     blue. Usually when you've blocked somebody,
     14   Q So would you have blocked someone for using         14     you no longer show up in blue on their profile
     15     that abbreviation?                                  15     because it’s not an active Twitter on your
     16   A It seems that she was blocked before this           16     page. But now that I’m going back to Exhibit
     17     abbreviation, so I don’t know.                      17     29, I’m still showing as an active Twitter user
     18   Q But would you block someone if someone used         18     on her page. So I’m not sure how I’m blocked
     19     that at you today?                                  19     and someone is still tagging me because when
     20   A Probably not, but what I’m saying is -- I guess     20     you’re blocked -- if she’s blocked, she can’t
     21     I don’t understand the content of your              21     tag me anymore. And on 29 when she claims to
     22     questions because this was -- I wouldn’t have       22     be blocked, she’s tagging me. So that’s kind
     23     even seen this. You’re asking me to make a          23     of weird. I don’t know how a blocked account
     24     judgment call on something I haven’t seen           24     would still be able to tag my Twitter page.
     25     without the -- without surrounding, you know,       25   Q In this tweet from June 2025 -- or excuse me --
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      1   June 25, 2022, was there any language in this    1   preparation for litigation?
      2   tweet that you would find disrespectful to you?  2 A I just said the screenshot seems weird because
      3 A I would find a personal attack on the            3   I’m tagged in a post of somebody’s that says
      4   despicable democrat, but I don’t know if that    4   they’re blocked. And from my understanding, I
      5   would be the content. I would have to go see     5   can’t tag someone when they block me. I’ve
      6   whether there was any other tweets. Sometimes    6   been blocked before. What it generally shows
      7   people tweet multiple. So I couldn’t make a      7   is this shows up, but I can’t tag them after
      8   judgment call on something I don’t remember      8   that. Unless Twitter has changed. And I don’t
      9   with just a screenshot. I would have to access   9   use Twitter much, but when somebody’s blocked
     10   my Facebook page and that person -- well,       10   from your page, you generally can no longer tag
     11   Twitter page. And people delete tweets and so   11   them. The blue highlight generally means that
     12   I wouldn’t be able to give you the full content 12   the person is tagged. I’ll give you an
     13   of this. Especially when they’re getting ready  13   example. If you go back to -- well, Lamar
     14   for litigation.                                 14   White never shows himself blocked I guess. Let
     15 Q If someone were to make this comment -- the     15   me make sure because it’s one that shows
     16   despicable -- calling you a despicable democrat 16   himself blocked. But generally my
     17   -- could that cause you to block them?          17   understanding is I have not been able to tag
     18 A Not normally, no. So usually it would be        18   anyone that blocked me. And maybe I’m wrong.
     19   something else that would be the first attack.  19   And like I said, I don’t know much about
     20   I probably would say hey, stick to the issue.   20   Twitter, but I’m tagged.
     21   But again, you know, I would never know I’m     21 Q So I understand that line of reasoning that
     22   sure. People clean up their page when you know 22    you’re making. What we’re trying to see is if
     23   -- but it just doesn’t seem like she’s blocked  23   not even specifically to this tweet for this
     24   and maybe she was, I don’t know. Because she’s 24    user, but would the kind of rhetoric used in
     25   still able to tag my page.                      25   this tweet -- could that cause you to block
                                                    Page 306                                                Page 308

      1   Q   You mentioned in this -- in responding to this  1     someone for being derogatory or disrespectful?
      2     exhibit that people do things when they’re        2   A Probably not. It would have been something
      3     getting ready for litigation.                     3     else surrounding that other tweets that may
      4   A Uh-huh.                                           4     have been deleted. Probably not.
      5   Q Who was getting ready for litigation?             5   Q Okay. So now I want to talk about your
      6   A Well I mean the plaintiff because you know, I’m 6       interactions on Twitter with our clients. So
      7     sure she’s, at some point, identified her page    7     first I want to talk about the blocking of Mr.
      8     before it was a hockey fan page.                  8     Dayne Sherman.
      9   Q Is this our client?                               9   A I don’t recall -- I think I said I don’t recall
     10   A No, not that I know of. No. I don’t -- I         10     if I blocked Dayne Sherman.
     11     still am not real sure who your client is.       11   Q His -- Dayne Sherman, whose Twitter handle is
     12     I’ve never seen her or him.                      12     @TweettheSouth -- did you block Mr. Sherman?
     13   Q So if --                                         13   A I’m sorry, I just said I don’t remember
     14   A I think it’s a her because of your references    14     blocking him.
     15     made in the petition.                            15   Q You don’t recall blocking Mr. Sherman?
     16   Q So if this Gabrielle Perry is not our client,    16   A No. I’m not saying I didn’t. I’m not saying
     17     how would our client getting ready for           17     that I did. I just don’t recall it.
     18     litigation clean up this user’s page?            18   Q Mr. Sherman is alleging, in this suit, that you
     19   A I’m just saying I made a general statement. So 19       have blocked him on Twitter. Do you have any
     20     I would have to see this person -- the entirety  20     reason to disagree with his assertion that you
     21     of their page to be able to give you the         21     blocked him?
     22     content of if it was accurate -- give you the    22   A I don’t know if I blocked him.
     23     content of it.                                   23   Q Did you read the lawsuit in this matter?
     24   Q And making that statement, are you insinuating 24     A I did read the lawsuit in this matter. I just
     25     that this screenshot was edited or doctored in   25     don’t know if I blocked him.
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      1   Q  Do you have any facts that dispute that you     1     my mind I purported it to be a frivolous
      2     blocked him?                                     2     lawsuit.
      3   A I haven’t done research on it. The best I        3   Q Before concluding that this was a frivolous
      4     guess recollection is going to be to look and    4     lawsuit, did you look to see if you had blocked
      5     see if he’s blocked on Twitter.                  5     Mr. Sherman?
      6   Q It’s your testimony that you, in preparing for   6   A I don’t recall. I really don’t.
      7     this deposition, did not familiarize yourself    7   Q On what basis did you conclude that this was a
      8     with one of the parties?                         8     frivolous lawsuit?
      9        MR. HAYES:                                    9   A Because I thought never would a Supreme Court
     10            Objection. That’s --                     10     uphold someone making racial slurs to you and
     11   A No, it’s my testimony –-                        11     calling you b-i-t-c-h-e-s. Also, I believe
     12        MR. HAYES:                                   12     this to be my personal Twitter page.
     13            Let me finish my objection.              13   Q You have read the complaint in this case,
     14        WITNESS:                                     14     correct?
     15             -- mischaracterizing prior testimony.   15   A I have.
     16   A It’s my testimony that I don’t remember if I    16   Q And Mr. Sherman does not –- has not ever –- Mr.
     17     blocked Mr. Sherman. I would have to have, you 17      Sherman has not made any racial slurs at you,
     18     know, hopefully something that would refresh my 18     correct?
     19     memory.                                         19   A No. You were asking me about the lawsuit as
     20   BY MR. CROW:                                      20     originally filed. With Mr. Sherman, to the
     21   Q You were sued in Federal Court, correct?        21     best of my memory, I Googled to see who he was.
     22   A I believe this lawsuit is in Federal Court,     22     And I don’t remember what else I did, but it
     23     yes.                                            23     was not like a formal investigation or
     24   Q Did you investigate the claims in the           24     anything. Nothing else comes to mind.
     25     complaint?                                      25   Q But it’s your testimony that you cannot recall
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      1   A   I gave my attorney everything that he asked    1   whether Dayne Sherman has ever been blocked on
      2     for.                                             2   your account?
      3   Q Did you personally investigate?                  3 A I can’t. If I had something to refresh my
      4   A I remember trying to figure out who the Twitter 4    memory, you’re –- look, you asked me about –-
      5     user was, but that was like I Googled the        5   we've been in hours of deposition. If you've
      6     Twitter user on Facebook when I received the –- 6    got something to refresh my memory, let’s talk
      7     I mean on Google. When I couldn’t find           7   about it.
      8     anything about that Twitter user, I went to the  8 Q To your recollection, did Mr. Sherman ever use
      9     hockey players. I Googled the hockey player.     9   a racial slur at –- directed at you?
     10     I couldn’t figure out who it was. I remember    10 A I don’t right now even remember Sherman –- Mr.
     11     doing things like that, yes. Like any normal    11   Sherman. I know he’s a party to this
     12     person would.                                   12   litigation. That’s why I’m asking if you have
     13   Q You are aware that Dayne Sherman is a plaintiff 13   something to refresh my memory on who Mr.
     14     in this case?                                   14   Sherman is and then I’ll be able to kind of
     15   A I believe he was added later.                   15   answer if I remember. But I don’t remember
     16   Q When he was added, did you take any steps to    16   interactions with Mr. Sherman.
     17     investigate whether he had a claim against you? 17 Q Okay. Let’s talk about some of these
     18   A I’m sure I did, I just don’t remember them.     18   interactions with Mr. Sherman. First I want to
     19     But I’m sure I did. I’m an attorney.            19   show you what I’m marking as “Deposition
     20   Q So you investigated whether Mr. Sherman had –- 20    Exhibit 31" which is an exchange dated October
     21   A I wouldn’t say –- I wouldn’t say investigated.  21   23, 2012. Are you familiar with this Twitter
     22     I probably did a cursory review of who he was   22   exchange?
     23     and things like that. Like I just said, I deal  23 A I’m not.
     24     with the other person. I didn’t hire a private  24 Q If we can authenticate that this is a Twitter
     25     investigator. I didn’t spend hours on it. In    25   exchange between –- involving you –- for the
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       1     record, this tweet is from Louisiana Fed             1   Q  But you did tag him?
       2     Teachers Twitter account and they tweeted “BESE      2   A  Right. Well when you reply, it automatically
       3     to hold hearing on new rules for voucher             3     tags someone.
       4     schools.” They then included a link and then         4   Q Why did you say thank you to him?
       5     tagged multiple people, including you,               5   A This may be like something else, like I don’t
       6     @RepKJackson as well as @TweettheSouth which is      6     know –- with just this I couldn’t tell you.
       7     a handle of our client, correct?                     7     Like I would have probably thought he was
       8   A I’m supposing it is. If it’s authenticated,          8     actually the one that posted the original post
       9     yes. And I don’t remember this exchange. It’s        9     about the vouchers for schools. Not being as
      10     from 2012.                                          10     familiar with Twitter, especially back then, I
      11   Q Do you know what BESE is?                           11     would have thought that I was responding to his
      12   A BESE is the Board of Elementary and Secondary       12     original. If I thank somebody for posting
      13     Education.                                          13     something that they didn’t post, I would have
      14   Q And you were tagged in this tweet, correct?         14     thought that they were actually the ones that
      15   A Yes. I do a lot with education.                     15     posted letting people know about the hearing.
      16   Q Did you respond to this tweet?                      16   Q I’m now going to show you what I’m marking as
      17   A If this is my response in 2012, which I can’t       17     “Plaintiff’s Deposition Exhibit #32" which is a
      18     remember, I said I will be there.                   18     Twitter exchange between you and Mr. Sherman,
      19   Q And in this exchange, did Mr. Sherman respond       19     which is dated April 5, 2013. Did you tweet
      20     to you?                                             20     this?
      21   A I can’t remember this tweet, but the tweet does     21   A I don’t think I tweeted. I think I responded.
      22     signify that he responded to me that he said        22   Q Did you make these responses?
      23     “Thank you,” and “Keep fighting.”                   23   A I can’t remember. I have so many
      24   Q Did you reply to that tweet?                        24     communications on bills and so many different
      25   A If it is –- I cannot remember this tweet. If I      25     areas, especially by email and things. And I’m
                                                      Page 314                                                 Page 316

      1      replied, it says “Thank you for keeping the    1           not sure if this is how this tweet would have
      2      citizens informed.” It’s in 2012, so you’re    2           started. It’s eleven (11) years ago, so I
      3      asking me to remember a tweet from 2012. I've  3           remember the issue because this was when we
      4      communicated in my legislative career in the   4           were in a major deficit and I had just come
      5      last fifteen (15) years with hundreds of       5           into the legislature. Because when I see that
      6      thousands of people.                           6           checkout LLBC package, that was when everyone
      7    Q We understand that you may not have immediate 7            was trying to solve the deficit and so taxes
      8      recall of this interaction. But does this –-   8           were the biggest thing, on how to reform the
      9      if we can authenticate this as an interaction  9           tax code, including certain bills. And it
     10      that happened on Twitter, does this refresh   10           looks like Mr. Sherman made a suggestion about
     11      your recollection?                            11           a 4.5% tobacco tax and I think I asked him to
     12    A No. I don’t recall this tweet. I don’t –-     12           check this out –- if this is an authenticated
     13      because I didn’t –- looks like I didn’t tweet 13           tweet –- and like to review them before
     14      the original tweet. I don’t recall this       14           repealing high sales tax. And then he
     15      exchange that I was included in. I’m not      15           responded. I don’t remember this exchange. I
     16      saying it wasn’t me, I’m just saying I don’t  16           think –- is he a reporter? I don’t know.
     17      recall the tweet. It’s from twelve (12) years 17         Q I actually want to back up just a second. You
     18      ago.                                          18           said you remember the legislation which this
     19    Q In this exchange, you thank Dayne Sherman,    19           tweet –-
     20      correct?                                      20         A Not legislation, the issue.
     21    A Yes. If this is authenticated, I thank Dayne  21         Q Or the issue?
     22      Sherman on this issue, yes.                   22         A Right.
     23    Q And you specifically tagged him when saying   23         Q Okay. Did you post about this issue?
     24      thank you?                                    24         A I’m not sure.
     25    A I replied. Looks like I replied.              25         Q Did you post about this issue to Facebook?
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       1   A   I’m not sure. I’m assuming I would have             1   Q   Is your testimony today that that was a
       2     because it was a big issue.                           2     mistype?
       3   Q So you’re assuming you would have posted about        3   A No. I’m saying I can’t authenticate because I
       4     this?                                                 4     don’t remember it. But it’s definitely not a
       5   A Right, because it’s a big issue. Because I see        5     complete –- you know, it’s not a complete
       6     where I –- I send him to –- if this is an             6     thought, so that’s why I’m assuming it was a
       7     authenticated tweet –- I send him to the LLBC         7     mistype.
       8     official website.                                     8   Q Mr. Sherman replied to this reply, correct?
       9   Q I’d like to direct you to this second reply in        9   A Looks like it. He said –- if this is
      10     the chain. So that’s your first reply if this        10     authenticated –- I’d like repeal –- he doesn’t
      11     can be authenticated.                                11     –- okay. Let me look at this. “I’d like
      12   A Uh-huh. Well I don’t know because I don’t know       12     repeal all state sales taxes, max local at
      13     if this is the full –- the full –- looks like        13     4.5%, add tobacco, alcohol. Dee Richard’s bill
      14     it started somewhere else because he starts          14     to review all tax credits @RepKJackson.” And
      15     with “I’ll give @RepKatrinaJackson that for          15     if this is me, I said “I would like to review
      16     sure.” So it seems like there’s more in this         16     them before repealing (have a bill), high sales
      17     thread that is being responded to. So I don’t        17     tax may kill businesses and municipalities tax
      18     think this was the original post. It looks           18     base.” So he’s talking about others
      19     like a reply to a post.                              19     legislation.
      20   Q Let me clarify. Let me direct you to the             20   Q And can you read to me what date that this
      21     second reply in this exhibit, which is your          21     exchange –- if it can be authenticated –-
      22     reply.                                               22     happened?
      23   A Yes.                                                 23   A April 5, 2013, some eleven years ago.
      24   Q Where in this exhibit, you tagged a number of        24   Q And so this exchange happened right before the
      25     people, including our client, @TweettheSouth,        25     legislative session convened that year on
                                                       Page 318                                                  Page 320

      1      and you said –-                                  1          Monday, April 8th, correct?
      2    A Well, I didn’t --                                2        A I don’t remember. Like I've been in this over
      3    Q –- check out LLBC tax package and then you       3          twenty (20) sessions probably or a little bit,
      4      listed their website. And then you said          4          somewhere. I know I've been through at least
      5      discuss.                                         5          fifteen (15), right, because I’ve been in the
      6    A I didn’t tag people. When you reply, it          6          legislature fifteen years. Sometimes we’ve had
      7      replies to everyone. So if you look at the       7          two and three sessions, like this year. I
      8      comment before that, it has all of them tagged   8          wouldn’t remember when something started.
      9      and so when I hit reply, it replied to           9        Q Why did you participate in this exchange,
     10      everyone. And so I didn’t tag them, it was a    10          should it be able to be authenticated, with Mr.
     11      reply.                                          11          Sherman?
     12    Q Well you may not have tagged them specifically, 12        A I would have had time.
     13      nonetheless he was tagged in this tweet?        13        Q Is there any other reason you would do it?
     14    A Right. And I replied to him and he was tagged 14          A I would have had time and the tax issue was an
     15      in the tweet with others he had tagged. I       15          important issue. I was new to the legislature
     16      replied to someone and I send them to the       16          at the time. I think that’s why I ended up
     17      official LLBCinfo.com.                          17          changing it also to KatrinaRJackson because I
     18    Q You also said at the end of that reply “to      18          realized I wasn’t going to be on Twitter like
     19      discuss.” What did you mean by that?            19          that. At this time I was young and bright eyed
     20    A I didn’t say to discuss. It might have been a   20          and bushy tailed and thought I could respond to
     21      –- it might have been a mistype because it says 21          everything. That’s why people have been
     22      check out LLBCT -- LLBC –- that’s Louisiana     22          directed to my office.
     23      Legislative Black Caucus Tax Package at         23        Q So you said you participated in this exchange
     24      LLBCinfo.com discuss. So it probably was just 24            because the bill being discussed was important?
     25      a mistype.                                      25        A Because I had time.
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      1   Q   And because you had time?                          1     remember this from eleven years ago, but I’m
      2   A   Mainly because I had time, yeah.                   2     familiar with the bill being discussed.
      3   Q   Why did you ask for Mr. Sherman’s opinion?         3   Q Okay. You do remember the bill though?
      4   A   I didn’t ask for Mr. Sherman’s opinion. I          4   A Right. Uh-huh.
      5     don’t think I did. He’s tagged me in a               5   Q Okay. Did you block anyone surrounding the
      6     discussion and it looks like there’s more of a       6     discussion of this bill?
      7     discussion and I just told him check out LLBC        7   A I don’t remember this exchange. I wouldn’t
      8     package at because that’s what the black caucus      8     remember that.
      9     was asking everyone to go do. I didn’t ask for       9   Q Outside of this exchange, do you remember –-
     10     his opinion. He gave his opinion. I sent him        10   A I don’t recall. I wouldn’t –- I wouldn’t have
     11     and directed him to our proposals and then he       11     blocked anyone from discussing a bill as far as
     12     gave an opinion that was outside of our             12     not being disrespectful, not just going on and
     13     proposal. Dee Richard is not a member of the        13     on for me to get to the next issue that I had.
     14     black caucus, so this would have been totally       14     These are people on this exchange disagreeing
     15     out of what I directed him to go look at for        15     with me and I’m discussing that disagreement
     16     the LLBC package.                                   16     respectfully. At some point I tell them that I
     17   Q Yes, but he only gave his opinion or his            17     respect a –- you know, I look forward to a
     18     suggestion to that bill after you tweeted,          18     respectable debate. I don’t know if I ever
     19     whether it was a typo or not, discuss.              19     went back to that because I probably didn’t
     20   A And I don’t know whether it was a typo –- I         20     have time. As I’ve said before, I realized
     21     sent him to the legislative –- and this all         21     very quickly, you know, the proper forum for
     22     happened in the same day, so I doubt Mr.            22     debating bills was not on Twitter.
     23     Sherman went to that page. And if I had time,       23   Q Mr. Sherman is alleging in this lawsuit that he
     24     I would probably –- if this is the case –-          24     was blocked on Twitter after this exchange.
     25     purport to say that he didn’t go to that page.      25   A I’m sure it would be a lot more than this if he
                                                     Page 322                                                   Page 324

      1     It looks like Mr. Sherman enjoyed giving his    1   was –- like I can’t say that he was blocked,
      2     opinions and that’s great. But –- yeah.         2   but it wouldn’t have been based on this
      3   Q I’m now going to show you what I’m marking as 3     exchange. If you look at it, at times I tell
      4     “Deposition Exhibit #33". It is a lengthier     4   him thank you for the –- let me go back up. I
      5     one, so please take a moment –-                 5   mean throughout this exchange I tell him thank
      6   A Thank you.                                      6   you. So I mean I don’t know -- I don’t know
      7   Q –- and review that.                             7   and it could have been something else that went
      8         MR. CROW:                                   8   on after this exchange or it could have been
      9            I have one for you also.                 9   something else. This may not be the entirety
     10   A It’s like this repeats itself. Is it the same  10   of the exchange if this was on Twitter. So I
     11     one? Maybe it’s a different one, I don’t know. 11   don’t know.
     12     Okay, I’ve looked through it.                  12 Q Did you block anyone in this Twitter exchange?
     13   BY MR. CROW:                                     13 A Same answer. I don’t even remember having this
     14   Q Are you familiar with this Twitter exchange    14   actual Twitter exchange. I remember the
     15     that I’ve just given you?                      15   subject matter. That was –- if you look at it,
     16   A I remember the bill, but the actual exchange,  16   at some point, if this is mine, I corrected the
     17     no. It’s from 2013. I remember the bill        17   unfounded accusations and we kept going. If I
     18     because I’ve read through it and I remember    18   look at what’s here, he’s still showing up. In
     19     sponsoring the prayer in school bills allowing 19   my last response, he’s still highlighted.
     20     students to ask for a prayer club in schools.  20 Q Is Mr. Sherman still blocked on your Twitter
     21   Q Do you have any recollection –- you said you   21   account?
     22     were familiar with the legislation being       22 A I don’t know if he was ever blocked and I would
     23     discussed?                                     23   have to check Twitter to see.
     24   A As I read through it, I remember. I can’t      24 Q Is he blocked currently?
     25     authenticate this exchange because I don’t     25 A I would have to check Twitter to see. I don’t
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      1     know if he was ever blocked and I would have to     1 A I do and I have it here. I can reference it.
      2     check Twitter to see.                               2 Q Do you remember a request that we made for
      3   Q So you could check Twitter to see if he was         3   every person you had blocked on Twitter?
      4     blocked?                                            4 A Which –- which discovery was it? Was it the
      5   A Yes.                                                5   supplemental or the initial discovery? It’s
      6   Q And you did not do that prior to this               6   Number 5. It asks –- Identify all users
      7     deposition?                                         7   blocked from your Twitter account prior to –-
      8   A No. The only thing I reviewed before walking        8   and I couldn’t go back and look at prior to, so
      9     into this deposition in the last week, last         9   we requested it from Twitter. That’s what the
     10     month was my discovery answers.                    10   response shows. That’s it, right?
     11        MR. HAYES:                                      11   Interrogatory Number 5?
     12            Listen to the –- listen to the question     12      MR. HAYES:
     13        that was asked. I think you misunderstood       13          Let's look at the --
     14        that.                                           14      WITNESS:
     15        WITNESS:                                        15          Let’s look at the –- Let’s look at the
     16            Okay.                                       16      supplemental. It says; Identify all users
     17        MR. HAYES:                                      17      blocked on your Twitter account prior to
     18            If you wouldn’t mind asking the first       18      February 13, 2023. That was the question
     19        art of that question again?                     19      on your second supplemental answers and I
     20        MS. SCHWARTZMANN:                               20      explained about the midaeros and I think
     21            Can the court reporter read the             21      you –- yeah –- midaeros and I went through
     22        question back?                                  22      that. And I also explained about at block
     23        MR. CROW:                                       23      somebody that was –- that was blocked that
     24            Yes.                                        24      I remembered. But everything says prior to
     25        COURT REPORTER:                                 25      February 13, 2023, so it required me to go
                                                    Page 326                                                 Page 328

      1            I can’t read –- was fiddling with these   1          back to who may have been blocked at any
      2        and –-                                        2          time before February 13, 2023, and that’s
      3        MS. SCHWARTZMANN:                             3          what we requested from Twitter.
      4            Okay.                                     4     BY MR. CROW:
      5   BY MR. CROW:                                       5     Q In answering this interrogatory, what did you
      6   Q Are you capable of checking Twitter –- you said 6        do in order to answer this request?
      7     you’d have to check Twitter to see if he was     7     A I think, if I remember, we got together and we
      8     blocked. Could you do that right now?            8       worked to see if anything was blocked, me and
      9        MR. HAYES:                                    9       my attorney. Whether we had any way of going
     10            Are you asking about if he’s currently   10       through the history of who had been blocked on
     11        blocked or if he was ever blocked?           11       my page. I quickly figured out we couldn’t do
     12        MR. CROW:                                    12       that and I said we would have to request it
     13            If he’s currently blocked.               13       from Twitter.
     14   A I believe I could, yes.                         14     Q Can you tell me all the steps that you took in
     15   BY MR. CROW:                                      15       order to answer this question?
     16   Q Did you –- and you’ve always been able to do    16     A That was a year ago. I just know –- I don’t
     17     that, correct –- to see if he’s currently       17       know –- I went to Twitter, played with it to
     18     blocked?                                        18       see if I can get a history.
     19   A Yes.                                            19     Q So you then requested the information from
     20   Q When Mr. Sherman was added to this complaint, 20         Twitter?
     21     did you check Twitter to see if he was          21     A I think you guys subpoenaed it or we made a
     22     currently blocked?                              22       request and couldn’t get it or something.
     23   A I don’t recall.                                 23       There was some emails –- I think you made the
     24   Q Do you remember answering discovery in this 24           request. I’m sorry, my attorney made the
     25     case?                                           25       request. And then couldn’t get it and we had
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      1      to end up –- I end up signing some documents so        1     but it did make sense, so I just sent it to
      2      that Twitter information could come. That              2     him.
      3      Twitter information came. I remember my                3   Q But you have had an opportunity –- you had the
      4      attorney asking me had anything came. I went           4     chance?
      5      look at the email, kjacksonlegal@gmail.com, to         5   A I have not done so.
      6      see if anything came and I found it. He kind           6   Q But you had the chance to?
      7      of told me what –- my attorney kind of told me         7   A Looked like jargon. I sent it on to him.
      8      what to search for and I found it and I sent it        8   Q I’d like you to please answer my question.
      9      to him after looking through it for two or             9   A Was it in my possession? Yes. Did I review it
     10      three minutes.                                        10     in detail? No. I looked at it for two or
     11    Q Okay. And so then you sent it to him and then         11     three minutes and I’ve answered this question
     12      he sent it to us, correct?                            12     several times before and I sent it on because
     13    A I believe so. I wasn’t here with him.                 13     it looked like jargon to me.
     14          MR. CROW:                                         14   Q But the question that I’m asking is you had it
     15             Counsel, is that correct?                      15     in your possession, correct?
     16          MR. HAYES:                                        16   A Yes, I just stated that.
     17             I can’t answer.                                17   Q And because it was in your possession, you had
     18          MR. CROW:                                         18     the opportunity to look at it because it was in
     19             Sorry.                                         19     your possession?
     20    A I don’t –- I don’t want to answer questions on        20   A Yes.
     21      the custody of it once it left me. I wasn’t in        21   Q Did you look at it?
     22      the office with him to determine what happened.       22   A I just said no, I looked –- well, I just said
     23    BY MR. CROW:                                            23     that I looked at it for two or three minutes.
     24    Q But you did send it to him?                           24     It looked like jargon to me and I sent it on to
     25    A Yes.                                                  25     my attorney. I've kind of said that like all
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       1   Q   And we have requested it?                            1   throughout this deposition.
       2   A   Yes. It’s my understanding, yes. Not directly        2      MR. HAYES:
       3     from me, but through my attorney. That’s why I         3          Is there a specific aspect of the
       4     sent it to him.                                        4      Twitter documents that you’re asking about
       5   Q And that –- the response today that you are            5      here? The –- we’re talking about this in
       6     saying you cannot authenticate this document,          6      general so I don’t know the –- I’m not
       7     correct?                                               7      trying to hide the ball from you here on
       8   A I cannot –- no, you’ve asked me about documents        8      anything. So I don’t know exactly what the
       9     regarding different pictures of Twitter and I          9      problem is.
      10     can’t authenticate those. I can just tell you         10      WITNESS:
      11     that I received a printout from my email from         11          And I’ve also said a number of times if
      12     Twitter and I sent it to my attorney. I               12      there’s something specific you want to ask
      13     reviewed it –- what I stated was I reviewed it        13      me about it, I could review it in its
      14     for two or three minutes. I would have to look        14      totality like I’ve done with other
      15     at the document because I didn’t even look all        15      exhibits.
      16     the way through it. I just sent it to my              16      MS. SCHWARTZMANN:
      17     attorney. So I believe what I stated, was that        17          The Senator is saying that she can’t
      18     I would have to review that full document in          18      verify that one of our named plaintiffs was
      19     detail.                                               19      blocked when we propounded discovery
      20   Q You had an opportunity to review this whole           20      directly on point to everybody that was
      21     document in detail, correct?                          21      blocked. And so we have to explore that.
      22   A I said I would have to because I reviewed it          22      You have to understand. So we’re getting
      23     for two or three minutes and sent it to my            23      in the scope of what she knows, but I think
      24     attorney. It looked like jargon. That’s what          24      we’re ready to move on.
      25     I said. I may have not used the word jargon,          25 A And I want to correct that. You guys asked me
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      1   who was blocked prior to February 13, 2023.            1     and see if I received it. He gave me a keyword
      2   And that was like who was blocked prior to,            2     search. I put it in. I think I fussed at him.
      3   which –- and these were sent May 21, 2024. So          3     I said I don’t have time for this right now,
      4   we responded accurately that Twitter doesn’t –-        4     I’m working a case. I looked at it for two or
      5   there’s no way I could discover history of who         5     three minutes. It looked like jargon. I sent
      6   had been blocked prior to, you know, a year –-         6     it on to him and got back to my case. And I
      7   more than a year prior. Because it doesn’t say         7     don’t know when custody -- I’m sure you might
      8   who is blocked now. It says identify all users         8     have received that document -- I can only
      9   blocked from your Twitter account prior to.            9     assume.
     10   And that was more than a year before that. And        10   Q You said you could not see any prior history,
     11   what I said was Twitter doesn’t give me a             11     correct?
     12   history of whose been blocked. And I said that        12   A Right. Uh-huh.
     13   we would have to request it from Twitter, which       13   Q What could you see?
     14   we did at your request or at my attorney’s            14   A When I went to blocked, I could see -- that was
     15   request or your request.                              15     May 2024 when you asked for that. I was able
     16 BY MR. CROW:                                            16     to see the current block and I also had
     17 Q Just to make sure that I’m understanding this         17     answered that. I answered that within the
     18   correctly, when you requested that information        18     discovery. That’s why I referred back to
     19   from Twitter, Twitter said that they were             19     Interrogatory Number 5. “I knew she was
     20   unable to tell you if you had blocked someone         20     blocked because that was the litigation of the
     21   prior to that date --                                 21     suit and I could see someblocked somebody,”
     22 A Twitter didn’t send me a sentence back. I             22     which is a fake page. So I gave you what I
     23   think my attorney, at that point, sent me a           23     could see.
     24   form of how to request it from Twitter. I             24   Q But it’s your testimony that you do not have
     25   requested it from Twitter. When the                   25     recollection that Mr. Sherman was ever blocked
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       1   information came in, I did a cursory review of        1     on your account?
       2   it for two or three minutes. It looked like           2   A No, I don’t. Because when I got this
       3   jargon. I sent it on to him. I was litigating         3     discovery, I went and answered discovery with
       4   a case. I remember that. I had a case that I          4     what I could see. I requested the rest from
       5   was working and my commitment was to my client.       5     Twitter.
       6   I think I had like hearings coming up on that         6   Q We’re talking -- I’m asking about your memory.
       7   case. So I sent it to him as to not delay him         7   A Yeah, I don’t. I don’t. I probably wouldn’t
       8   because you remember, I wasn’t able -- he             8     have remembered your client had this lawsuit
       9   wasn’t able to get in touch with me much              9     not came up, you know. You’re asking me to --
      10   because I was preparing a case of my own.            10     you know, I don’t know the year Mr. Sherman --
      11 Q So you just stated that Twitter was not able to      11     I don’t even remember the year Mr. Sherman is
      12   send you --                                          12     alleged being blocked. I guess I can review
      13 A No. I said not that Twitter was not able to          13     the amended petition and see the year when he’s
      14   send me. When I went to Twitter, I was not           14     alleging being blocked.
      15   able to find stuff -- I said that I misspoke.        15   Q At some point, after this legis -- excuse me,
      16   When I went to Twitter, I wasn’t able to find a      16     let me rephrase that question. At some point,
      17   prior history. So I believe my attorney              17     after this lawsuit was filed, did you on
      18   researched -- because I’m not as familiar with       18     Twitter go and unblock multiple people at once?
      19   Twitter and I think if I’m not mistaken, my          19   A Yes.
      20   attorney, on a call, said you know, this is how      20   Q You did?
      21   you can request information from Twitter. So I       21   A Yes.
      22   went about that. When Twitter sent the               22   Q Who did you unblock?
      23   information, I was in the middle of working a        23   A I don’t remember.
      24   case so I had a commitment to a client. The          24   Q When did you unblock them?
      25   attorney had to ask me to go check that email        25   A It was -- I think it was before -- it was
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       1     actually before the litigation. I think I had          1     District 34 constituents. There was nothing
       2     received an email concerning our letter                2     identifiable but hockey. I went down the page
       3     concerning this client. I talked to Yolanda --         3     -- because this was a weird looking page. It
       4     I say what do I -- not Yolanda. Who was it? I          4     had no personal pictures of anyone. That’s why
       5     talked to somebody -- an attorney, one of my           5     I distinctively remember this one. It had no
       6     friends because the State hadn’t appointed me          6     references. If I remember in my review, it had
       7     an attorney because it wasn’t in litigation.           7     no references of anything personal about
       8     So I talked to one of my friends and they said         8     anyone, so it just looked like a fake page.
       9     look, you know -- they said go check and see if        9     And so it was recent with the letter I received
      10     you have a reason to block someone if they’re         10     and I remembered it.
      11     blocked. And I didn’t do that. I just                 11   Q So your testimony is you suddenly blocked
      12     unblocked everybody and kept this plaintiff           12     everyone -- you had suddenly unblocked --
      13     because the letter clearly said why she was           13   A Not suddenly. I willingly did it after talking
      14     blocked or something and I kept going.                14     to a friend. I just said I don’t remember this
      15   Q So you said, just now, that you kept @midaeros        15     and so let me unblock everyone.
      16     –-                                                    16   Q Let me rephrase that question. I understand
      17   A Right.                                                17     how that can be confusing. When you unblocked
      18   Q –- which is Maya Detiege. You kept her                18     many people at once --
      19     blocked?                                              19   A It wasn’t many people. I don’t recall it being
      20   A Right.                                                20     many people. I think it was few people. I
      21   Q Why is that?                                          21     can’t remember. I think it was few people and
      22   A And somebodyblock because it was clearly a fake       22     I couldn’t remember why they were blocked and I
      23     page.                                                 23     unblocked them. I could -- the
      24   Q Okay.                                                 24     somebodyblocked, I didn’t unblock it because it
      25   A Because I remember that exchange. It had              25     was clearly a fake page. That page, I could
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      1   happened recently and I remembered why I had              1     remember everything about it. It was egregious
      2   blocked her. Well the -- and at the time, it              2     in what she had said. Now I know it’s a she.
      3   wasn’t a her. At the time, for me, and -- it              3     Didn’t know at the time of the blocking. I
      4   was a -- a fake -- because I remember when I              4     didn’t unblock it because it was recent and I
      5   did it, I mistakenly unblocked her and I got a            5     can remember it. It wasn’t a plethora of
      6   call saying hey, you unblocked her. I said I              6     people.
      7   didn’t mean to do that because I distinctly               7   Q But you unblocked the blocked users on your
      8   remember this exchange because a letter came              8     account except for Maya Detiege @midaeros and
      9   immediately afterwards. I was also able to go             9     @somebodyblocked which you believe is a bot,
     10   to something and see -- no -- I don’t know what          10     correct?
     11   it was, but I remember why she was blocked, I            11   A So you keep saying Maya Detiege @midaeros -– I
     12   thought it was justifiable and I kept moving.            12     think what I left blocked was @midaeros.
     13   I still think it’s justifiable.                          13     Didn’t have a person’s name or anything.
     14 Q So the other people you unblocked, you decided           14   Q Yes.
     15   that they were unjustifiably blocked?                    15   A So I don’t -- I guess I don’t know what you’re
     16 A No, I couldn’t see anything. I just said I               16     asking. If you can give me the Twitter
     17   can’t remember, here it is. This one I can               17     handle –-
     18   remember because it’s so recent. And I do                18   Q I’m sorry, I’m clarifying.
     19   remember this -- because I don’t know who it             19   A @midaeros –-
     20   was, but before I blocked her -- or either               20   Q Is Maya Detiege. That is our client.
     21   after I blocked this page -- I said this is --           21   A So the page was a hockey player fan page.
     22   this doesn’t even seem like a Louisiana page.            22   Q Yes.
     23   And I started Googling it and everything. So I           23   A Had no identifying marks of who it was. Had no
     24   distinctly remember this one because I was               24     identifying marks besides that it was a hockey
     25   trying to figure out was this one of my                  25     player. You could assume it was a hockey
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       1     player outside of the state, but then I guess         1   A  I don’t know. And I didn’t know I unblocked
       2     it said someone’s number one fan so you can           2     her until -- I kind of said I wasn’t familiar
       3     assume that it was out of the state or a fake         3     with Twitter. I do stuff and keep moving. I
       4     page. You know, that was my assumption. So            4     think I’ve said that several times. And so it
       5     there was not much to go on with that page. It        5     was -- I don’t know which attorney with this
       6     was only -- if I remember -- and I don’t want         6     First Amendment Clinic called me and I said oh
       7     to misstate because I don’t recall -- it wasn’t       7     no, I didn’t intend to do that. I’m sorry.
       8     a plethora of people. It was a few people             8     No, this litigation can go forth and I
       9     blocked. I couldn’t remember anything and I           9     reblocked her.
      10     unblocked them and kept moving.                      10        WITNESS:
      11   Q I need you to answer the question that I’m           11            And that was before you. I didn’t
      12     asking.                                              12        consult you because you weren’t around.
      13   A Uh-huh.                                              13   BY MR. CROW:
      14   Q When you unblocked a number of people -- you         14   Q So you mentioned that you inadvertently
      15     said multiple at once --                             15     unblocked Ms. --
      16   A Multiple could be two, three, yeah.                  16   A Right.
      17   Q Yes. When you blocked a number of people, you        17   Q –- @midaeros, Ms. Detiege.
      18     did not unblock Maya Detiege and @somebody else      18        Was there anyone else that you
      19     who you believe is a bot, correct?                   19     inadvertently unblocked and then had to re-
      20   A I did not block @midaeros. Today you’re              20     block?
      21     telling me and through the lawsuit you’ve told       21   A Not that I can recall.
      22     me that that is Maya Detiege, a person who is a      22   Q In evaluating whether or not -- actually let me
      23     resident of the State of Louisiana which I had       23     back up even further. Did you evaluate the
      24     no knowledge of at the time of the block. And        24     rest of the accounts that you had blocked?
      25     so I unblocked @midaeros and it was a hockey         25   A I just looked at their name and said don’t
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      1      player or a hockey player fan from another       1   remember, unblock. Might not have been -- you
      2      state. That’s what I did not unblock. And        2   know, don’t remember, unblock. Don’t remember,
      3      @somebodyblock because it’s clearly a fake       3   unblock maybe four or five times. With her, I
      4      page.                                            4   remembered. Any time, you know, it’s that
      5    Q So you’ve never unblocked Maya Detiege?          5   close and somebody sends a letter and it was
      6    A I think I made a error -- I think you called me  6   egregious. It was something that I felt like
      7      -- I don’t know which attorney called me. This   7   –- and then it wasn’t her. It wasn’t a her.
      8      was before the State gave me an attorney. Some 8     It was a hockey fan page from another state. I
      9      attorney for now who I know to be Maya Detiege 9     did notice that when I had to go back and
     10      called me and I said oh no, I made a mistake,   10   search for her to block her back that all of a
     11      I’m going to go back and block this page. It’s  11   sudden there was a profile picture and
     12      not -- I do not intend to unblock this page.    12   everything. I guess in preparation for
     13      And that’s why we’re here -- this lawsuit --    13   litigation.
     14      because unless the courts order me to unblock   14 Q Well, you said previously that you decided to
     15      this page I do not intend to unblock it.        15   unblock a number of people prior to this
     16    Q Okay. Well previously you said that you         16   lawsuit getting filed?
     17      decided to unblock a number of accounts --      17 A I don’t know if it was prior to it or
     18    A Two, three, four, something. Yeah.              18   afterwards. I just don’t remember when it was.
     19    Q And that was shortly after Ms. Detiege          19   I just remember that -- it might have been the
     20      @midaeros interaction with you and the reason   20   lawsuit had been filed. I don’t remember
     21      that you didn’t want to unblock her was because 21   because I got a call from -- and I think -- let
     22      you remembered that interaction, correct?       22   me separate the two. I think that was prior to
     23    A Right. Uh-huh.                                  23   this lawsuit being filed. And then I got a
     24    Q So if you remembered that interaction, how were 24   call -- I can’t remember -- after the lawsuit
     25      you -- how did you accidentally unblock her?    25   was filed or either prior to -- I don’t
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      1     remember when the call was -- about Mrs. -- the  1     @midaeros. And it could have been that an
      2     account @midaeros saying I had unblocked it. I   2     email account that I thought was fake -- if I’m
      3     said that was a mistake. I think it was after    3     remembering -- and I can go and research and
      4     the lawsuit was filed that I got the call that   4     send it to you if I find it -- sent me
      5     that one had been unblocked. That’s the call I   5     something.
      6     think that happened -- I don’t remember, but I   6   Q But it was from the First Amendment --
      7     think it happened after the lawsuit.             7   A I think, but I’m not going to say that.
      8   Q So it’s your testimony today that you unblocked 8    Q How did you receive this communication?
      9     everyone with the exception of Maya Detiege      9   A I don’t remember. It could have been an email.
     10     @midaeros and @somebodyblocked? Strike that 10         That’s what I’m saying -- my memory is foggy on
     11     question, please. So it’s your testimony that   11     this so I rather refresh my memory before and
     12     you unblocked everyone before this lawsuit?     12     produce that to you.
     13   A I don’t know. I think it was before the         13        MR. HAYES:
     14     lawsuit. I think at the time of the lawsuit if  14            To the best of your recollection --
     15     I can remember, it was @detiege -- well,        15        WITNESS:
     16     @midaeros and at -- and I hope I’m pronouncing 16             Right.
     17     that correctly -- @somebodyblocked.             17        MR. HAYES:
     18   Q What made you unblock the other users you had 18              -- as you sit here right now, what do
     19     blocked?                                        19        you think it was?
     20   A I think I had a conversation with an attorney   20        WITNESS:
     21     or a letter came from an attorney. I think it   21            It could have been an email. Because
     22     was prior to the lawsuit and I just you know,   22        as I’m going back, right, we’ve received so
     23     said I talked to a friend and then I said let   23        much communication since the Clinic has
     24     me see why -- who I have blocked or something. 24         gotten involved. I would have to produce
     25     And I -- the few people I had blocked didn’t    25        it. I’ll try to go find it. It was either
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      1     ring a bell. I unblocked them.                   1        an email or a letter. And it might have
      2     @somebodyblocked was evidently a fake account. 2          been an email. And I’m not going to say it
      3     And @midaeros, I had just received a letter on.  3        was from an attorney or who it was from. I
      4   Q You mentioned that you spoke with a friend.      4        just literally don’t remember.
      5     Who was that friend?                             5   BY MR. CROW:
      6   A I can’t recall. It was most likely Bob or        6   Q Can you take a break to see if you can find
      7     Glenn, because they’re friends in my office who  7     that email?
      8     are attorneys.                                   8   A I would have to go to the computer at the
      9   Q Bob or Glenn who?                                9     office.
     10   A Bob Noel is in my office. I probably would      10   Q You cannot check your legislative email on your
     11     have discussed the letter with him because      11     phone?
     12     we’re always in the office together. Or either  12   A I can sign into it probably, but because it’s
     13     Attorney Glenn Fleming who is another attorney. 13     been so long ago, most of the time that’s been
     14     We’re not in the same firm, we just are in the  14     archived. So it would probably be best for me
     15     same office.                                    15     to go -- and I don’t know who it was from. It
     16   Q And you referenced a letter. That was a letter  16     was either an email or a letter and I’m going
     17     that an attorney had sent you?                  17     to have to go search the office for it. And I
     18   A I think the Clinic sent it to me -- an attorney 18     don’t even think I sent that to an attorney
     19     from your Clinic.                               19     because it didn’t -- it never came up in
     20   Q From our Clinic?                                20     discussion because I believe it was prior to
     21   A I believe so.                                   21     the lawsuit.
     22   Q How did you receive --                          22   Q In our Request for Production Number 10 --
     23   A Or it was a -- it was a letter or email and I   23   A Uh-huh. Is that the supplemental or -- no, you
     24     don’t know if it was from an attorney. I just   24     didn’t do a supplemental. Let me get to it.
     25     remember receiving some communication about 25       Q In this Request for Production Number 10, we
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       1     said to produce any and all documents or             1     phone call, an email, letter or something. I
       2     communications related to your blocking of           2     talked to either Bob or Glenn, whoever was in
       3     Twitter users other than the plaintiffs.             3     my firm that day, and -- with me -- and they
       4   A This was regarding the plaintiff. This letter        4     said well, just go look and see who you have
       5     or email was regarding the plaintiff.                5     blocked. And I did and the only person I can
       6   Q I was under the impression that it was your          6     remember, when I looked, was this plaintiff
       7     testimony that you had this conversation about       7     because I had just gotten that information of
       8     this letter of people you blocked?                   8     the plaintiff. But @somebodyblocked just was a
       9   A No. I had a letter about this person is what I       9     -- was not a real Twitter account. I didn’t
      10     stated. I hope I stated correctly. Letter,          10     take this seriously at first honestly. I
      11     email or something. And so then after I didn’t      11     didn’t think anyone would sue you for access to
      12     unblock them, a lawsuit was filed. And I think      12     calling you a dumb, black b-i-t-c-h.
      13     -- I want to say -- and I just can’t remember       13   Q Regarding the other users that you unblocked,
      14     –- prior to the lawsuit being filed, I think I      14     it’s your testimony that you did no
      15     talked to an attorney. I don’t know if it was       15     investigation into why other users had been
      16     from your Clinic or not -- on behalf of this        16     blocked, you just looked at their Twitter
      17     plaintiff. So it could have been a phone call,      17     handle --
      18     but I don’t believe it was a phone call. I had      18   A Didn’t remember them and unblocked them.
      19     some communication with an attorney who I           19   Q Moving forward, what is your standard for
      20     believe was from your Clinic before this            20     blocking someone on Twitter?
      21     lawsuit was filed. If I’m not mistaken, I did,      21   A I've answered that already and it’s on a case
      22     yes.                                                22     by case basis. It’s based on disrespect, going
      23   Q So looking back to an earlier question -- what      23     outside of the issue, inciting -- I’ve had
      24     was the reason that you gave for unblocking         24     someone to incite violence before. That wasn’t
      25     everyone -- everyone else we’ll just say?           25     on Twitter though. And so it’s on a case by
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       1   A  The few people I unblocked, I’ve said it a          1     case basis.
       2     couple of times. Do I have to repeat it? It          2   Q All right.
       3     was asked and answered but I guess I’m not the       3         MR. CROW:
       4     attorney in this.                                    4            If we can, I’d like to take just a
       5         MR. HAYES:                                       5         small break.
       6             Well, if you’d like I can object as          6         COURT REPORTER:
       7         asked and answered, but –-                       7            We're off the record and the time is
       8   A I’ll go ahead.                                       8         4:24 p.m.
       9         MR. HAYES:                                       9                (OFF THE RECORD)
      10             –- that doesn’t prevent you from having     10         COURT REPORTER:
      11         to answer.                                      11            We're back on the record at 4:36 p.m.
      12         WITNESS:                                        12   EXAMINATION CONTINUED BY MR. CROW:
      13             I just like to reserve objections. You      13   Q All right, Senator, I just had two clean up
      14         know I’m an attorney.                           14     questions --
      15         MR. HAYES:                                      15   A Sure.
      16             I understand.                               16   Q –- before we’re going to go ahead and move on.
      17   BY MR. CROW:                                          17     So you mentioned -- you’ve mentioned previously
      18   Q Yes, I’d like you to answer that please.            18     in this deposition that you may block someone
      19   A Right. So after that communication --               19     for profanity, being disrespectful, being
      20   Q What communication?                                 20     derogatory and name calling, correct?
      21   A It was either -- and I’m going to have to go        21   A Usually it’s after warning unless it’s highly
      22     back -- and I don’t have notes if it was a          22     inflammatory, like this one.
      23     phone call. I just remember getting some            23   Q And would you say this is your -- kind of your
      24     communication on this plaintiff. And so that        24     standard for blocking people?
      25     I’m not clear on memory -- it was either a          25   A No. It’s literally on a case by case basis as
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       1     I -- you know, at first I didn’t use Twitter           1     Sherman?
       2     much. So sometimes there’s profanity all over          2   A   No. You know how long it would take to go
       3     the Twitter page. I get on, hit it and keep            3     through social media history? I’m not -- just
       4     moving after I hadn’t used it. So it’s just            4     no.
       5     not a standard. I think it’s on a case by case         5   Q All right. Now I want to move on to Maya
       6     basis.                                                 6     Detiege -- and just for brevity, that is the
       7   Q But in evaluating each case, do you evaluate it        7     Twitter user @midaeros. I’ll be calling her
       8     for those four?                                        8     Ms. Detiege -- is that okay?
       9   A If it’s a fake page -- remember I talked to you        9   A That is okay.
      10     about that. If it’s a fake page, then I just          10   Q So you have said that you did block Ms.
      11     block it. If -- you know, I don’t know how            11     Detiege, correct?
      12     many people I’ve blocked on Twitter so I can’t        12   A That page is showing blocked, yes.
      13     give that. I don’t think it was a whole lot of        13   Q Why did you block Ms. Detiege?
      14     blocking experience to set a pattern of what I        14   A It’s in your petition, I believe. She called
      15     do.                                                   15     me -- she said not all black women are smart,
      16   Q Okay. And also just to clean up one last thing        16     some of you are -- let me -- instead of trying
      17     regarding Mr. Sherman before we move on.              17     to -- let me cite it for reference. From what
      18   A Right.                                                18     I remember and what you put in the petition, I
      19   Q You don’t know -- you don’t recall -- you have        19     do remember her calling me a black b-i-t-c-h,
      20     no recollection as to whether you ever blocked        20     saying all black women aren’t smart. Some of
      21     Mr. Sherman?                                          21     you -- she’s referring to -- we had an exchange
      22   A No. Maybe something could refresh my memory,          22     -- hold on.
      23     but I don’t have any recollection. From what          23         MR. HAYES:
      24     I’ve seen from you with Mr. Sherman today is          24             It was before that one I think. It was
      25     2013 and 2014. I just -- unless -- I don’t            25         before that one page.
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       1     know.                                                  1   A  I think I attempted to ignore her and she kept
       2   Q Do you remember, specifically, unblocking Mr.          2     going too. Now that I know it’s a she.
       3     Sherman?                                               3   BY MR. CROW:
       4   A No, I don’t remember if he was blocked.                4   Q If you’d like --
       5   Q You don’t recall whether he was one of the             5   A I say this with all disrespect -- burn in hell.
       6     accounts that was unblocked?                           6     So she told me to burn in hell. You don’t care
       7   A No. Huh-uh.                                            7     about women, you don’t care about pregnant
       8   Q When Mr. Sherman was added as a plaintiff, you         8     people, you don’t care about children, you
       9     never checked to see if Mr. Sherman was blocked        9     don’t care about education. I do not respect
      10     on your page, correct?                                10     all black women. Some of you b-i-t-c-h-e-s are
      11   A Not that I can recall, no.                            11     very dumb. That is -- you know.
      12   Q Do you remember any exchange with Mr. Sherman         12   Q Okay. And so can you explain what was -- you
      13     on Twitter?                                           13     recall this interaction?
      14   A I’ve seen some exchange today but I don’t             14   A Right.
      15     firsthand knowledge remember it.                      15   Q Correct?
      16   Q You don’t remember any other exchanges except         16   A I do.
      17     those that we showed you today?                       17   Q Can you explain what happened? Can you give me
      18   A I don’t even remember those, I just remember          18     -- let me rephrase that. Can you give me your
      19     the subject matters. It was -- it was from            19     version of events and explain what happened?
      20     2013 and 2014. We’re in 2024. I communicate           20   A If I remember -- and this could be wrong -- I
      21     with people on email and everything. I just           21     posted something about a bill. It had to do
      22     don’t remember. That’s not an insult to Mr.           22     with a supporting life bill and Ms. Detiege, at
      23     Sherman. I just don’t remember.                       23     that time who I -- it was a gentleman
      24   Q So in this, you never went through your Twitter       24     something, something for a hockey player -- the
      25     history to see if you had interacted with Mr.         25     gentleman something -- the Australian gentleman
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      1      or the something gentleman -- it identified the  1         A  Senator Jackson sued for blocking Twitter user.
      2      state or something and that was the only thing   2         Q  And this article, it’s from the Ouachita
      3      on Twitter and we began to interact. I’m not     3           Citizen about this lawsuit, correct?
      4      sure if I interacted with her, maybe I did.      4         A Yes.
      5      And then what I just read to you was sent to     5         Q What’s the date of this article?
      6      me.                                              6         A February 15, 2023.
      7    Q When this suit -- when this lawsuit was filed    7         Q I’d like to direct you to a portion of this
      8      in February 2023, did you make any public        8           article that quotes your Facebook post. This
      9      statements about the lawsuit?                    9           is on Page 2. The paragraph believes -- it’s
     10    A I did, but I don’t remember the statement I     10           in the middle. It starts with “if in fact.”
     11      made. It was a press release. I thought I       11           You see where I am?
     12      produced it. If I didn’t, I’ll try to go find   12         A Uh-huh.
     13      it, but I think I produced it.                  13         Q Can you please read that paragraph?
     14    Q Did you make any statements about this lawsuit 14          A “If in fact anyone has been restricted from my
     15      on social media?                                15           personal Twitter page or any page, it would be
     16    A I think I did, but I can’t remember.            16           because of lewd comments that were
     17    Q Did you tweet about this lawsuit?               17           inappropriate for teenagers and others who
     18    A I don’t remember.                               18           follow me.”
     19    Q I’m now going to hand you what I’m marking as 19           Q What did you mean by lewd?
     20      “Plaintiff’s Deposition Exhibit #34”?           20         A Lewd means -- lewd is a variety of things.
     21          COURT REPORTER:                             21           Lewd can be -- for me, lewd means comments that
     22              Yes.                                    22           are inappropriate.
     23    BY MR. CROW:                                      23         Q What do you mean by inappropriate?
     24    Q And this is dated February 9th of 2023.         24         A Inappropriate is case by case basis. Anything
     25    A Uh-huh.                                         25           that I believe is inappropriate. Profanity --
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       1   Q  Are you familiar with this retweet?                   1     we talked about this. Attacks on character
       2   A  Yes, I am. Uh-huh. Now that I’ve -- my memory         2     that go well beyond anything appropriate.
       3     has been jogged. I said I don’t have to be             3   Q So if it’s on a case by case basis, is that
       4     subjected as an African American woman to hate         4     arbitrary?
       5     speech. This literally turns on what black             5   A It’s subjective. It’s subjective. It’s just
       6     women have been subjected to.                          6     like you, you’re a human being, it’s
       7   Q And you retweeted this tweet by Julie                  7     subjective.
       8     O’Donoghue, correct?                                   8   Q So what does that mean to you?
       9   A Yes. I think I gave her -- I think she called          9   A I kind of explained that. I don’t have a
      10     me and I gave her this statement and I think          10     further definition for it. It’s on a case by
      11     that’s what happened. I don’t remember.               11     case basis.
      12   Q Is this a fair and accurate representation of         12   Q What -- you mentioned that it --
      13     your retweet?                                         13   A I can definitely tell you that this rose to
      14   A Yes. Now you’re getting into stuff I remember.        14     that level.
      15   Q And what was the reason given for your blocking       15   Q You mentioned that -- you also mentioned things
      16     in this retweet?                                      16     that are inappropriate for teenagers -- what
      17   A Hate speech.                                          17     did you mean by that?
      18   Q I’m now going to --                                   18   A Because on my personal pages there are more
      19   A Because it’s derogatory.                              19     teenagers from my district. And when I speak
      20   Q I’m now going to show you what I’m marking as         20     with my teenagers from my district, my nieces
      21     “Plaintiff’s Deposition Exhibit #35”. This is         21     and nephews are on my page, which is always
      22     -- I’ll give you a second to look over this.          22     concerning what they see. And those are my
      23     This is --                                            23     personal pages, so I’m always very careful on
      24   A Okay, I’m familiar. We can move forward.              24     those pages.
      25   Q Can you read me the headline of this article?         25   Q Did you make -- oh, sorry. You’ve talked about
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      1     that it needs to be on a case by case basis.     1   A   I’m not sure. It’s not a direct quote.
      2     What is your standard for evaluating what is     2   Q   But have you -- did you say this to her?
      3     inappropriate for teens?                         3   A   I said it today that I use a case by case
      4   A You’ve already asked me that. But I guess you    4     basis. If it’s offensive or something like
      5     put for teens -- it’s going to be the same       5     that, I may or may block. Sometimes I look at
      6     standard, yes. To expose them to something       6     it and keep going. But this is not a direct
      7     that we’ve asked them not to do, to expose them  7     quote from me.
      8     to something we’ve told them is wrong. To make 8     Q Do you remember making that statement to the
      9     them believe that advocacy involves              9     reporter?
     10     disrespecting of others. Same thing your        10   A I don’t. I do remember making this one -- “I’m
     11     mother would have told you.                     11     not going to run from this. Jackson said if
     12   Q How do you decide whether something is          12     any federal court in our nation considers that
     13     inappropriate?                                  13     protected speech, then African Americans are no
     14   A It’s on a case by case basis.                   14     longer protected from hate speech.” I think
     15   Q Are there any factors that you look at?         15     she was very pointed in putting in quotation
     16   A I’ve given them to you. Profanity, excessive    16     marks what I actually said. What she derived
     17     profanity, attacks that go well beyond the      17     from my comments may have been something
     18     reasonable demands, right. And it’s             18     different. But if you look at this article, I
     19     subjective. There’s no -- it’s no               19     think she was -- and I’m looking, going back --
     20     jurisprudence behind it. It’s subjective.       20     “I don’t think I have to be subjected as an
     21   Q Did you make any other statements about this    21     African American woman to hate speech. She
     22     lawsuit to the press?                           22     said I think the Supreme Court has been very
     23   A Probably -- I don’t remember, but probably not 23      clear on hate speech.” Those are direct
     24     because I think after that an attorney was      24     comments.
     25     hired and he told me not to, right? I think     25   Q And you remember those direct comments?
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      1     you told me not to.                              1   A   Yes. I’ve said them before and I’ve said them
      2   Q I’m now showing you --                           2     since.
      3   A I’m not a great client because I’m an attorney,  3   Q But you don’t remember the previous statement?
      4     but I at least try to be a client for Tommy.     4   A The previous statement is not a direct quote
      5   Q I’m now showing you what I’m marking as          5     from me. It may be her interpretation of my
      6     “Deposition Exhibit #36”.                        6     interview with her.
      7   A Uh-huh.                                          7   Q Did you tell this reporter that it’s not
      8   Q I’ll give you some time to look over this.       8     unusual for you to block Twitter accounts --
      9   A Okay.                                            9   A I don’t remember. I’m sorry. I don’t remember
     10   Q Can you read me the headline of this article?   10     using the statement of not unusual, no. I said
     11   A Louisiana Senator Sued Over Blocking Critic on 11      I have before.
     12     Twitter.                                        12   Q So are you saying -- is your testimony today
     13   Q And what’s the date of this article?            13     that the reporter got this quote -- got this
     14   A It is February the 9th, 2023.                   14     statement incorrect?
     15   Q Can I please direct you to Page 3 to the        15   A I don’t know. I can just tell you what I
     16     paragraph that begins -- it’s towards the       16     remember saying. I don’t remember saying it
     17     middle -- that begins with “Jackson said,” do   17     was not unusual. I’m not -- look, I can’t
     18     you see where I am?                             18     fully remember the interview. I was upset of
     19   A Yes.                                            19     course when this happened and so --
     20   Q Can you read that paragraph for me?             20   Q Okay. You don’t remember giving this
     21   A “Jackson said it is not unusual for her to      21     statement. Do you agree with that statement?
     22     block Twitter accounts that use offensive       22         MR. HAYES:
     23     language or engage in what she considers        23             Object to the characterization as a
     24     harassment.”                                    24         statement. It’s not a quote.
     25   Q Did you say this?                               25   A I don’t agree with it. I agree with what I
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      1     said today. I used it on a case by case basis    1   gave.
      2     and I did before. And I think I said I have      2 Q Can you read the headline of this article and
      3     before. And so -- and that’s what I’ve said      3   it extends to the second page?
      4     today. That I have blocked users before -- not   4 A Before Lawsuit, Louisiana Senator Had A History
      5     knowing how many. I’ve blocked users before.     5   of Blocking Critics on Twitter.
      6     I think that -- that’s what I remember.          6 Q It’s dated February 15, 2023, correct?
      7   BY MR. CROW:                                       7 A Yes.
      8   Q Can you please explain, in this context, what    8 Q On Page 4 of this article, you’re quoted as
      9     language is offensive?                           9   saying you couldn’t respond to individual
     10         WITNESS:                                    10   accusations about Twitter blocks without
     11            I’ve answered that several times,        11   reviewing records from the social media
     12         Tommy.                                      12   platform, correct?
     13         MR. HAYES:                                  13 A Correct.
     14            Objection, asked and answered. Let’s     14 Q You did say that?
     15         move on to something else. We’ve gone       15 A Yes.
     16         through that one multiple, multiple times.  16 Q And you requested your records from Twitter?
     17   BY MR. CROW:                                      17 A Yes. We’ve gone over that. I received my
     18   Q How would you define harassment?                18   records from Twitter. I looked -- Tommy -- I
     19   A Like when I had a death threat, that’s          19   was in the middle of a case. Tommy said hey,
     20     harassment. When they begin to flood you with 20     did you get some records from Twitter, can you
     21     profanity and ugly comments and attack you over 21   search. I searched “X” or whatever it is. I
     22     and over again -- that’s something. When        22   found the records. I reviewed them for two or
     23     people use what I consider to be hate speech,   23   three minutes and sent them to him.
     24     whether the Supreme Court believes that or not  24 Q So you only reviewed those records for a couple
     25     -- that’s harassment given the history of       25   of minutes?
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      1     African Americans in this country.               1   A   Right.
      2   Q Can you think of other times you’ve blocked      2   Q   You’re also quoted in this article, on that
      3     users for offensive or harassing language?       3     same page, mentioning that users can delete
      4   A No. You asked me that.                           4     offensive tweets; is that correct?
      5   Q I’m now showing you what I’m marking as          5   A Yes, they can. I believe you can. I know I
      6     “Plaintiff’s Deposition Exhibit #37”?            6     can delete my tweets. Yeah, I think users can.
      7         COURT REPORTER:                              7     I don’t know if -- I’m not sure if you can
      8            Yes.                                      8     delete a tweet by someone.
      9   BY MR. CROW:                                       9   Q But that users could delete their own offensive
     10   Q Please take a second to look at that. I’m       10     tweets?
     11     sorry, I accidentally gave you the wrong one.   11   A Yes, they can. Yes.
     12     This is the marked Exhibit.                     12   Q And you did say this in the article?
     13   A Okay.                                           13   A I’m not sure. I probably did.
     14   Q I’m sorry.                                      14   Q How do you decide when a tweet is offensive?
     15   A No problem. You’ve been here a long time like 15          MR. HAYES:
     16     we have. This is the same reporter.             16            Objection, asked and answered. Let’s
     17   Q Yes. This article was from The Daily            17        move on to something else.
     18     Advertiser, correct?                            18   BY MR. CROW:
     19   A Well it’s from The Daily Advertiser, but it’s   19   Q When is a tweet offensive enough to block the
     20     like an article that Julie O’Donoghue wrote --  20     user tweeting.
     21     O’Donoghue wrote and it’s published in multiple 21   A We’ve talked about that.
     22     papers. If you look at 36, it’s entitled --     22        MR. HAYES:
     23     it’s by Julie O’Donoghue. It’s from the same    23            Objection, asked and answered. Move on
     24     interview, so yeah it is, but it’s the same     24        to something else, please.
     25     interview. It derives from one interview I      25   BY MR. CROW:
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      1   Q   For that question, do you have the same answer 1      that is the subject -- one of these accounts
      2     that you stated earlier?                          2     that is the subject matter of this lawsuit.
      3   A Yes, same answer. If I -- you know, because       3   Q I’m still trying to understand how you would
      4     it’s been asked like multiple times. I think      4     decide whether to unblock someone.
      5     I’ve answered it multiple times. You can          5   A Besides the instance I told you where I just
      6     combine all those answers. Case by case basis.    6     did a blanket unblock, I don’t know. I’ve
      7   Q What would make you unblock a user?               7     never gone through it.
      8   A Sometimes -- well, when I look through, I         8   Q I’d like to bring your attention back to this
      9     unblock people. That was that one time I          9     article, to Page 3, specific --
     10     talked about.                                    10   A Is that Exhibit 34? 37?
     11   Q You’re also quoted in this article saying the    11   Q Thirty-seven, yes. Yeah, specifically to Page
     12     people who are blocked should send you an email 12      3 with the paragraph beginning with “Drew
     13     to discuss whether they should be unblocked; is 13      McKevitt.” Do you see where I am?
     14     that correct?                                    14   A Uh-huh.
     15   A I don’t remember saying that. I might have. I 15      Q In this, he says that you blocked him for
     16     don’t think I did. I don’t know. If I have a     16     criticizing your sponsorship of abortion
     17     discussion with someone and they say look, you 17       restrictions and calling you a coward; is that
     18     know, I apologize. I still -- you know,          18     correct?
     19     whatever, I may unblock them. That has never     19   A He says that, but I don’t remember. I don’t
     20     occurred. I have not talked to anyone.           20     recall this.
     21   Q But you did make that statement?                 21   Q Did you block Mr. McKevitt?
     22   A I don’t know. I don’t recall.                    22   A I don’t recall this. I don’t even know who
     23   Q If you look at Page 4, are you quoted making     23     Drew McKevitt is.
     24     that statement?                                  24   Q Just to make sure I’m recalling this correctly
     25   A I am quoted, but I don’t recall making that      25     -- you established earlier that you felt the
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      1     statement. I could have. I don’t know. I         1      word coward -- calling someone a coward was
      2     don’t remember. There’s no personal memory of 2         offensive. Oh, let me strike that actually.
      3     that statement.                                  3      Is the word coward offensive?
      4   Q Regardless of whether you made that statement    4    A Depends on what context it’s used, how many
      5     or it was misquoted, you said that there has     5      times they tweet, whether the user -- it’s a
      6     not been anyone whose emailed you in order to    6      lot of things. I think you’re looking for some
      7     try to be unblocked on Twitter?                  7      type of standard and I’ve said it’s on a case
      8   A Not that I recall. But the best thing is for     8      by case basis. And I don’t remember Drew
      9     me to go back and search. I’m not going to       9      McKevitt. I don’t -- I can’t say that he or
     10     make a statement. I get hundreds of emails a    10      she -- well I guess it’s a he, it’s Drew, but
     11     week. And something could have come through 11          Drew can be a female -- was ever blocked.
     12     that I never responded to and don’t know it’s   12    Q You said that with this, it would depend on the
     13     there because that comes to my staff’s email.   13      context, right?
     14   Q If someone were to email you and ask you to be 14     A Everything depends on the context. It goes on
     15     unblocked, how would you evaluate whether they 15       a case by case basis. I am an attorney by
     16     should be unblocked?                            16      right. I’ve earned it. And so I’m going to
     17   A I’ve never -- I don’t think I’ve ever had to do 17      look at everything like I would look at
     18     it. I probably would talk to the person and     18      anything else.
     19     see what happened. I probably wouldn’t go back 19     Q But because it depends on the context, the word
     20     years like you’ve sent me, 2013 or 2014         20      coward could be offensive, right?
     21     documents. It’s my personal page and so, at     21    A It depends on what words are with it. If you
     22     that point, I would evaluate it based on my     22      call me a coward, I usually laugh and keep
     23     personal thoughts. Right now nobody is blocked 23       going. But like if you’re just constantly and
     24     I believe but @blocksomebodys account or        24      I can’t get to the next person -- I’ve said
     25     @somebodyblocked account and at this account 25         that before -- I may in the past have blocked
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      1      someone that just constantly just, you know --   1       A   I’m believing it is. I mean, I don’t know if
      2      and this is from what someone said. I don’t      2         it’s a direct quote. I know I’ve said that
      3      know this to be true.                            3         before. I’ve said that it’s what this lawsuit
      4    Q I’d now like to bring your attention to the      4         hinges on.
      5      following three paragraphs after the paragraph.  5       Q You remember making this statement?
      6      So that’s the two on Page 3 and the first        6       A I don’t. I know I did -- and it may not have
      7      paragraph on Page 4.                             7         been the statement. I’d have to go back and
      8    A Okay.                                            8         look at my press release. This -- this could
      9    Q I’ll give you a moment to read them.             9         have been from that one press release.
     10    A I’ve read it.                                   10       Q That paragraph says “Jackson told KNOE.” Did
     11    Q These paragraphs -- these three paragraphs      11         you make a statement to KNOE?
     12      discuss the blocking of Donald Hodge, correct? 12        A I don’t remember.
     13    A They do, but I don’t know who Donald Hodge is 13         Q In this, you talk about what I do know is hate
     14      and I have no recollection of blocking him.     14         speech, correct?
     15    Q You do not recall if you blocked Donald Hodge? 15        A That is what they quoted. I don’t know if that
     16    A No. I don’t know who Donald Hodge is.           16         was a direct quote. I have talked about it --
     17    Q He said in this article that you were complicit 17         me feeling like it was hate speech, yes.
     18      in that lie, correct?                           18       Q Okay. But you did feel like Ms. Detiege’s
     19    A I remember the subject matter. I don’t know if 19          tweets toward you –-
     20      he said that. I don’t remember this exchange.   20       A Right.
     21      I don’t remember who Donald Hodge is. It was 21          Q –- were hate speech?
     22      another member’s bill looks like that he        22       A Right.
     23      referred to in the article -- Senator Francis   23       Q Can you please explain to me –- let me rephrase
     24      Thompson.                                       24         this. As you’ve stated, there is no legal
     25    Q But isn’t ––                                    25         definition of hate speech, correct?
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       1   A   This would have been when I was in the House.      1   A   Right.
       2     I definitely wouldn’t remember this because          2   Q   And so the reason I need to ask this is so I
       3     Senator Thompson was in the Senate in my seat        3     can understand your definition of hate speech.
       4     when I was in the House. So this would have          4     So how would you define that term?
       5     been a while back.                                   5   A When you single out a person because they
       6   Q But in this article, he says that you were           6     belong to a certain racial class and you do so
       7     complicit in that lie, correct?                      7     in a manner that brings –- and I can’t fully
       8   A That’s what he said he said, yes.                    8     explain it –- but basically when you single out
       9   Q In this, he criticized your support of a name        9     someone because they belong to a certain class
      10     change of a school, correct?                        10     and offer offensive comments to them. Now I’m
      11   A Right.                                              11     thinking about hate speech and having to
      12   Q I’m now going to show you what I’m marking as       12     research it for something else, it may have to
      13     “Deposition Exhibit #38”. Can you read the          13     be followed by some type of action. Like you
      14     headline of this article?                           14     said, there’s no legal definition of it. So I
      15   A State Senator Jackson Responds to Lawsuit           15     would be reluctant to give the full definition.
      16     Claiming She Violated a Woman’s First Amendment     16     I can just say that I felt like this was hate
      17     Right by Blocking Her on Twitter.                   17     speech.
      18   Q I’d like to direct you to the last paragraph on     18   Q In there you mentioned it having to be followed
      19     the first page.                                     19     by an action?
      20   A “What I do know is hate speech, Jackson told        20   A I said I usually thought it had to be followed
      21     KNOE that’s the crux of this lawsuit. Someone       21     by an action, but it doesn’t. The Supreme
      22     is fighting to be able to tell someone to burn      22     Court hasn’t given a definite on that. And it
      23     in hell and categorize some black women as dumb     23     doesn’t have to be followed by an action.
      24     b-i-t-c-h-e-s.”                                     24   Q Okay.
      25   Q And this is a quote from you, correct?              25         WITNESS:
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       1            I’m just going to check my phone to          1   Q   But in regards to how you feel, what did you
       2        make sure I’m not getting calls about my         2     feel about that tweet was hate speech?
       3        nephew. Okay, my brother said he’s picking       3   A In the initial reaction to that tweet, I felt
       4        him up. It’s good.                               4     like it was because she said all black women
       5   Q Is it your understanding that hate speech is        5     are not smart. Some of you are dumb b-i-t-c-h-
       6     unprotected speech?                                 6     e-s. If she would have said all women, maybe
       7   A In some arenas, it is. I think on my personal       7     it would have been okay, but she specifically
       8     page it is.                                         8     said black women. It wouldn’t have been okay
       9   Q You believe that hate speech on your own            9     on my page, but she specifically said black
      10     page –-                                            10     women. She specifically went into my race as a
      11   A My personal page, yes.                             11     context for her speech.
      12   Q –- is constitutionally unprotected speech?         12   Q Okay. I now want to ask you more in depth
      13   A Well, let me say this. When it comes to            13     about your Twitter exchange with Ms. Detiege.
      14     whether someone has access to your personal        14     I’m going to show you what I’m marking as
      15     page, yes.                                         15     “Plaintiff’s Deposition Exhibit #39"?
      16   Q That’s not the question that I’m asking.           16         COURT REPORTER:
      17   A You asked me was hate speech protected. It is      17             Correct.
      18     protected in certain instances I believe. I        18   BY MR. CROW:
      19     don’t know. I haven’t researched this recently     19   Q It’s dated June 24, 2022. Are you familiar
      20     with the Supreme Court.                            20     with this tweet?
      21        MR. HAYES:                                      21   A I am. That’s the one I’m most familiar with.
      22            You’re asking her if it’s                   22     “I say this with all disrespect, burn in hell.”
      23        constitutionally protected? Was that the        23     I mean she prefaces that she says this with all
      24        question?                                       24     disrespect. “You don’t care about women. You
      25        MR. CROW:                                       25     don’t care about pregnant people. You don’t
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      1             Yes.                                         1     care about children. You don’t care about
      2         MR. HAYES:                                       2     education. I do not support all black women.
      3             Let me object to that as it calls for        3     Some of you b-i-t-c-h-e-s are very dumb.” I
      4         legal conclusion.                                4     mean she prefaces I say this with all
      5    BY MR. CROW:                                          5     disrespect. So when you ask me is this
      6    Q Can you please explain why you blocked Ms.          6     disrespectful, the tweet was prefaced with I
      7      Detiege?                                            7     mean this to be disrespectful.
      8    A We’ve gone through this several times.              8   Q And disrespect is one of the reasons why you
      9    Q Not as to this client.                              9     blocked her?
     10    A Yeah, we did. We talked about this tweet and I     10   A Well it goes –- yeah, one of the reasons. This
     11      said that –- I said what she stated. I’ve read     11     was a flaming –- burn in hell, that’s another
     12      what she stated. And I said because of those       12     reason. The profanity is another reason. The
     13      reasons, I blocked her.                            13     categorization of some black women as dumb b-i-
     14    Q Okay. So you reviewed her tweets –-                14     t-c-h-e-s –- yeah, this one was filled with
     15    A Also –-                                            15     foolishness.
     16    Q –- correct? Directed at you?                       16   Q Okay. I now want to introduce –- or I now want
     17    A I reviewed that one. I read that one, yes.         17     to show you what I’m marking as “Deposition
     18    Q In that tweet, was there hate speech in that       18     Exhibit #40". This is dated June 24, 2022. Do
     19      tweet?                                             19     you recall this tweet?
     20    A I believe it was. She singled out a race of        20   A I don’t recall the tweet –- yes, I do. I
     21      people, black women, and decided to call some      21     recall this tweet. It was a graphic I made
     22      of us dumb b-i-t-c-h-e-s.                          22     after Roe versus Wade was overturned and it was
     23    Q So in that tweet –-                                23     about advocating and turning our advocacy –-
     24    A I can’t give you the definition. The court         24     because I’m a whole life advocate –- to women
     25      would have to decide that.                         25     –- well, which I had always been doing, but I
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       1     had been encouraging others to do, to support        1     it was not made by you?
       2     for women and children from the womb to the          2   A   Yeah, but I think I’m –- I vaguely recall this
       3     tomb, which I had said for years.                    3     one so it may have been something I made.
       4   Q So is this a fair and accurate representation        4   Q Yes. I actually want to direct you to the
       5     of your tweet and graphic?                           5     graphic to the second paragraph. It says “SB
       6   A Yes.                                                 6     342 that I authored.” That’s tweeting –- or
       7   Q In this graphic, you included Senator Katrina        7     that’s –- excuse me –- that’s speaking in the
       8     R. Jackson on the graphic, correct?                  8     first person?
       9   A Right.                                               9   A Right. So it’s probably me.
      10   Q Why did you do that?                                10   Q And is this a fair and accurate representation
      11   A It was a legislative position and also my           11     of your tweet and graphic?
      12     personal beliefs.                                   12   A I don’t remember the tweet. Looks like the
      13   Q And why did you tweet this graphic?                 13     graphic –- I vaguely remember the graphic but
      14   A I think I tweeted it or I might have emailed        14     it’s probably, most likely, something I would
      15     it. I don’t think –- I don’t know if I emailed      15     have posted.
      16     this one. I probably put it on Facebook. It         16   Q So the graphic, it’s a fair and accurate
      17     was something I felt.                               17     depiction of the graphic?
      18   Q When you make graphics or when people help make     18   A I vaguely remember the graphic, but it’s
      19     graphics for you –-                                 19     probably –- looks like me because it’s in the
      20   A I made this one.                                    20     first person as you acknowledged.
      21   Q Okay. When it’s got Senator Katrina R. Jackson      21   Q On this graphic, you included Senator Katrina
      22     on it, those are like legislative positions         22     R. Jackson?
      23     you’re taking?                                      23   A Right. I authored it as a Senator so I’m
      24   A Those are legislative positions. They may           24     generally going to include that.
      25     intertwine with my personal positions.              25   Q You authored this graphic as a Senator?
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      1    Q   Okay. But if it has that kind of tag line on   1       A   I authored the bill as a Senator.
      2      it –-                                            2       Q   Why did you tweet this graphic?
      3    A Right.                                           3       A   Probably to give people –- I don’t know. I
      4    Q –- that’s showing it as a legislative position,  4         really don’t. Like –- but it looks like
      5      correct?                                         5         something I would have tweeted. It gives a –-
      6    A Right. Yes. This one showed what I was           6         it’s the main reason –- it gives the current
      7      preparing and continuing to fight for.           7         expert pass what the trigger law was and what
      8    Q And this graphic -- one last question about      8         it is going to be.
      9      this graphic. This graphic shows that twenty-    9       Q And did people respond to this graphic?
     10      three (23) people replied to this tweet,        10       A I don’t recall. Looks like on the page six
     11      correct?                                        11         people retweeted it. There looks to be
     12    A That’s what it seems at the time when it was    12         thirteen (13) comments and eighteen (18) likes
     13      printed, yes.                                   13         –- hearts.
     14    Q I’m now going to show you what I’m marking as 14         Q And this tweet was about legislation, correct?
     15      “Plaintiff’s Deposition #41" which is dated     15       A Well, it was about an act because it had become
     16      June 26, 2022. Did you –- do you recall this    16         law.
     17      tweet?                                          17       Q Oh, okay. It was about an act and that act,
     18    A I don’t. I vaguely recall the graphic, but I    18         you had sponsored the legislation?
     19      don’t recall this tweet, no.                    19       A Right.
     20    Q Did you make this graphic?                      20       Q And this Act that was SB 34 –-
     21    A I –- it looks like something I would have made, 21       A It might have been an act. I would have to go
     22      but I can’t for certain because I don’t –- I    22         back and look. It’s June 26, so the Governor
     23      just vaguely recall the graphic.                23         probably had signed it by then.
     24    Q If it was not made by you personally, would you 24       Q Okay. But SB 342 that you sponsored, that
     25      say it was made by someone on behalf of you if 25          applied across the state, correct?
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      1   A   Yes, it did.                                       1     didn’t even show a resident of Louisiana. This
      2   Q   I’m now going to direct you back to Exhibit 39     2     was “the german gentleman aka grubauer’s #1
      3     --                                                   3     fan.” I see what’s currently on her page is I
      4   A Okay.                                                4     guess a picture of her, but it wasn’t –- it was
      5   Q -- and we’ve already had you read this tweet –-      5     the hockey player. If it was somebody in my
      6   A Right.                                               6     district or someone who I could identify, I
      7   Q –- so I won’t have you read it again. Did            7     probably would have then communicated with them
      8     these tweets –- this pair of tweets influence        8     like I have before on please, you know, don’t
      9     your decision to block Ms. Detiege?                  9     use profanity. If it’s somebody in my district
     10   A Yes.                                                10     and they give their right name, sometimes I’ve
     11   Q Why is that?                                        11     called people and say hey, let’s discuss this,
     12   A We talked about that. I felt like it was hate       12     right, before. This gave no identification of
     13     speech. I felt like it was disrespectful. As        13     anything. And usually I do that by email so
     14     she said, this is meant to be disrespectful.        14     I’m not that extensive on Twitter, right. When
     15     It was no longer advocating for any issue. It       15     someone emails me and the emails are going back
     16     was basically calling out black women as dumb       16     and forth, I’ll just say let’s discuss this.
     17     b-i-t-c-h-e-s. And telling me to burn in hell.      17   Q If you block them on Twitter –-
     18     Which in my faith, burning in hell means that I     18   A Uh-huh. Yes.
     19     have not followed my faith.                         19   Q –- how would you then discuss with them?
     20   Q Okay. And I want to direct you to the second        20   A Well, if you look all over Twitter and you’ve
     21     of the two tweets, the bottom tweet.                21     given a number of exhibits where everything
     22   A Uh-huh.                                             22     says contact me at –- my public email, my
     23   Q Can you read what that says?                        23     public phone number is out there everywhere.
     24   A “I do not feel valued or supported by               24   Q Have you ever –- I want to jump back because
     25     @KatrinaRJackson and I am actively rooting for      25     you said you use your senate Facebook page –-
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      1     her to be voted out in 2023. Can’t come fast     1 A I do.
      2     enough. Rooting for your downfall.” Glad she     2 Q –- frequently. Have you blocked any users on
      3     didn’t get what she wanted.                      3   that page?
      4   Q Did that tweet influence your decision to block  4 A Not that I’m aware of, no. Now let’s say –-
      5     Ms. Detiege?                                     5   you know how sometimes –- and I don’t think I
      6   A Not really. People have a right to –- I’m        6   have –- but like you know you get these things
      7     probably had just come back to the tweet or      7   –- I’ve gotten before, and I don’t think I’ve
      8     something. Sometimes I put my –- you know, my 8      blocked them, but if it’s email I have turned
      9     phone down. People have the right to not         9   it in because you know, we have so many
     10     support you. I work with people who run         10   viruses. They say if an email looks bad, just
     11     against me. One of my major supporters in my    11   turn it in because the legislative emails –-
     12     district is –- ran against me in my first race. 12   we’ve been getting so many viruses. You know
     13     It was holistically due to this first tweet.    13   how you get that thing that says over and over
     14     The above tweet.                                14   again –- if you use Facebook at all, they go to
     15   Q It was about the above tweet?                   15   every post you have –- you need to check out
     16   A Right.                                          16   this site, you need to –- you know it’s a fake
     17   Q If Ms. Detiege –- let me actually back up. Ms. 17    page. Something like that. It wouldn’t be
     18     Detiege is not a resident of your district,     18   based on any of this. It would just be based
     19     correct?                                        19   on like a virus that’s probably going to hit
     20   A From what I understand from the pleadings, no. 20    your page. And I don’t –- I would have to look
     21   Q If Ms. Detiege were a resident from District    21   at it and review it to see, but with Facebook,
     22     34, would you still have blocked her for this   22   I’m more concerned about viruses and things
     23     tweet?                                          23   like that with everything that’s been happening
     24   A I probably would have looked her up in the      24   with Meta. And with that page, when people use
     25     database, but this gave no distinction. This    25   inflammatory language like this, I generally
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    1     have the ability to just delete it and move on   1     which is dated June 24, 2022. And I apologize,
    2     because it’s my senate page so the teenagers     2     this one is in black and white.
    3     and everyone on my page won’t see it.            3   A No problem.
    4   Q I’m now going to show you what I’m marking as 4      Q Can you describe this tweet? Actually, strike
    5     “Plaintiff’s Deposition Exhibit #42" which is a  5     that. Are you familiar with this tweet and
    6     tweet with some replies.                         6     reply?
    7   A Okay.                                            7   A I am not. It’s June 24 of 2022, if it is
    8   Q Are you familiar with this Twitter exchange?     8     authenticated. It’s
    9   A No.                                              9     thegermangentlemanakagrubauer's#1fan and it is
   10   Q If we are able to authenticate that this is an  10     –- looks like from the page of one of the
   11     authentic Twitter exchange between you and this 11     plaintiffs and it talks about the Three Million
   12     other user, can you describe this exchange you  12     Dollars.
   13     had with them?                                  13   Q Is this –- provided it can be authenticated –-
   14   A I’m reading it. This looks like –- let me see   14     is this a fair and accurate representation?
   15     –- it’s 2022. I’m talking about the budget and  15   A I don’t know. This is someone else’s tweet.
   16     telling them what’s in there for women –- if    16     I’m at the bottom. And it’s weird –- did you
   17     this authentic. I can’t authenticate because I  17     advocate for more. And I don’t know what
   18     don’t remember it. Talked about sex             18     that’s a reply to because it could be from
   19     trafficking, pregnancy, support for pregnancy   19     another tweet. I’m not sure.
   20     centers. He or she asked about what about paid 20    Q In this top tweet by Ms. Detiege, can you read
   21     sick leave, paid maternity leave, affordable    21     that for us?
   22     child care and a living wage. So let me         22   A It says “Laugh out loud. Yeah, that $3 million
   23     understand then –- I talk about the             23     dollar (0.0008% of the budget) is really game
   24     criminalization of women and the non-           24     changing. Thanks for the pennies. And it has
   25     criminalization of women.                       25     X.com.
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    1   Q  So in this exchange, provided that we can       1   Q  Yeah –- which is –- that was a link to your
    2     authenticate this exchange, you tweeted about    2     Twitter page, correct?
    3     budget items you supported, correct?             3   A I’m not sure. It looks like it but I’m not
    4   A I didn’t tweet. There must be some other part    4     sure.
    5     of –- there must be some other part of this      5   Q And then –-
    6     exchange because where it starts out, it seems   6   A And it doesn’t seem like –- I don’t think it’s
    7     that this person is responding to something on   7     a link because it’s not bolded.
    8     my page. Maybe I’m wrong.                        8   Q And then in response to this –- well, actually
    9   Q Let me rephrase and clarify. Did you make this 9       let me back up. This tweet by Ms. Detiege,
   10     reply about budget items you support?           10     does it appear that she is belittling the
   11   A I remember discussing this but I don’t remember 11     amount that the three –- like the three million
   12     this tweet chain. So if it’s authenticated,     12     that you –- that was able to be secured to
   13     yes.                                            13     pregnancy centers? Would you characterize it
   14   Q Okay. And it had to do with budget items you 14        as that?
   15     supported?                                      15   A If it’s her tweet, yes. And then I make sure I
   16   A Right.                                          16     go back and look at 39 to put it back in
   17   Q And you also mentioned that –- in your first    17     Exhibit 39. It was part of –- it looks like it
   18     reply on this page that you were able to secure 18     might have been part of that exchange. So it
   19     Three million dollars for –- to support         19     looks like it may have been part of that
   20     pregnancy centers?                              20     exchange.
   21   A Let me see. Did I say I said? I did, but the    21   Q And so in response to this where she is being
   22     no one states that fact –- the budget this      22     critical of the amount, is that why you then
   23     year. Talk about the budget this year –- that   23     replied asking if she advocated for more money
   24     would have been a group effort.                 24     than that?
   25   Q I’m now showing you “Deposition Exhibit #43" 25      A No, because –- I don’t know because there was
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    1     also another exchange about the three million       1   Q  Let me direct you to what’s right underneath
    2     dollars, so I don’t know. You know, you’ve          2     that right here.
    3     sent me something that may be purported to be.      3   A Oh, Two Thousand Three Hundred Forty-Five
    4     I might have been replying to them if this was      4     (2,345) posts –- that would be since the
    5     –- if both of these tweets were accurate. I         5     inception of my Twitter page I think was in
    6     don’t know. I don’t have –- usually –- usually      6     2011 or 2012. I’ve posted 2,345 times within
    7     like you see here –- post your reply, replying      7     twelve (12) to thirteen (13) years. If
    8     to? Usually when I’m replying to someone or         8     Facebook could count what I’ve posted, it would
    9     replying to a seat, it says @midaeros and this      9     quadruple that.
   10     one doesn’t say that.                              10   Q And how many followers do you have on Twitter
   11   Q Okay. Just to clean up before we move on to        11     at the time of this screenshot?
   12     our last topic, you said that you are not very     12   A At the time of this screenshot, if this is
   13     familiar with Twitter, correct?                    13     accurate I have Six Thousand One Hundred
   14   A I’ve gotten familiar when I had to request this    14     Thirty-Three (6,133). I don’t have to approve
   15     information, but still not as familiar, no.        15     followers on Twitter. I have to approve
   16   Q As a user are you familiar with Twitter?           16     Facebook requests on Facebook and I’m just
   17   A Not as much. I’m a little bit more familiar.       17     telling you what I’m more familiar with. I
   18     It’s not –- I usually get on and post. Once a      18     don’t have to approve Twitter requests on
   19     thread goes long, I can’t like –- sometimes        19     Twitter. It’s public.
   20     I’ll see something from two weeks ago on a         20   Q Yes, because your account is public, correct?
   21     thread that I answered and never answered the      21   A Right. Uh-huh. Just as my other accounts. I
   22     first thread. Because once it starts going         22     think the only thing I’ve probably discovered
   23     long, it condenses the thread. The thread –- I     23     that’s private is my Instagram account. I’m
   24     think it’s called a thread. I’m sorry. So          24     going to have to go look at that and see.
   25     what I mean by that is like sometimes when you     25   Q Okay. I now want to shift gears and I want to
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    1     click on it, it goes to someone else’s response     1     go back and revisit your role on the education
    2     –- things like that. It’s not as concise as a       2     committee.
    3     –- as a thread that’s on Facebook.                  3   A Sure.
    4   Q I’d like to direct you back to a previous           4   Q You mentioned at the –- I know it was a while
    5     exhibit. I’ll need to figure out which one it       5     ago in this deposition, but I believe you
    6     is. It was the exhibit of your Twitter home         6     mentioned that you were previously the vice-
    7     page.                                               7     chair of the education committee –-
    8         MR. PETTIGREW:                                  8   A Right.
    9            Exhibit 3.                                   9   Q –- but now you’re a member?
   10   BY MR. CROW:                                         10   A In last term. We started a new term and I’m a
   11   Q Yes, Exhibit 3.                                    11     member.
   12   A Okay. I’m keeping it in order, I promise you.      12   Q When did that new term begin?
   13     There it is.                                       13   A Let’s see, what are we in? 2024?
   14   Q And you mentioned, if we’re able to                14         MR. HAYES:
   15     authenticate it, this appears –- this is your      15            Last year?
   16     Twitter page, correct?                             16   A Was it last year? Yeah. I think it was
   17   A It looks to be, yes.                               17     January of –- wait, this is 2024. So I think
   18   Q At the top where it says –- you see where it       18     it was last year of 2023. Or was it 2022? I
   19     says Katrina Jackson in bold?                      19     don’t remember. I think it was 2023.
   20   A Katrina R –- Katrina Jackson, yes.                 20   BY MR. CROW:
   21   Q Yes. And that’s at the top above your cover        21   Q Okay.
   22     photo?                                             22   A January –- we would get sworn in, in January,
   23   A Right.                                             23     so it was last year. I wore pink St. Jones I
   24   Q What does it say underneath that?                  24     remember that.
   25   A @KatrinaRJackson. That’s my Twitter handle.        25   Q Okay. Does the education committee do any work
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    1     that affects the funding of higher education     1        and they said, no.
    2     institutions within the state?                   2      Q   Who did you speak with? Well actually, let me
    3   A We don’t impact the funding absent a bill        3        back up.
    4     passing that has some substantive provisions.    4      A Yeah.
    5     And if it impacts the funding, it goes to        5      Q Strike that. How many phone calls did you make
    6     finance next because it’s generally over a       6        with officials with Tulane?
    7     hundred thousand. The only committee that        7      A One and I got a phone call back and I can’t
    8     appropriates is finance.                         8        remember who it was from.
    9   Q But sometimes legislation that the education     9      Q Was it from President Fitz?
   10     committee is putting forth includes and affects 10      A I don’t remember if I spoke to President Fitz.
   11     the funding of higher education institutions?   11        I don’t.
   12   A Yes.                                            12      Q Can you tell me about what that phone call
   13   Q It would then go to the finance committee?      13        entailed? I know you started to mention it. I
   14   A If it’s over a hundred thousand dollars, it’s   14        believe I cut you off.
   15     still referred.                                 15      A Right. Because we do by way of our
   16   Q Does your committee do any work that bears on 16          scholarships if I’m not mistaken give some type
   17     Tulane University’s legislative priorities?     17        of state funding –- I think –- by way of
   18   A I don’t know if we’ve had –- I’m sure we would, 18        scholarships. Or they offer scholarships. And
   19     I just can’t think of anything. But not         19        I wanted to make sure state funding was not
   20     funding. It would be more substantive. It may   20        being used to sue on this issue that I felt
   21     be creating a program or something like that.   21        like was not appropriate. But we don’t fund
   22   Q Can you describe that?                          22        Tulane. They –- you know.
   23   A Sometimes –- most of the time boards create     23      Q So you were calling to inquire as to whether
   24     programs. But if a school –- and I don’t        24        state money –-
   25     remember with Tulane –- have a desire for us to 25      A Right.
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    1     fund a program, usually it’s a system. Tulane       1   Q   –- was funding the Clinic work?
    2     is a private college, but usually it’s a            2   A   Right. Whether it was ethical for state
    3     system. I don’t know if we would do anything        3     funding if it was funding the Clinic work.
    4     with the funding of Tulane because it’s a           4         COURT REPORTER:
    5     private college, you know, and the state            5            Six hours and fifty-nine minutes.
    6     generally does not fund them.                       6   BY MR. CROW:
    7   Q In your role in the committee either as             7   Q In calling the school, what action did you hope
    8     previously being vice-chair or being a member,      8     the school would take?
    9     do you work with members –- with staff at           9   A None. I just wanted to see if this Clinic was
   10     Tulane?                                            10     ethically funded because it was odd that a
   11   A Not very often. Not that I can –- sometimes I      11     school’s Clinic was suing anyone.
   12     guess. They come down for Tulane Day at the        12   Q Did you file –-
   13     Capitol. Direct communication, I may –- I’m        13   A I wasn’t familiar with it.
   14     sure I’ve had some direct communication with       14   Q Did you file a complaint with the Attorney
   15     Tulane before. But the state doesn’t fund          15     General about any lawyers on this lawsuit,
   16     Tulane. It’s a private university.                 16     including Professor Schwartzmann?
   17   Q After this lawsuit was filed, you contacted        17   A No. Not that I can recall and I think I would
   18     officials at Tulane University, correct?           18     recall that.
   19   A Right. Because I believe –- I thought that         19   Q What –- what action did you hope the people in
   20     their funding was for this Clinic and I said       20     the Legislative Affairs office would take?
   21     are –- I want to get it straight –- are you –-     21   A I called the Legislative Affairs office because
   22     because we do provide scholarships, so that –-     22     I think that’s the only contact I had. None.
   23     the state does, by way of scholarships, give       23     I don’t think anyone in Legislative Affairs
   24     state funding –- and I ask was state funding       24     office –-
   25     being used to fund a clinic that sues people       25   Q Was your goal to have Tulane require the
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    1     withdrawal of this suit?                         1    A   That’s what I just testified to. When I made
    2   A   No. I was –- again, I just spoke of that. I    2      the call, they told me and after that it was
    3     wanted to make sure it was ethical if state      3      like oh, okay.
    4     funding was being used to fund a clinic because  4    Q Are you aware that because of principles of
    5     I think initially someone told me the Clinic     5      academic freedom that Tulane University should
    6     was funded by state funding.                     6      not control or interfere with the work of its
    7   Q At the time, did you advise Tulane that you      7      law clinics?
    8     were considering a protest of the university by  8    A That’s what I just stated. When I found out it
    9     the Black Legislative Caucus as a result of      9      wasn’t state funded or anything, I was like oh,
   10     this lawsuit?                                   10      okay let’s roll.
   11   A Yes.                                            11    Q So that’s a, yes?
   12   Q How could that –-                               12    A Yes.
   13   A No, I didn’t. I told them that I would inform   13    Q All right. That’s all that we have. Thank
   14     the Black Caucus that Tulane was upholding what 14      you.
   15     I believed and others of the Black Caucus had   15         MR. HAYES:
   16     stated was hate speech. And that we had a       16             Read and sign? Yes?
   17     concern about that.                             17         WITNESS:
   18   Q How could a protest by the Black Legislative    18             Yes.
   19     Caucus impact Tulane University?                19         MR. HAYES:
   20   A Same way it can impact the State Police. You 20                We’ll read and sign.
   21     have to come answer for it if it’s unethical    21         COURT REPORTER:
   22     because we thought it was state funding. Once   22             Do you want me to send it to you, Mr.
   23     we realized it wasn’t state funding after       23         Hayes?
   24     talking to some members, we left it alone.      24         MR. HAYES:
   25   Q Has this lawsuit negatively impacted Tulane’s 25               Please, yes.
                                                  Page 402                                                Page 404

    1     standing in the state legislature?                  1     COURT REPORTER:
    2   A No. After I found out it wasn’t state funding,      2        And do you want a copy of the
    3     we don’t even mention Tulane. We just mention       3     transcript?
    4     that we’re fighting in our personal pages not       4     MR. HAYES:
    5     to be called b-i-t-c-h-e-s. More than –-            5        Yes, I need a complete copy with
    6     really, the Black Caucus doesn’t really discuss     6     exhibits, please.
    7     it. It’s more of a women’s caucus. When I see       7 THE WITNESS WAS EXCUSED.
    8     the women in the Legislature and of the Senate.     8 DEPOSITION CONCLUDED AT 5:37 P.M.
    9     And Tulane never comes up.                          9
   10   Q Did you tell anyone at Tulane that you were        10
   11     considering filing a complaint with –- about       11
   12     anyone from the Clinic or lawyers –-               12
   13   A No.                                                13
   14   Q –- with the Attorney General?                      14
   15   A No. I don’t think a complaint –- and let me        15
   16     say this. I don’t have knowledge of a              16
   17     complaint being filed with the Attorney            17
   18     General’s office. That wouldn’t even be the        18
   19     perfect place.                                     19
   20   Q Did you tell anyone at Tulane that you were        20
   21     filing a complaint with any agency or entity?      21
   22   A No.                                                22
   23   Q Are you aware that the law clinic operates         23
   24     completely independently from the main             24
   25     university of Tulane?                              25
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    1                                           1              REPORTER’S PAGE
    2                                           2       I, Marcia B. Mitchell, Certified Court Reporter
    3                                           3   in and for the State of Louisiana, the officer, as
    4                                           4   defined in Rule 28 of the Federal Rules of Civil
    5                                           5   Procedure and/or the Article 1434(B) of the
    6                                           6   Louisiana Code of Civil Procedure, before whom this
    7                                           7   proceeding was taken, do hereby state on the Record:
    8                                           8       That due to the spontaneous nature of the
    9                                           9   interaction and discourse of the proceeding, double-
   10                                          10   dashes (--) have been used to indicate pauses,
   11                                          11   changes of thought and/or talkovers; that such is
   12                                          12   the universally accepted method for a court
   13                                          13   reporter’s transcription of a proceeding; that
   14                                          14   double-dashes (--) do not indicate that words or
   15                                          15   phrases have been left out of the transcript;
   16                                          16       And that the spelling of any words and/or names
   17                                          17   which could not be verified through reference
   18                                          18   resources have been denoted with the parenthetical
   19                                          19   phrase “(spelled phonetically).”
   20                                          20
   21                                          21
   22                                          22                ______________________________
   23                                          23                 CERTIFIED COURT REPORTER
   24                                          24
   25                                          25
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    1                                           1                CERTIFICATE
    2                                           2       This certification is valid only for a
    3                                           3   transcript accompanied by my original signature and
    4                                           4   original required seal on this certificate.
    5                                           5       I, MARCIA B. MITCHELL, Certified Court Reporter
    6                                           6   in and for the State of Louisiana, as the officer
    7                                           7   before whom this testimony was taken, do hereby
    8 THE WITNESS WAS EXCUSED.                  8   certify that KATRINA JACKSON, after having been duly
    9 DEPOSITION CONCLUDED AT 5:37 P.M.         9   sworn by me upon authority of R.S. 37:2554, did
   10                                          10   testify on the 18th day of September 2024, at
   11                                          11   Monroe, Louisiana, as hereinbefore set forth; that
   12                                          12   this testimony was reported by me in the penwriting
   13                                          13   reporting method, was prepared and transcribed by me
   14                                          14   or under my personal direction and supervision, and
   15                                          15   is true and correct to the best of my ability and
   16                                          16   understanding; that the transcript has been prepared
   17                                          17   in compliance with the transcript format guidelines
   18                                          18   required by statute and rules of the board; that I
   19                                          19   am informed about the complete arrangement,
   20                                          20   financial or otherwise, with the person or entity
   21                                          21   making arrangements for deposition services; that I
   22                                          22   have acted in compliance with the prohibition on
   23                                          23   contractual relationships, as defined by Louisiana
   24                                          24   Code of Civil Procedure Article 1434 and rules of
   25                                          25   the board; that I have no actual knowledge or any
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    1   prohibited employment or contractual relationship,        1 Detiege, Maya & Sherman, Dayne v. Jackson, Katrina
    2   direct or indirect, between a court reporting firm        2 Senator Katrina R Jackson (#6901812)
    3   and any party litigant in this matter, nor is there       3           ERRATA SHEET
    4   any such relationship between myself and a party          4 PAGE_____ LINE_____ CHANGE________________________
    5   litigant in this matter; that I am not related to         5 __________________________________________________
    6   counsel or to any of the parties hereto, I am in no       6 REASON____________________________________________
    7   manner associated with counsel for any of the             7 PAGE_____ LINE_____ CHANGE________________________
    8   interested parties to this litigation, and I am in        8 __________________________________________________
    9   no way concerned with the outcome thereof.                9 REASON____________________________________________
   10       This 11th day of October 2024, Jena, Louisiana.      10 PAGE_____ LINE_____ CHANGE________________________
   11                                                            11 __________________________________________________
   12                                                            12 REASON____________________________________________
   13                                                            13 PAGE_____ LINE_____ CHANGE________________________
   14                                                            14 __________________________________________________
   15                                                            15 REASON____________________________________________
   16                                                            16 PAGE_____ LINE_____ CHANGE________________________
   17             _________________________________              17 __________________________________________________
   18             MARCIA B. MITCHELL, CCR                        18 REASON____________________________________________
   19             LOUISIANA CERTIFICATE #91236                   19 PAGE_____ LINE_____ CHANGE________________________
   20                                                            20 __________________________________________________
   21                                                            21 REASON____________________________________________
   22                                                            22
   23                                                            23 ________________________________ _______________
   24                                                            24 Senator Katrina R Jackson               Date
   25                                                            25
                                                      Page 410                                                           Page 412

    1 Thomas Hayes                                              1 Detiege, Maya & Sherman, Dayne v. Jackson, Katrina
    2 thayes4@hamsil.com                                        2 Senator Katrina R Jackson (#6901812)
    3                  October 11, 2024                         3           ACKNOWLEDGEMENT OF DEPONENT
    4 RE: Detiege, Maya & Sherman, Dayne v. Jackson, Katrina 4       I, Senator Katrina R Jackson, do hereby declare that I
    5     9/18/2024, Senator Katrina R Jackson (#6901812)       5 have read the foregoing transcript, I have made any
    6     The above-referenced transcript is available for      6 corrections, additions, or changes I deemed necessary as
    7 review.                                                   7 noted above to be appended hereto, and that the same is
    8     Within the applicable timeframe, the witness should   8 a true, correct and complete transcript of the testimony
    9 read the testimony to verify its accuracy. If there are   9 given by me.
   10 any changes, the witness should note those with the      10
   11 reason, on the attached Errata Sheet.                    11 ______________________________ ________________
   12     The witness should sign the Acknowledgment of        12 Senator Katrina R Jackson                   Date
   13 Deponent and Errata and return to the deposing attorney. 13 *If notary is required
   14 Copies should be sent to all counsel, and to Veritext at 14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
   15 errata-tx@veritext.com.                                  15             ______ DAY OF ________________, 20___.
   16 Return completed errata within 30 days from              16
   17 receipt of testimony.                                    17
   18 If the witness fails to do so within the time            18             __________________________
   19 allotted, the transcript may be used as if signed.       19             NOTARY PUBLIC
   20                                                          20
   21                                                          21
   22            Yours,                                        22
   23            Veritext Legal Solutions                      23
   24                                                          24
   25                                                          25
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